RECEIVED

JAN 06 2021

CLERK, U.S. DISTRICT COURT
MINNEAPOLIS, MINNESOTA

EXHIBIT 62

CQ - 2020-02-11 Tanya Hughes UHG Deposition Transcript

 

   
         

JAN 07 2021

U.S. DISTRICT COURT MPLS

 
 

 

 

 

JOLYNN GRAHAM REPORTING

 

1 1 EXHIBITS
MARKED:
2
Exhibit 1 - 30(b)(6) Notice..............005 8
1 3
2 AMERICAN ARBITRATION ASSOCIATION Exhibit 2 - Notice for Tanya Hughes......... 8
3 4
4 oe ee ek Exhibit 3 - IDR Appeal Form............c.eee 75
5 In the Matter of the Arbitration between: 5
Exhibit 4 - Email re Colleague feedback...., 81
6 RE: Case No.: 01~19-6001-0069 6
7 xegan Zhang Exhibit 5 - Colleague feedback.......cc0e 82
8 UnitedHealth Group, Inc. 7
and Sujatha Duraimanickam
9 Exhibit 6 - Email re age discrimination
10 Case Manager: Carol A. Placella 8 allegations ve eeeeeeeeeeeraraees 84
11 moe ee ee ee eee
1 DEPOSITION 9 Exhibit 7 - Email re IDR response........... 95
43 The following is the deposition of .
10) Exhibit 8 - 2/7/2017 lettre to Mr. Zhang.... 97
14 TANYA HUGHES taken before Jolynn Graham, RPR, Notary
15 Public, pursuant to Notice of Taking Deposition, 11 Exhibit 9 - Demand for Arbitration.......... 108
16 at 120 South 6th Street, Suite 2600, Minneapolis,
17 Minnesota, commencing at approximately 9:09 a.m., 12) Exhibit 10 - List of co-workers, .......c05 113
18 February 11, 2020. 13
19 14
20 15
1 16
17
22 18
23 19
24 20
25 21
22
JOLYNN GRAHAM REPORTING 23
24
25
JOLYNN GRAHAM REPORTING
2 4
1 APPEARANCES:
2 On Behalf of the Claimant, Yufan Zhang: 1 PROCEEDINGS
3 Kaitlyn L. Dennis, Esquire
& 2 (The deposition of TANYA HUGHES was commenced
4 Daniel J. Nordin, Esquire
Gustafson Gluek PLLC 3 at 9:32 a.m. as follows:)
5 120 South 6th Street 4 TANYA HUGHES,
Suite 2600
6 Minneapolis, Minnesota 55402 5 after having been first duly sworn,
Kdennis@ gustafsongluek.com
7 6 deposes and says under oath as follows:
7 KKK
8 On Behalf of UnitedHealth Group, Inc. and
Sujatha Duraimanickam: 8
9
Sandra Jezierski, Esquire 9 MS. DENNIS: Kaitlyn Dennis from
10 Me cat ean ews os3286 10 Gustafson Gluek representing Claimant, Yufan
11 Suite 400_ 11. Zhang.
Minneapolis, Minnesota 55402
12 Sjezierski@ nilanjohnson.com 12 MR. NORDIN: Daniel Nordin, Gustafson
13 13 Giuek, also on behalf of the Claimant.
14 14 MS. JEZIERSKI: Sandra Jezierski on
093305 15 behalf of UnitedHealth.
15 DEPOSITION REFERENCE INDEX
16 THE WITNESS: Tanya Hughes on behalf
16 i
Examination by Ms. Dennis: 4 17 of UnitedHealth.
17 18 EXAMINATION
18 19 BY MS. DENNIS:
19 OBJECTIONS 09:33:15 20 Q. So 1 was going to ask you to state
21 our name for the record but you already did that.
20 By Ms. Jezierski: 31, 36, 37, 41, 43, 44, 48, 49, y Y y
50, 52, 68, 71, 72, 73, 76, 87, 89, 92, 94, 98, 22 So I'll be asking a series of
21 104,105, 107, 108, 111, 112, 113, 114, 115, 116, ; ;
117, 119, 120, 121 23 questions today related to Mr. Yufan Zhang's
28 24 claims in this arbitration. And for the sake of
24 o93329 25 clarity, I know he's referred to in a lot of the

 

JOLYNN GRAHAM REPORTING

 

1 of 45 sheets

Page 1 to 4 of 125

02/24/2020 04:45:47 PM
 

 

 

JOLYNN GRAHAM REPORTING

 

1 documents as Frank, so I will refer to him as 1 Q. Can you please describe your
2 Frank; does that make sense? 2 educational background?
3 A. Yes. 3 A. Ihave a bachelor's degree in
4 Q. Have you been deposed before? 4 business management with a focus on human
09:33:40 8 A. Ihave not. ozss9 § resources.
6 Q. Okay. So I'll just go over kind of 6 Q. And when did you get that degree?
7 the basic ground rules, and if you have any 7 A. I graduated in 2002.
8 questions, please let me know. So today I'll be 8 Q. Where was that degree from?
9 asking you a series of questions, like I said. We 9 A. That was at the University of
o9a3s3 10 have a court reporter here who's taking down osei2 10 Wisconsin-River Falls.
11° everything that we say. And for her sake it's 11 Q. Okay. Do you have any other
12 best if you wait for me to finish a question 12 professional certifications or credentials?
13 before beginning the answer just so we have a 13 A. No.
14 clear record, because she can't get down what both 14 Q. What is your current position at
03412 15 of us are saying at the same time; does that make os3638 15 UnitedHealth?
16 sense? 16 A. I'm employee relations case manager.
17 A. Yes. 17 Q. Is that your official title?
18 Q. And ona similar note, if you could 18 A. Yes.
19 avoid answering questions with things like um-hmm 19 Q. Have you held any other positions
o9:3422 20 or uh-huh, it’s just hard for -- or it's difficult co3647 20 while at UnitedHealth?
21 ‘to transcribe those for the record as well. So if 21 A. Yes.
22 you would give a clear verbal answer, that would 22 Q. What?
23 help make the record clear; does that make sense? 23 A. Prior to this I was a senior
24 A. Yes. 24 employee relations analyst.
093433 25 Q. Thank you. If you don't understand 09:36:54 25 Q. And have you held any other titles
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
6 8
1 a question, let me know and I will do my best to 1. besides that at UnitedHealth?
2 rephrase it. But if you do answer a question I am 2 A. No.
3 going to assume that you understood it; is that 3 Q. And when did you change job titles
4 fair? 4 at UnitedHealth?
ovs44a | 5 A. Yes. o9:3709 5 A. April of 2014.
6 Q. From time to time your attorney 6 (Exhibit Nos, 1 & 2 were
7 might make objections to questions I ask. Unless 7 marked for identification.)
8 she specifically tells you not to answer, please 8 BY MS. DENNIS:
9 answer the question; do you understand? 9 Q. Do you understand you are here today
o9:34:58 10 A. Yes. 093837 10 testifying as a representative of UnitedHealth?
11 Q. Any time you need a break you can 11 A. Yes.
12 let me know and we can go off the record. If you 12 Q. And do you understand today you're
13 need some more water or a bathroom break, or just 13 also here to testify in your personal capacity as
14 need to walk around, that's fine. I may ask you 14° well?
os3as14 15 to finish asking a question if I have asked one, osae4e 15 A. Yes.
16 ori may ask you to let me finish my line of 16 Q. Can you take a look at what has been
17 questioning before we take a break; is that fair? 17° ~=marked Exhibit 1. Can you take a minute to look
18 A. Yes. 18 = at that and tell me if you recognize this
19 Q. Have you ever been a plaintiff or a 19 document.
o9:3538 20 defendant in any other lawsuits? o9:3907 20 MS. JEZIERSKI: She asked if you
21 A. No. 21 recognized it.
22 Q. Are you taking any medication that 22 THE WITNESS: Oh, I'm sorry. I do.
23 may affect your memory or ability to testify 23 Sorry about that.
24 truthfully today? 24 BY MS. DENNIS:
093548 25 A. No. ov30:18 25 Q. That's okay. So what do you

JOLYNN GRAHAM REPORTING

 

02/24/2020 04:45:47 PM

Page 5 to 8 of 125

2 of 45 sheets

 
 

 

 

JOLYNN GRAHAM REPORTING

 

9 11
1. understand this document to be? 1 A. It was a report.
2 A. LIunderstand that this is the 2 Q. Do you remember anything else about
3 arbitration document, or the deposition document I 3 the report?
4 guess. 4 A. No. It was an Excel spreadsheet
o93927 5 Q. You understand this is the 04222 § with the number of employees.
6 deposition notice to UnitedHealth Group as a 6 MS. DENNIS: Sorry, I didn't realize
7 corporation? 7 how loud it would be out there.
8 A. Yes. 8 BY MS. DENNIS:
9 Q. If you turn to page 4 of this 9 Q. So Topic 2 reads, respondent's
og3e48 10 document, titled Schedule A at the top. Sorry, I 094233 10 corporate or official procedures and actual
11. meant actually page 6, under the heading Topics. 11. practices for investigating and addressing reports
12 Have you reviewed the numbered items under the 12 or complaints of age discrimination; are you
13 heading Topics on page 6? 13 prepared today to testify on this topic?
14 A. Yes. 14 A. Yes.
o9:s0:20 15 Q. And have you reviewed the Topics ovaz47 15 Q. And did you review any documents to
16 continuing on to pages 7 and 8? 16 prepare to testify on this topument? Sorry, I
17 A. Yes. 17 combined the words topic and document.
18 Q. When was the first time that you saw 18 Did you refer to any documents to
19 this document? 19 prepare to testify on this topic?
os4036 20 A. 1 believe it was on -- I'm not sure, o943.01 20 A. No.
21 Thursday maybe. Just trying to think of the date, 21 Q. Did you do anything to prepare to
22 so it might have been, like, the 4 or 5th. 22 testify on this topic today?
23 Q. That's fine. An approximation is 23 A. I'm very familiar with the topic so
24 fine. So I just am going to go through each topic 24 Ijust refreshed my own memory, or made sure that
o94105 25 before we jump into the questions and just make casi? 25 I recalled, or made sure to recall each step. But
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
10 12
1 sure, or confirm whether or not you are prepared 1. it's a daily situation that I'm --
2 to testify on each topic; is that okay? 2 Q. So you just relied on your personal
3 A. Yes. 3 recollection; is that correct?
4 MS. JEZIERSKI: For the record, 4 A. Yes.
o4i19 § Tanya is not testifying as to Topic 9. os4334 | 5 Q. Topic 3 reads, respondent's policy
6 MS. DENNIS: Are you going to 6 and procedures for conducting and collecting
7 instruct her not to answer? 7 performance reviews; are you prepared to testify
8 MS. JEZIERSKI: She's not prepared 8 on this topic today?
9 for that. We're trying to find someone who can 9 A. Yes.
ooat34 10 testify to that. o9:43:48 10 Q. And did you do anything to prepare
11 MS. DENNIS: Okay. 11 to testify on this topic?
12 MS. JEZIERSKI: We can talk about 12 A. Yes.
13 that during break. 13 Q. What? What did you do to prepare?
14 MS. DENNIS: All right. 14 A. I reviewed our common review
o4i41 15 BY MS. DENNIS: o4359 15 process.
16 Q. So I'll go through the other 16 Q. And how did you review that common
17 deposition topics. So Topic 1 reads, the 17 review process?
18 approximate number of people respondent employed 18 A. On our employee intranet site.
19 during the relevant period; are you prepared to 19 Q. Did you do anything else to prepare
o9:41:50 20 testify on this topic today? os4417 20 to testify on that topic?
21 A. Yes. 21 A. No.
22 Q. And did you review any documents to 22 Q. To clarify, you did not meet with
23 prepare to testify on this topic? 23 anyone to prepare to testify on this topic?
24 A. Yes. 24 A. I met with Sandra.
o9a207 25 Q. And what documents did you review? ooaga7 25 Q. Anyone else?

JOLYNN GRAHAM REPORTING

 

3 of 45 sheets

Page 9 to 12 of 125

02/24/2020 04:45:47 PM

 
 

 

 

 

13 15
1 A. Ispoke with our internal attorney, 1. discrimination policy, as applied to employee
2 Jennifer Service. 2 recruitment, diversity and work assignments; are
3 Q. And just your attorneys? 3 you prepared to testify on this topic today?
4 A. Yes. 4 A. Yes.
oo4ast 5 Q. Okay. Topic 4 reads, any formal or os473s | 8 Q. Did you do anything to prepare to
6 informal complaints, reports, grievances, concerns 6 testify on this topic?
7 or discussion of discrimination, retaliation, 7 A. Yes.
8 harassment, or disparate treatment based on age, 8 Q. What did you do?
9 that any of the respondent's current, former, or 9 A. Ireviewed our company internet
o4sts 10 potential employees, applicants, trainees, or job oo4744 10 Site.
11. candidates (including Claimant) made regarding 11 Q. What did you review specifically on
12 Respondent Duraimanickam during the relevant 12 the--
13 period; are you prepared today to testify on this 13 A. Under the careers section. I also
14 topic? 14 reviewed our company's Equal Employment
os4532 15 A. Yes. o4at3 15 Opportunity Policy.
16 Q. Did you do anything to prepare to 16 Q. Did you review anything else?
17 testify on this topic today? 17 A. No.
18 A. Yes. 18 Q. And did you speak with anyone else
19 Q. What did you do? 19 to prepare, other than your attorneys?
oss:37 20 A. Ireviewed our case submission oosse.22 20 A. No.
21 database. 21 Q@. Topic 7 reads, Respondent's
22 Q. And did you do anything else to 22 investigation and/or assessment of Claimant's age
23 prepare to testify on this topic? 23 discrimination claims, including communication
24 A. No. 24 with Claimant's former coworkers and supervisors,
o94566 25 Q. Did you meet with anyone to prepare os4aae 25 collection and recording of statements, creation
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
14 16
1. to testify on this topic other than your 1. of reports, and any resulting action taken by
2 attorneys? 2 Respondent; are you prepared to testify on this
3 A. No. 3. topic today?
4 Q. So I'm going to read the next topic 4 A. Yes.
o4e20 5 On page 7. It's listed as Topic 5, employee os4ea? 5 Q. Did you do anything to prepare to
6 performance policies, rules, and disciplinary 6 testify on this topic today?
7 procedures applicable to team members, employees, 7 A. Yes.
8 or trainees under current or former supervision or 8 Q. What did you do?
9 management of Respondent Duraimanickam; are you 9 A. I reviewed the internal dispute
o4e37 10 prepared today to testify on this topic? o4a57 10 resolution documents for Mr. Zhang; I reviewed
11 A. Yes. 11. Mr. Zhang's common review, interim review and
12 Q. Did you do anything to prepare to 12 colleague reviews associated with those, as well
13 testify on this topic? 13 as email correspondence between myself and
14 A. Yes. 14 Mr. Zhang; and Mr. Zhang's internal dispute
os4s4s 15 Q. What did you do? os4928 15 resolution filing, corrective action plans, and
16 A. Ireviewed our common review 16 case notes related to the internal dispute
17 process. 17 resolution case, and his other internal dispute
18 Q. Did you do anything else to prepare 18 resolution case.
19 to testify on this topic? 19 Q. Is that everything you reviewed?
oseso 20 A. No. oo:s008 20 A. Ibelieve so, yes.
21 Q. Did you speak to anyone other than 21 Q. Did you speak with anyone other than
22 your attorneys to prepare? 22 your attorneys to prepare to testify on this
23 A. No. 23 topic?
24 Q. Topic 6 reads, Respondent's 24 A. No.
04722 25 initiatives, practices, or programs related to age o95011 25 Q. Topic 8 reads, Respondent's
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING

 

 

02/24/2020 04:45:47 PM

Page 13 to 16 of 125

4 of 45 sheets
 

 

 

JOLYNN GRAHAM REPORTING

 

17 19
1 investigation and/or assessment of Claimant's job 1 Respondents undertook to verify or deny
2 performance, including communication of 2 Respondents’ specific factual allegations
3  Complaint's former coworkers and supervisors, 3 reflected in paragraphs 34 to 39 of Claimant's
4 collection and recording of statements, creation 4 Demand for Arbitration; are you prepared to
o9s034 § of reports, and any resulting actions taken by ossi9 § testify on this topic today?
6 Respondent; are you prepared to testify on this 6 A. Yes.
7 topic today? 7 Q. Did you do anything to prepare --
8 A. Yes. 8 sorry, did you do anything to prepare to testify
9 Q. Did you do anything to prepare to 9 on this topic today?
ov:5047 10 testify on this topic? 09:53:28 10 A. Yes.
11 A. Yes. 11 Q. What did you do?
12 Q. What did you do? 12 A. Ireviewed his common reviews,
13 A. Ireviewed Mr. Zhang's corrective 13 Mr. Zhang's common review, rather, interim review,
14 action plan, common review, interim review, the 14 colleague reviews, the internal dispute resolution
05057 15 colleague reviews associated with those. I os348 15 documents, and the notes associated with his
16 reviewed his internal dispute resolution filing, 16 internal dispute resolution filing, and emails
17 his corrective action plans, and the notes 17 between Mr. Zhang and I related to his internal
18 associated with his internal dispute resolution 18 dispute resolution.
19 case. 19 Q. And would these be the same
o9:s1:17 20 Q. So these would be the same documents 09405 20 documents you referred to to prepare to answer
21 you reviewed to prepare for the previous topic? 21 Topics 7 and 8?
22 A. Yes. 22 A. Yes.
23 Q. Would there be any difference in the 23 Q. Are there any additional documents
24 documents that you referred to to prepare yourself 24 you referred to to prepare to answer questions
ossi20 25 to testify on either of these topics? o9:5420 25 related to Topic 10?
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
18 20
1 A. No. 1 A. No.
2 Q. And did you speak with anyone other 2 Q. And it appears that Topics 11 and 12
3. than your attorneys -- 3 are identical, so I'm just going to ask about one
4 A. No. 4 of them.
o9si37 Q. _— -- to prepare to testify on this os442 5 So Topic 11 reads, content of
6 topic? 6 documents and/or statements relied upon or
7 A. No. 7 discovered in any investigation or research
8 Q. So, counsel indicated that you're 8 Respondents undertook to verify or deny
9 not prepared to testify on Topic No. 9; is that 9 Respondents’ specific factual allegations
0935157 10 correct? os455 10 reflected in paragraph 43 of Claimant's Demand for
11 A. Yes. 11. Arbitration; are you prepared to testify on this
12 Q. And with the understanding that 12 topic today?
13 UnitedHealth will designate another witness to 13 A. Yes.
14 testify on this topic, I will not be asking 14 Q. And did you do anything to prepare
098220 15 questions today in your capacity as a 09:58:07 15 to testify on this topic?
16 representative for UnitedHealth. But I may ask 16 A. Yes.
17 questions in your personal capacity, and I will be 17 Q. And did you rely on the same
18 clear when I'm asking those questions, and I'll do 18 documents that you referred to to prepare for
19 it at a separate time to avoid confusion; is that 19 Topics 7, 8 and 10?
oss24e 20 fair? 09:55:23 20 A. Yes.
21 A. Yes. 21 Q. Did you refer to any additional
22 Q. Let's turn to the last page of this 22 documents?
23 document, page 8. Topic 10 reads, content of 23 A. No.
24 documents and/or statements relied upon or 24 Q. Topic 13 is identical to 11 but it
os:5304 25 discovered in any investigation or research ose 25 asks about paragraphs 46 to 47. Did you review

JOLYNN GRAHAM REPORTING

 

 

5 of 45 sheets

Page 17 to 20 of 125

02/24/2020 04:45:47 PM
 

 

 

 

21 23
1 any additional documents that you haven't 1 Q. Okay. And have you met with her at
2 identified to prepare to testify on Topic 13? 2 any other time to prepare to testify today?
3. Sorry, I can rephrase that. 3 A. No.
4 A. Sure. Thank you. 4 Q. Did you speak to anyone else other
osse0s 5 Q. I asked that in a different way than ose4s & than your attorneys to prepare to testify today on
6 everything else, so I will just go through it. 6 any topic?
7 So 13 reads, content of documents 7 A. No.
8 and/or statements relied upon or discovered in any 8 MS. DENNIS: Can we go off the
9 investigation or research Respondents undertook to 9 record for just a moment.
ovs620 10 ~verify or deny Respondents’ specific factual os:s007 10 (Off-the-record discussion.)
11 allegations reflected in paragraphs 46 to 47 of 11 MS. DENNIS: Let's go back on the
12 Claimant's Demand for Arbitration; are you 12° ~record.
13 prepared to testify on Topic 13 today? 13 BY MS. DENNIS:
14 A. Yes. 14 Q. What is the approximate number of
o9:56:34 15 Q. And did you refer to any documents too124 15 people UnitedHealth employed during 2016?
16 to prepare to testify on Topic 13 today? 16 A. Nationally, around 144,000;
17 A. LIreviewed the documents that I 17 internationally, around 175,000.
18 reviewed for Topics 7, 8, 10 and 11, which were 18 QQ. Thank you.
19 the common review, interim review, emails 19 MS. JEZIERSKI: Just for the record,
oses7 20 associated with the internal dispute resolution iooias 20 it appears we're doing the 30(b)(6) deposition
21 filing, the internal dispute resolution documents. 21 first; is that correct?
22 I'm not sure if I said this, the colleague reviews 22 MS. DENNIS: Yes. Sorry, I should
23 if associated with the internal dispute, and the 23 have been clear.
24 common and interim reviews as well as the 24 MS. JEZIERSKI: Okay.
os717 25 corrective action plans. too1ss 25 BY MS, DENNIS:
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
22 24
1 Q. And did you speak to anyone other 1 Q. Whenever -- during this first part
2 than your attorneys to prepare for -- to testify 2 of the deposition, I'm going to be asking you
3 on Topic 13? 3 questions in your capacity as a representative for
4 A. No. 4 UnitedHealth. And when -- later when I ask you
oss727 5 Q. Okay. Besides the documents you've tooz10 § questions in your personal capacity, I will make
6 identified that you relied on to prepare yourself 6 it clear when that division begins so we don't --
7 to testify on these topics today, did you do 7 so everything is kept clear who you're testifying
8 anything else to prepare to testify on these 8 on behalf of; is that fair?
9 topics today? 9 A. Yes.
oss74e 10 A. No. 10.0223 10 Q. Does UnitedHealth have a policy on
11 Q. Did you meet with Ms. Jezierski -- 11. age discrimination?
12 MS. DENNIS: Am I saying that 12 A. Yes.
13 correct? 13 Q. What's the general purpose of that
14 MS. JEZIERSKI: Mm-hmm. 14 policy?
15 BY MS. DENNIS: too239 15 A. That discrimination against any
16 Q._-- to prepare for today's 16 individual for their age, in addition to multiple
17 deposition? 17 other items, is prohibited.
18 A. Yes. 18 Q. Does that policy specify a certain
19 Q. And approximately how long did you 19 age?
ovse08 20 meet with her? And I'm not interested in any of 10.0301 20 A. The policy itself does not specify
21. +the substance, just kind of an estimate of how 21 anage.
22 much time. 22 Q. Why was that policy enacted?
23 A. About three hours. 23 A. Because of the Civil Rights Act of
24 QQ. And when was this? 24 1964,
09:58:21 25 A. Thursday, February 6th. tose 25 Q. Is there any other reason why
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING

 

 

02/24/2020 04:45:47 PM

Page 21 to 24 of 125

6 of 45 sheets
 

 

 

 

25 27
1 UnitedHealth has that policy? 1. discrimination can be reported to UnitedHealth?
2 A. To ensure that all employees are 2 A. Not that I'm aware of.
3 treated based on their merit and not as a result 3 Q. So let's talk about the HRdirect
4 of their age, race, religion, gender, ethnicity, 4 line; can you tell me generally how that works?
100332 § or health condition. too7s2 5 A. Yes. It is a 1-800 number that is
6 Q. And does UnitedHealth enforce this 6 available to employees and former employees, that
7  anti-age discrimination policy? 7 people can contact. And there are various areas
8 A. Yes. 8 within HRdirect that an employee would possibly
9 Q. How does UnitedHealth enforce this 9 utilize: Payroll, benefits, recruitment, employee
too3s3 10 policy? toos21 10 relations. And if it's an employee relations
11 A. We provide training for managers; we 11. claim, somebody will reach out to the employee who
12 provide training for employees; we have an 12 reported the issue to discuss the issue and
13 HRdirect number for employees to report any 13 document in our case system. And depending on
14 concerns related to discrimination or any other 14 where it goes from there, you know, possibly begin
tote 15 concerns related to their employment. oo:53 15 an investigation.
16 Q. Does UnitedHealth enforce this 16 Q. And can you tell me generally how
17 policy in any other ways? 17 =the anonymous ethics line works?
18 A. Wealso have an anonymous compliance 18 A. Yes. Anyone can report through an
19 and ethics line where people can report concerns 19 email or through a phone number, either
to04s0 20 related to their employment, including age too231 20 anonymously or not. And they would report to
21. discrimination. 21 somebody within the compliance and ethics line.
22 Q@. Are there any other ways this policy 22 Q@. And would the next step after
23 is enforced? 23 someone used the anonymous ethics line be the same
24 A. Not that I can recall. 24 as the HRdirect, in that it would be documented in
10:05:09 25 Q. Who is primarily responsible for too 25 the case system and an investigation would
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
26 28
1. enforcing UnitedHealth's antidiscrimination 1 possibly be begun?
2 policies? 2 A. Yes, it's the same.
3 A. All employees at UnitedHealth Group 3 Q. Is the difference between the two,
4 are responsible for enforcing UnitedHealth Group's 4 it’s just that one is anonymous?
100828 5 policy on discrimination. 11011 5 A. Yes. And one of them comes through
6 Q. Is there anyone -- sorry, let me 6 the compliance and ethics line. And if itis an
7 back up. 7 HR concern versus what we would consider a
8 Is the responsibility shared equally 8 compliance issue, they will pass the case on to
9 among all employees? 9 our team --
10:05:50 10 A. Yes. 10:10:25 10 Q. Okay.
11 Q. Besides the training for managers, 14 A.  -- to begin that same process.
12 training for employees, the HRdirect number for 12 Q. And when you say our team, what do
13 employees to report discrimination, and the 13 you mean?
14 anonymous ethics line, are there any other 14 A. Employee relations.
toos1e 15 company-wide measures to address age to1039 15 Q. And what does employee relations do?
16 = discrimination in the workplace? 16 A. Employee relations is responsible
17 A. Not that I'm aware of. 17 for speaking with employees on employee
18 Q. How are allegations of age 18 complaints, speaking with managers with relation
19 discrimination reported to UnitedHealth? 19 to concerns about employees, responsible for
10:06:54 20 A. They can be reported to the HRdirect tot111 20 investigating or facilitating investigations into
21 team; they can be reported through the compliance 21 employee complaints. We're also responsible for
22 and ethics line; and they can be reported to any 22 ~~ facilitating internal dispute resolutions.
23 level of management, or any other leader of the 23 Q. In your particular office, how
24 = organization. 24 many -- just approximately how many people are on
qo07:16 2D Q. Are there any other ways age to1150 25 the employee relations? Is it a department?
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING

 

 

7 of 45 sheets

Page 25 to 28 of 125

02/24/2020 04:45:47 PM
 

 

 

JOLYNN GRAHAM REPORTING

 

29 31
1 A. Yes. 1. organization.
2 Q. How many -- presently how many 2 Q. Have you provided training to
3. people are in the employee relations department? 3 managers on UnitedHealth's age discrimination
4 A. 70. 4 policy?
iotz07 5 Q. And are these employees all in one 1o1sse |= 5 MS. JEZIERSKI: Objection as to
6 geographic office? 6 form. Are you asking her as a 30(b)(6) witness or
7 A. No. 7 personal? Sounded personal.
8 Q. So is that -- is the approximately 8 MS. DENNIS: I think it is covered
9 70 people, is that throughout the entirety of the 9 under either.
to-1228 10 UnitedHealth Group? to16e12 10 THE WITNESS: No.
11 A. Actually I was speaking to the US. 11. BY MS. DENNIS:
12 There are international employee relations people 12 Q. So has UnitedHealth Group, as a
13 as well, so I would have to add a few onto that. 13 company, provided training to UnitedHealth
14 = It's not nearly the same kind of number, but... 14 managers on age discrimination?
to:1243 15 Q. Yeah. So just for ease of clarity, to1637 15 A. Yes.
16 if I ask a question I will assume you're answering 16 Q. What is that? Is that training
17 for the United States instead of international. 17 separate from other types of antidiscrimination
18 A. Thank you. 18 training?
19 Q. So how is employees relations, 19 A. No.
to:1308 20 what's kind of the -- how is it structured totes 20 Q. Can you describe generally the type
21 internally? 21 of training provided to managers on
22 A. Sure. There are employee relations 22 antidiscrimination policies?
23 analysts which handle more basic cases, or policy 23 A. Sure. We have a learned source tool
24 questions. There are senior employee relations 24 which is an electronic Just-In Time based
1013228 25 analysts that handle more complex cases for to1ss9 25 training, which managers are responsible for
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
30 32
1 employees that are salary grade 28 or below. And 1 taking; that goes through expectations of
2 there are employee relations consultants that 2 leadership, including, you know, understanding of
3 handle employee cases for 28 and below, also help 3 our discrimination policies as well as other
4 manage the senior employee relations analyst. 4 policies.
101382 5 There are employee relation case toizte «5 In addition, we have a yearly code
6 managers who handle complex cases, and cases 6 of conduct attestation for all employees that
7 related to employees of grade 29 and above. 7 discusses this subject matter.
8 And then we have our leadership team 8 Q. Can you tell me more about that code
9 that manage the case managers and the senior 9 of context [sic] attestation?
so1414 10 employee relations analysts. We also have an area 101736 10 A. Yes, itis a computer-based
11. for compliance; that's in employee relations but 11 attestation, and it goes through our policies, our
12 separate. 12. code of conduct, including discrimination topics,
13 Q. And can you remind me, what is your 13 and we are then required to take a little quiz at
14 current job title? 14 =the end to make sure that we are understanding the
10:14:32 15 A. I'man employee relations case i754 15 topics. And once we have completed the training
16 manager. 16 we will receive a -- we'll attest that we
17 Q. And what are the main 17 understand, and that happens on a yearly basis.
18 responsibilities in that role? 18 Q. So I just want to go back to talking
19 A. fmployee relations case managers 19 about your role as an employee relations case
to1450 20 work on cases about employees grade 29 and above. | to1237 20 =manager. Can you to walk me through what course
21 We work on downsizing cases as well. And that's 21 of action would happen after an employee made a
22 mainly the administration of that. We work with 22 claim of age discrimination?
23 employee complaints of discrimination, harassment, 23 A. Yes. There are two separate
24 or otherwise. We perform trainings and provide 24 processes. If they contact the HRdirect number to
101520 25 counsel to managers and employees across the to1936 25 file a complaint, employee relations will reach

JOLYNN GRAHAM REPORTING

 

 

02/24/2020 04:45:47 PM

Page 29 to 32 of 125

8 of 45 sheets
 

 

 

 

33 35
1 out, after speaking with the employee, reach out 1 Q. Can I ask a quick question. When
2 to the appropriate level of Human Capital or 2 you say an appropriate leader, what do you mean by
3 leadership to discuss the concern and to ask them 3. that?
4 to investigate the allegations, while we provide 4 A. A leader that is not involved in the
to2000 5 them with guidance, facilitation of questions, and 10234 5 complaint.
6 discussion of resolution. 6 Q. So does that mean -- sorry, I will
7 The second process is what's called 7 let you finish.
8 the internal dispute resolution process, which 8 A. A neutral -- a leader that is in a
9 typically is filed as a result of an action. An 9 neutral position, so not involved in any of the
102020 10 employee has a choice to file an internal dispute 102328 10 accusations, and/or any part of the employee's
11 resolution, and in that particular process, we 11. complaint.
12 reach out to the third level manager if the 12 Q. So, you said employee relations
13 employee is disputing a determination. 13° reaches out to an appropriate leader to discuss
14 Q. What do you mean by third level 14 with the leader the allegations; is that right?
102039 15 manager? 40.2345 15 A. Yes.
16 A. The employee's manager's manager's 16 Q. And what happens next?
17 manager. And if that person was not involved in 17 A. We have the leader investigate the
18 the action taken that the employee is disputing, 18 claims by either speaking with witnesses, if that
19 such as a termination, where they've also brought 19 is part of the claim, or reviewing anything that
102055 20 in an age discrimination or other type of claim, 12402 20 has been brought forward as support to the claim.
21 we will reach out to try to locate a neutral 21. And we also have the leader speak with the accused
22 party. 22 individual and try to understand what can be
23 We also help that party through the 23 substantiated of the employee's claims.
24 process of the internal dispute resolution serving 24 Q. And when you say leader, would you
tozi17 25 as a neutral party between employee and manager, 102427 25 speak to witnesses if they're a specific category
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
34 36
1. or human capital member if we're not able to find 1 of witnesses that the procedure requires them to
2  amanager that has not been involved in the 2 reach out to?
3. decision. 3 MS. JEZIERSKI: Object to form.
4 Q. And both of these tracks require an 4 MS. DENNIS: You can answer if you
102147 5 investigator? Let me rephrase that. 5 understand the question.
6 Do either of these tracks require an 6 THE WITNESS: No, because the
7 investigation of the discrimination claim? 7 employee would typically provide the witnesses, or
8 A. Depending on what the employee has 8 at least state that there are witnesses, and that
9 alleged. If they have provided any type of 9 is the situation in which they would speak with
102204 10 information to help to contribute to their claim 10:24:54 10 witnesses.
11. of age discrimination, yes, they both require an 11° BY MS. DENNIS:
12. investigation, But the internal dispute 12 Q. So it depends on the
13 resolution process, regardless, requires an 13° circumstances --
14. investigation. 14 A. Yes.
102222 15 Q. Is there a specific procedure that to-24:56 15 Q. — -- of the allegations?
16 UnitedHealth follows when investigating these 16 A. Yes.
17 claims? 17 Q. And when the leader is reaching out
18 A. Yes. 18 to the witnesses, is it done in person?
19 Q. Could you describe that in general! 19 A. It depends. We havea large
102242 20 terms for me. to2823 20 telecommuting population, so if that's the case,
21 A. Yes. Employee relations will reach 21 then no, it would be on the telephone. If they
22 out to the appropriate leader, we will discuss the 22 are in the same location, then yes, they will
23 concern with the leader, and ask the leader to 23 «typically speak with the witnesses on-site.
24 speak with certain individuals to try to determine 24 Q. Is there a circumstance where a
to2z280 25 if there's any validity to the claim. 102849 25 leader would rely on one witness to provide --
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING

 

 

9 of 45 sheets

Page 33 to 36 of 125

02/24/2020 04:45:47 PM
 

 

 

 

37 39
1 sorry, I will start that question again. 1 would not be information disclosed to the accused
2 Would there be any circumstances in 2 individual.
3 which a leader would request that one witness 3 Q. Is there a reason why that would be
4 gather information from another witness? 4 kept separately from the accused individual?
so2z616 5 A. Yes. If a witness is a leader, to2023 5 A. Well, the accused individual
6 another leader -- if the witness is another 6 wouldn't have any reason to know about the witness
7 leader, they may have that leader ask their direct 7 conversations if there's an investigation into the
8 reports to provide information, if appropriate. 8 an accused individual's -- into something that the
9 Q. Okay. Would the accused individual 9 accused individual has allegedly done, especially
102634 10 be asked to provide witness testimony on behalf of 12041 10 if it relates to a particular specific claim of
171° anyone else other than themselves? 11.0 discrimination.
12 MS. JEZIERSKI: Objection; form. 12 Q. Is this process set up in a way to
13 MS. DENNIS: Do you understand the 13 prevent retaliation from the accused individual on
14 question? 14 anyone who would provide testimony?
102651 15 THE WITNESS: Can you repeat it, 103002 15 A. Absolutely.
16 please. 16 Q. How is it set up to achieve that?
17 MS. DENNIS: Sure. 17 A. Well, as I stated, they're typically
18 BY MS. DENNIS: 18 not aware of who's provided the information as it
19 Q. Would there be a circumstance where 19 relates to an age discrimination claim or
102658 20 the person being accused of discrimination would 103018 20 something similar. They are typically not
21 be asked to provide testimony on behalf of another 21 ‘involved in the investigation related to an
22 witness? 22 accusation made of themselves, or about
23 A. There may be. Um, I can't think of 23 themselves. And they're also a non-retaliation
24 examples right now, but I definitely think there 24 = policy and information provided to all witnesses
102722 25 are situations, because so many situations depend 103025 25 at the time of speaking with them that retaliation
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
38 40
1. on the details, that there's definitely a 1. is prohibited, and what to do if they feel like
2 ‘possibility that that -- an accused individual can 2 they have been retaliated against for being part
3 also be a witness in other allegations, or that it 3 of the process. ‘
4 would require them to provide information from 4 Q. Okay. Is that it?
so2741 5 other people. io3047 5 A. Yes.
6 Q. Okay. Would witnesses that a leader 6 Q. Okay. Besides speaking to
7 talked to have the option of providing their 7 witnesses, does the leader investigating a claim
8 feedback anonymously? 8 do anything else as part of the investigation?
9 A. No. 9 A. They speak with the accused
10:28:03 10 Q. So would the accused individual know 103113 10 individual, and if there are witnesses, again, but
11. the substance of what the testimony was that the 11 if they're not witnesses, then they would not be
12 witnesses provided? 12 speaking with witnesses. And they would at times,
13 A. I'm sorry, I'm not sure if Iam 13 depending on if it is the internal dispute
14 understanding. 14 resolution process, or the complaint process I
to2e18 15 Q. Sorry, I can rephrase that. 103131 15 mentioned earlier, they may speak with the
16 Would the accused individual be 16 complainant.
17 aware of the statements other witnesses were 17 Q. Would the leader look at any
18 = making regarding the reported age discrimination? 18 = specific documents as part of this investigative
19 A.  Typicaily, no. So if we're speaking 19 process?
102039 20 of age discrimination, and the accused is accused to3i4s 20 A. If there were documents related to
21 = of age discrimination, and we're asking if that 21° age discrimination, they may look at those
22 accused individual would collect information about 22 documents.
23 age discrimination from themselves, collect the 23 Q. How does a leader -- how would they
24 information from other witnesses, typically that 24 determine whether or not there would be documents
102002 25 is not part of the process, and therefore there 103202 25 related to age discrimination?
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING

 

 

02/24/2020 04:45:47 PM

Page 37 to 40 of 125

10 of 45 sheets
 

 

 

JOLYNN GRAHAM REPORTING

 

41 43
1 A. Well, the employee, the complainant, 1 If an allegation was about a pattern
2 would possibly indicate that there were particular 2 of age discrimination, beyond a one-on-one
3 documents related to age discrimination. And if 3 conversation, would the investigator speak to
4 so they would review those documents. 4 other witnesses?
103214 5 Q. Generally what type of evidence 103634 § MS. JEZIERSKI: Objection; form.
6 would be enough to substantiate a claim of age 6 THE WITNESS: If there were --
7 discrimination in this investigative process? 7 MS. DENNIS: I can try to figure out
8 MS. JEZIERSKI: Objection; form. 8 a better way to phrase that.
9 THE WITNESS: If there is -- sorry, 9 THE WITNESS: Thank you.
103301 10 could you repeat the question, please. soasea 10 BY MS. DENNIS:
11 MS. DENNIS: Sure. 11 Q. Would it be accurate to say that
12 BY MS. DENNIS: 12 sometimes age discrimination allegations involve
13 Q. What type of evidence in this 13 more than a one-on-one conversation involving age
14 investigative process would be enough to 14 = discrimination?
to33:t0 15 substantiate a claim of age discrimination? toa709 15 A. They definitely could.
16 A. It's highly dependent on what the 16 Q. Do some age discrimination claims
17 complainant has reported at the beginning of 17 involve kind of a pattern or practice of age
18 evidence. So, for example, if a complainant has 18 = discrimination?
19 indicated that they were discriminated against as 19 A. Yes, they definitely could.
to3328 20 a part of a conversation between another 10:37:24 20 Q. Do some age discrimination claims
21 individual, and that other individual denies the 21 involve -- sorry, do some age discrimination
22 claim, then we would consider that to be 22 ~~ claims --
23 unsubstantiated. If the individual admits to the 23 If an age discrimination claim
24 claim, they -- we would consider it to be 24 alleged a pattern of age discrimination, would a
to3s44 25 substantiated. tozet9 25 leader investigating that claim seek out
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
42 44
1 Q. Are there any other ways a claim of 1 additional witnesses besides the accused?
2 age discrimination could be substantiated? 2 A. Only if that individual gave more
3 A. Yes. If there were witnesses that 3 context to the pattern they're alleging occurred.
4 supported the claim, that would be a way to 4 Simply indicating there's a pattern but with no
toa412 5 substantiate that there was a particular -- that 1o3842 5 information to know what to look for, would not
6 there might have been something inappropriate, 6 necessarily be -- would not necessarily require
7 whether it be age discrimination or otherwise. 7 the investigator to reach out to random witnesses.
8 Q. And in the scenario where it 8 Q. So if the person making an
9 involved one individual's words against the other, 9 allegation of age discrimination pointed to
103437 10 as part of the investigative process, would a 103901 10 something specific, that would generally be
11. leader seek out other witnesses on their own? 11. investigated?
12 A. That's highly dependent on the 12 A. Yes.
13 situation. If it was a conversation between two 13 Q. Is there any type of evidence in an
14 individuals, they would not seek out other 14 investigation that would definitively rule out age
103486 15 witnesses to ask about a conversation they were 103925 15 discrimination?
16 not aware of, or that they may or may not have 16 MS. JEZIERSKI: Objection; form.
17 known about. 17 THE WITNESS: Not -- I'm not sure.
18 Q. ‘If a discrimination allegation was 18 BY MS. DENNIS:
19 based on more than a conversation, would the 19 Q. So there would not be one specific
103620 20 leader do further investigation beyond -- sorry, to3044 20 type of evidence that you would look -- that an
21 ‘let me figure out a way to rephrase that. 21 investigator would look to and rely on that to
22 So if a claim of age discrimination 22 determine there was age discrimination; is that
23 involved something other than a single 23 right?
24 ~conversation -- sorry, that's not a better way to 24 A. I need just a minute to try to
103600 25 say it either. 104013 25 process what hypothetical -- sorry, could you just

JOLYNN GRAHAM REPORTING

 

 

11 of 45 sheets

Page 41 to 44 of 125

02/24/2020 04:45:47 PM
 

 

 

 

45 47
i repeat the question one more time for me, please. 1 Q. What do they do?
2 MS. DENNIS: Sure. Could you read 2 A. If appropriate, it may not be
3 back the question. 3 appropriate in all cases, but if appropriate they
4 (Requested portion of testimony was read 4 may review colleague feedback submitted as part of
5 by the court reporter.) 1oasee 5 that review. They may review previous reviews
6 THE WITNESS: Well, if the accused 6 submitted by previous managers that are not part
7 individual admitted to discriminating against 7 of that accusation.
8 somebody based on their age, then that would 8 They may, depending on the
9 definitely be something that they could look to to 9 situation, speak with other individuals. And they
io4085 10 substantiate that there had been age 104405 10 may review or speak with individuals about any
41 discrimination. 11° particular action that the employee is claiming is
12 MS. DENNIS: I think there was a 12 part of the age discrimination complaint.
13. slight transcription error, at least to how I 13 Q. Does an investigator -- would there
14 understand I asked the question, was if there's a 14 be a circumstances in which an investigator would
to4tos 15 specific type of information that would 1o44:41 15 look at any of the work performed by an employee
16 definitively rule out age discrimination in an 16 directly?
17 investigation. 17 A. In the internal dispute resolution
18 THE WITNESS: Not that I'm aware of. 18 process, it is not typically the responsibility of
19 BY MS. DENNIS: 19 the investigator at that point to review each
to4t21 20 Q. Okay. It's all case specific? to4455 20 individual assignment. It is to make a
21 A. Yes. 21 determination of whether the action the employee
22 Q. Does a leader performing an 22 is disputing, for example, termination, was an
23 investigation rely on an employee's performance 23 appropriate and warranted decision.
24 reviews to determine whether a claim of age 24 Q. Would there be any circumstances
to4i47 25 discrimination would have merit? to4523 25 where an investigator would look at the work
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
46 48
1 A. It depends on if they're associating 1. performed by an employee directly as part of an
2 an action as a result of age discrimination. And 2 investigation?
3 if they are, they would investigate that act or 3 A. Because there's such a wide variety
4 action taken, and if that is related to their 4 of allegations and types of allegations, it's
io4211 5 performance, they would definitely review their to454s 5 difficult to say no to any kind of question like
6 performance reviews and try to understand that 6 that, so I guess I can't say no. But it is not
7 action that's being associated by the complainant 7 typical as part of the internal dispute resolution
8 as part of an age discrimination claim. 8 process for the investigator to get into the
9 Q. Isee. Does the weight of that 9 minutiae of the particular projects of the
104237 10 performance review -- does the weight in the to4s01 10 employee.
11 investigation of that performance review change if 11 Q. Isee. Is the investigative process
12 the person who wrote the review is the person 12 any different for a current employee bringing age
13 accused of age discrimination? 13. discrimination claim compared to an employee who
14 A. Could you repeat the question, 14 has been terminated?
104259 15 please. 104632 15 A. No.
16 MS. DENNIS: Could you read that 16 Q. So either way the claim would be
17 back, please. 17 investigated just as thoroughly?
18 (Requested portion of testimony was read 18 A. Yes.
19 by the court reporter.) 19 Q. Are there certain documents that
iosats 20 THE WITNESS: No. to4646 20 would have been available -- are there certain
21 BY MS. DENNIS: 21. documents that would have been available in an
22 Q. Does an investigator do anything to 22 investigation for a current employee that would no
23 independently substantiate the accuracy of a 23 longer be available if the employee bringing the
24 performance review? 24 claim had been terminated?
104336 25 A. Yes. to4709 25 MS. JEZIERSKI: Objection; form.
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING

 

 

02/24/2020 04:45:47 PM

Page 45 to 48 of 125

12 of 45 sheets
 

 

 

JOLYNN GRAHAM REPORTING

 

49 51
1 THE WITNESS: Not that I'm aware of. 1 BY MS. DENNIS:
2 BY MS. DENNIS; 2 Q@. What would happen if a claim of age
3 Q. For example, let me clarify that 3. discrimination by a current employee is
4 question. When an employee is terminated -- 4 substantiated?
toav4o 5 sorry, strike that, osi27 5 A. If we substantiated that there was
6 In an investigation for a current 6 age discrimination, there would be typically some
7 employee who brings a claim of age discrimination, 7 disciplinary action taken on the accused.
8 could that employee provide notes about the 8 Q. What does that mean?
9 alleged age discrimination that they put onto 9 A. Depending on the severity of the
toss14 10 their work computer? 15151 10 situation, it could possibly lead to termination.
11 A. Yes. 11 For a less egregious substantiated allegation, it
12 Q@. And for an employee who has been 12 might result in a final warning.
13° terminated that is alleging age discrimination, 13 MS. JEZIERSKI: Is this a good time
14 ~would those documents on their previous work 14 to take a break?
104842 15 computer also be available as part of the 108217 15 MS. DENNIS: Sure.
16 investigation? 16 (Short break.)
17 MS. JEZIERSKI: Objection; form. 17 MS. DENNIS: Let's go back on the
18 THE WITNESS: Typically, no. 18 record.
19 BY MS. DENNIS: 19 BY MS. DENNIS:
to4853 20 Q. Why is that? 11:01:28 20 Q. So I think before we went off the
21 A. Because the computer is typically 21 record we were talking about what would happen to
22 wiped when an employee is no longer employed in 22 a person accused of age discrimination if that
23 order to repurpose the computer. 23 claim was substantiated. And let me know if this
24 Q. So there would be no backup for the 24 is correct. If it was substantiated it could lead
104922 25 documents contained on an employee's work 110182 25 to -- possibly lead to termination, or if it was
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
50 52
1° computer? 1. less egregious could result in a final Corrective
2 A. If it is -- if we're talking about 2 Action Form; is that right?
3 something on a hard drive, then, no, there's not a 3 A. Yes.
4 backup that I'm on aware of. I'm not a technology 4 Q. In the last four years have any
to4o39 O person, So I can't say with 100 percent certainty 110228 § claims of age discrimination -- let me strike
6 to my knowledge that there's any type of access to 6 that.
7 any backup documents. 7 Is the scenario you discussed about
8 Q. Okay. So if a current employee 8 if the person accused of age discrimination was
9 claims that they are being discriminated against 9 found to have engaged -- sorry, I'm not making
to4as9 10 by a supervisor due to their age, and after an 110310 10 sense there.
11 investigation UnitedHealth concludes there was no 11 In the last four years at
12 age discrimination, what would happen after that? 12 UnitedHealth, has any claim of age discrimination
13 A. In the case of an internal dispute 13 been substantiated?
14 resolution, the employee would receive a response 14 MS, JEZIERSKI: Objection. That's
tosot9 15 in writing indicating the findings of the -- the 110329 15 beyond the scope of the topics listed.
16 allegations made. 16 MS. DENNIS: Okay.
17 Q. Is that it? 17 BY MS. DENNIS:
18 A. Yes. 18 Q. Do you know?
19 Q. Typically would -- sorry. 19 A. I can't speak to that specifically.
105046 20 After UnitedHealth found that there 110343 20 Q. So is that -- I understand your
21. was no age discrimination, would that employee 21 counsel has objected to it being outside of the
22 remain under the same supervisor typically? 22 deposition topics, but you can still answer if you
23 MS. JEZIERSKI: Objection; form. 23 know.
24 THE WITNESS: Typically, yes. If 24 A. Ido not know.
15107 25 they were a current employee, of course. 110405 25 Q. Okay. You don't know.

JOLYNN GRAHAM REPORTING

 

 

13 of 45 sheets

Page 49 to 52 of 125

02/24/2020 04:45:47 PM
 

 

 

 

53 55
1 Do you know if UnitedHealth's 1 A. Yes. There are performance reviews
2 antidiscrimination policy has changed or been 2 that are what's considered a common review, which
3 revised since 2016? 3 is a proactive review given yearly regardless of
4 A. I do not believe there's been any 4 performance deficiencies. And that procedure
10041 5 material changes to the policy. It is possible 10757 5 involves typically the employee being asked for a
6 that they have made graphic updates to, you know, 6 self-evaluation, the manager collecting colleague
7 the intranet policy. But there's no material 7 feedback, and the manager providing their
8 change to the policy. 8 assessment based on their consideration of those
9 Q. Who makes -- when there are changes 9 things as well as their own knowledge and
110505 10 to make, who is responsible for updating or tio814 10 information to produce their common review.
11° advising the anti-age discrimination policy? 11 For the second type of review, it's
12 A. There are various people involved in 12 what's called an interim review, and we consider
13 updating any type of policy. So employee 13 interim reviews to be both proactive and reactive,
14 relations is responsible for owning policy for the 14 meaning they can be done just dictated by the
110521 15 organization. 110837 15 business, the part of the business requires
16 But there are people in the HR 16 perhaps. But more commonly they're done when
17 analytic department that would be responsible for 17 there are concerns with performance that need to
18 posting it. There would be people in the employee 18 be addressed.
19 relations compliance department to make sure that 19 And in that process there are -- the
110538 20 it's in compliance with any state or federal laws s10848 20 = only requirement in that process, is to have the
21 that it might intersect with. And so there are 21° +manager complete the interim review. Buta
22 various parties. But typically the majority are 22 typical part of that process would also be to
23 employee relations personnel. 23 collect colleague feedback to assist the manager
24 Q. So there would be no changes in the 24 in making the proper assessment.
110556 25 last few years that would affect how 11:09:06 25 Q@. And when you say collect colleague
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
54 56
1 investigations are conducted -- 1 feedback, is that -- is that done informally by
2 A. No. 2 the manager?
3 QQ. -- is that right? 3 A. Itcanbe,. Typically it is done in
4 So I would like to switch gears a 4 the system. They send a request through the
it0s23 5 little bit and talk about performance reviews at 110921 5 people's soft tool for a person to complete a
6 UnitedHealth. 6 colleague review.
7 Does UnitedHealth have a policy 7 Q. And you said that's part of the
8 related to employee performance reviews? 8 common review process as well?
9 A. There's nota policy. There is a 9 A. Yes,
t10640 10 procedure with procedure documents out there, but 11:09:38 10 Q. So is that, reaching out for
11. ‘I'm not aware of an official policy. 11. colleague feedback, is that a requirement for
12 Q. So would these procedure documents 12 these reviews -- for the common review?
13° you referred to be a part of an employee handbook? 13 A. No.
14 A. Yes. 14 Q. So is that done at the discretion of
11:07:03 15 Q. Would they be reflected anywhere 110959 15 the manager?
16 else? 16 A. Yes.
17 A. Well, our employee handbook is on 17 Q. If the manager does seek out
18 our company intranet site, and that's where they 18 colleague feedback for an employee's review, does
19 would be reflected. They're also reflected in the 19 the manager select the colleagues to provide
no7a7 20 people soft tool that we have available, where the tito1s 20 feedback on that employee's performance?
21 actual reviews are completed. There's documents 21 A. It depends. Some managers ask the
22 for employees and managers. 22 employee to provide names that they can request
23 Q. Can you give me kind of a general 23 feedback from, and some managers will request
24 overview of what that procedure for performance 24 feedback from everyone on the team depending on
110737 25 reviews entail? ‘1022 25 how large the team is. And some will request
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING

 

 

02/24/2020 04:45:47 PM

Page 53 to 56 of 125

14 of 45 sheets
 

 

 

JOLYNN GRAHAM REPORTING

 

57 59
1 feedback from those that interact regularly with 1 or two during the review to assist with
2 the individual, so that would have the most 2 performance conversations, but there's no specific
3 information on the individual's performance. 3 identifying information provided.
4 Q. Okay. So it's discretionary? 4 Q. Okay. But the -- is it correct that
titos0 8 A. Yes. 1a4ais S the manager can identify who -- which colleagues
6 Q. And you said there's common review 6 provided what feedback?
7 and the interim review, are there other types of 7 A. Yes.
8 performance reviews? 8 Q. What is a Corrective Action Form?
9 A. No. 9 A. Acorrective action plan actually is
tittat 10 Q@. For the colleague feedback, would uiaa7 10 what we refer to it as, and it is what other
ii they be -- well, I'll back up. 11. organizations may call a write-up or some sort of
12 Is there a standard form used for 12 document to document that there is a concern,
13 common reviews? 13. whether it be for performance, inappropriate
14 A. Yes. 14 behavior, policy violation, something like that.
waive 15 Q. When colleagues are asked to provide 11809 15 So it is a document utilized to address a
16 feedback on an employee, is that feedback -- does 16 performance or behavioral conduct issue.
17 it track the form with the common review format? 17 Q. And are there -- is there a
18 A. Yes. 18 ~~ particular policy at UnitedHealth that governs how
19 Q. So the colleagues are asked to 19 these corrective action plans are used?
11211 20 provide feedback on the same criteria that are tits4o 20 A. There's not a policy. There is a
21 present in the common review; is that right? 21 procedure.
22 A. No. 22 Q. And is this procedure similar to the
23 Q. Okay. How is it different? 23 performance review procedure?
24 A. There are questions for colleague 24 A. No.
111222 25 feedback to, first of all, identify the s11600 25 Q. Okay. I'll back up. Is there --
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
58 60
1 relationship between the colleague and the person 1 would this procedure be documented in any
2 they're getting feedback on. And then the request 2 UnitedHealth documents?
3 is for -- to determine -- the request is what 3 A. There are UnitedHealth Group
4 could they do better, what are they doing well. 4 documents that have information on the corrective
tit230 5 So in essence, that's not a quote, 11619 § action process, yes.
6 but it is the -- so there's approximately four 6 Q. What would those documents be?
7 questions that are asked. So it is not the same 7 A. Inthe employee intranet site there
8 format. 8 are -- there's a document for managers that is for
9 Q@. Okay. And are those colleague 9 corrective action guidance. There are corrective
111262 10 reviews used for any other purposes other than nasa 10 action plan examples to assist the manager in how
11. informing the, either the common review or the 11 to write one, and there's also documents to help
12. interim review? 12 them in the system to create the actual form
13 A. Not -- not as I am understanding the 13 itself.
14 question. So no, I don't think so. 14 Q. Is there a procedure for an employee
aiitate 15 Q. For the colleague feedback on common 111724 15 to dispute the substance of a corrective action
16 reviews and interim reviews, would a person -- the 16 plan?
17 employee being evaluated be provided with their 17 A. Yes.
18 colleagues’ feedback? 18 Q. And what is that procedure?
19 A. They may in general be provided with 19 A. The internal dispute resolution
t343 20 some information. But they're not provided with 114737 20 procedure.
21 ‘the actual review -- colleague reviews themselves, 21 Q. Can you explain to me how that -- if
22 and they're not necessarily given -- and typically 22 an employee took -- was just disputing the
23 given the identity of the person giving the 23 substance of a corrective action plan, how they
24 feedback. 24 would initiate the internal dispute resolution
141402 25 So the manager may give a sentence ti1s07 25 process?

JOLYNN GRAHAM REPORTING

 

 

15 of 45 sheets

Page 57 to 60 of 125

02/24/2020 04:45:47 PM
 

 

 

JOLYNN GRAHAM REPORTING

 

61 63
1 A. The first step to dispute a 1 corrective action plan, at that point, typically,
2 corrective action would be to enter employee 2 is that -- is the final corrective action plan
3 comments, if they choose to go through the 3 filed immediately prior to termination typically?
4 internal dispute resolution process. They can 4 A. No. Typically it is filed -- well,
niazo 8 enter comments regardless; but part of the process 12184 § I guess I'm not sure what immediately means. But
6 is to have them enter comments and speak with 6 typically the final level is issued, and then the
7 their manager about those comments. ¢ employee would be terminated should they continue
8 Q. What would the next step be in the 8 to have an issue.
9 IDR process? 9 Q. So generally there is still an
sita37 10 A. The employee would -- if they're not 112209 10 opportunity for an employee to correct --
11. able to get resolution from the manager's 11 A. Yes.
12. conversation about their comments, then they would 12 Q. — -- their behavior or performance?
13 submit what's called an internal dispute 13 Is there any circumstance in which an
14 resolution form to employee relations indicating 14 employee would not be able to provide their own
ti1e54 15 what they're disputing, why. 112231 15 comments or feedback on a corrective action plan?
16 Q. So if an employee didn't submit the 16 A. Not that I am aware of. Once the
17 IDR form and they just disputed a corrective 17 corrective action is submitted, the employee gets
18 = action plan through their comments, the IDR 18 an email notifying them that there is a corrective
19 process wouldn't be initiated? 19 action, and they can provide comments if they
tits17 20 A. No. 112251 20 choose to.
21 Q. So it requires the employee to 21 Q. Just going back to the performance
22 affirmatively reach out to the -- 22 reviews for a moment. We've discussed the common
23 A. Yes. 23 review and the interim review. Would there be any
24 Q. So are there various levels within 24 reason why a performance review would be submitted
111952 25 the corrective action plan framework? ii2308 25 after an employee was terminated?
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
62 64
1 A. Yes. 1 A. Timing, typically. The performance
2 Q. Can you explain to me about those? 2 review process is a little extensive, so managers
3 A. There is an initial level, what's 3. start completing them in the fall. And typically,
4 called an elevated level, and what's called a 4 then, they're making decisions on -- financial
i200 5 final level. They are not required to be 112333 5 decisions, following that. So it's kind of this
6 progressive, or there's no particular level that a 6 long process, so it is possible that an employee
7 manager is required to use. 7 could be terminated in between those timeframes
8 The initial level is for maybe a 8 and that the corrective action would be in the
9 first -- typically can be used for a first time 9 system.
112033 10 corrective action for a kind of less egregious 112347 10 Q. Sorry, I'm not talking about the
11. violation, or a performance concern that's not 11°) corrective action plan.
12 been documented through the corrective action 12 A. Sorry about that.
13 process. 13 Q. The common review.
14 The elevated could also be used for 14 A. Yes. The common review would be in
112048 15 similar reasons, but may be considered to be more 112400 15 the system.
16 of a serious performance issue, or more a serious 16 Q. Okay. I'd like to shift gears again
17 violation of policy or behavior. But it's at the 17 and talk more generally about UnitedHealth's
18 manager's discretion. 18 employee handbook and other policies.
19 And then the final level would be 19 You said before that UnitedHealth
i2i04 20 considered the level used for the most severe tt2443 20 has an employee handbook available on its intranet
21 of -- performance issues that have been either 21 site, correct?
22 previously documented or extremely egregious, and 22 A. Yes. It's -- we call it -- the
23 also egregious policy violations or inappropriate 23 intranet essentially -- the policy area of our
24 behavior. 24 intranet is the handbook.
112123 25 Q. And for the final level of a ti2as9 25 Q. So what other policies are included

JOLYNN GRAHAM REPORTING

 

 

02/24/2020 04:45:47 PM

Page 61 to 64 of 125

16 of 45 sheets
 

 

 

JOLYNN GRAHAM REPORTING

 

65 67
1 on the intranet? 1 And then they let employee relations
2 A. There's an attendance policy, 2 know the conversation had been held, and the
3 there's a policy on -- there's a code of conduct. 3. employee relations will enter the termination into
4 There's a policy on personal conduct. There's a 4 the system.
12543 § policy on workplace violence. And there's a it2e59 5 Q. And are there any circumstances
6 policy on harassment, retaliation. So there's a 6 after a termination in which an employee would be
7 non-retaliation policy, harassment policy. There 7 reinstated into their position?
8 area lot of policies. So I can keep going. Do 8 A. Yes.
9 you want me to keep going? I can if you want. 9 Q. What would those circumstance be?
i12608 10 Q. I think that's fine. st290%8 10 A. If an employee was successful in
11 A. Okay. 11 proving their internal dispute resolution case, or
12 Q. Besides the corrective action plan 12. if during that review of the internal dispute
13 procedures, does UnitedHealth have other policies 13 resolution -- through the internal dispute
14 = governing termination of employees? 14 resolution process, it was determined that maybe
112644 15 A. There's a -- there are various 112029 15 there weren’t -- that the termination was not
16 policies that address things that could result in 16 warranted, or that a different decision could have
17 termination. So, for example, the attendance 17 been made, there may be a recommendation to
18 policy, within that attendance policy it talks 18 reinstate the individual.
19 about how many unplanned absences might result in 19 Q. So you say a recommendation; who has
112701 20 a termination, so... 112944 20 the final say on that?
21 And then there's also a document in 21 A. There should -- I should have said
22 our intranet site that I wouldn't consider a 22 decision. The decision is with the leader that
23 policy, but it talks about employee termination. 23 reviews the internal -- that is responsible for
24 ~=Primarily how to enter it, what to do if it's an 24 the internal dispute resolution, and they may
112721 25 involuntary situation, who to call, things like 112089 25 decide to reinstate the employee.
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
66 68
1 that. 1 Q. And in the last four years do you
2 Q. And could you walk me through the 2 know if UnitedHealth has reinstated an employee
3. process of what would happen if a supervisor 3. after that employee's manager has terminated them?
4 indicated their employee hadn't met the criteria 4 MS. JEZIERSKI: I am going to
v273a7 § for their corrective action plan, and what they 113013 5 object. This is beyond the scope of the topics
6 would do to initiate the termination procedure? 6 listed in the 30(b)(6) Notice.
7 A. Yes. The manager would contact 7 MS. DENNIS: You can answer if you
8 employee relations through HRdirect and open a 8 understood the question.
9 case, and one of our employees would contact the 9 THE WITNESS: Yes.
112789 10 manager to discuss the concerns to kind of 10 BY MS. DENNIS:
11. understand what the manager is indicating is, you 11 Q. And what were those circumstances?
12. know -- what the employee is not performing. The 12 MS. JEZIERSKI: Same objection.
13. employee relations person would review all the 13 THE WITNESS: I'm not aware of the
14 documents previously issued to the employee to 14 particular circumstances from a company
tiz019 15 ensure that the employee was -- or just kind of 113031 15 representative standpoint. I’m aware of my own
16 understand what the employee was being asked to do 16 cases and experiences, and I would say within the
17 and understand the history of the employee. And 17 last four years I do not know of any specifics.
18 if they are -- they will provide a recommendation. 18 However, I do know that there has been
19 But it is the manager's discretion as to whether 19 reinstatements.
112038 20 or not they take that termination action. 113049 20 BY MS. DENNIS:
21 But employee relations typically 21 Q. Okay. Have there been any formal or
22 will provide their recommendation on that, And 22 informal complaints regarding Sujatha
23. then the manager will communicate the termination 23  Duraimanickam related to age discrimination
24 to the employee if the decision is to terminate 24 excluding Frank Zhang's allegations?
t12848 25 the employee's employment. iiat40 25 A. Not that I'm aware of.

JOLYNN GRAHAM REPORTING

 

 

17 of 45 sheets

Page 65 to 68 of 125

02/24/2020 04:45:47 PM

 
 

 

 

 

69 71
1 Q@. Are there any documents you could 1 There wouldn't be a need to document
2 refer to that would show if there were any formal 2 any type of corrective action things because we
3 or informal complaints against Ms. Duraimanickam? 3 have access to that in a different system.
4 A. There -- there are documents that I 4 Q. So, if a leader who is performing an
113200 § could internally review to see if there were 113600 5 investigation for a claim of age discrimination
6 complaints filed with HRdirect, which -- 6 spoke with a witness, would that generally be
7 Q. Did you review those -- 7 reflected in the HR case system?
8 A. Yes. 8 A. If itis a regular employee
9 Q. Sorry. So are there any other 9 complaint and not an internal dispute resolution.
113221 10 documents that would reflect complaints or reports 113523 10 Q. And for the internal dispute
11° of age discrimination made regarding Ms. 11 resolution, are documents related to those kept in
12. Duraimanickam? 12 = a different system?
13 A. Not that I'm aware of. Any 13 A. There are -- the employee -- the
14 complaints that are filed, or made I should say, 14 = internal dispute resolution process requires that
113245 15 would -- should be in the HR case system unless it 113544 15 we provide a written response to the employee, and
16 wasn't reported. 16 contained within that response typically it is
17 Q. Can you tell me a little bit about 17 documented what was reviewed, and who was spoken
18 how the HR case system works? 18 with.
19 A. Yes. It is a database that we all 19 Q. Does the IDR process require any
13308 20 have access to. When I say we all, I mean people 113604 20 other documents other than the written response
21 in HRdirect. Employee relations has kind of a 21 and that document, what was reviewed and who was
22 heightened access, so to speak, so that we can 22 spoken to?
23 review confidential notes and such. And within 23 MS. JEZIERSKI: Objection to form.
24 that system it is documented what the employee is 24 THE WITNESS: The employee's
113320 25 complaining about, or the manager, if they're 1136:16 25 internal dispute resolution filing. And both of
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
70 72
1. contacting us about an employee. There's 1 those items, I should mention, are contained
2 documentation about conversations between the 2 within our HR system as well, so I may have been
3° manager and/or employee with the employee 3 unclear on that. So the response to the employee
4 relations person, email correspondence between the 4 as well as the employee's initial filing are
113334 5 two, if necessary, not always, but if relevant or 113632 5 contained within our HR system.
6 if the employee relations case manager thinks that 6 Q. Okay. Ifa leader investigating a
7 it's something that should be added. 7 claim of age discrimination spoke to a witness, is
8 And it's a -- it's a system of 8 there any requirement in the IDR process that
9 records that we have the ability to look into 9 would require written notes of that -- sorry,
113350 10 history with. 113704 10 — strike that.
11 Q. And are those documents -- sorry. 1 Do you know if the documents created
12 Once an investigation has concluded, 12 in the IDR process are -- are kept after an
13 are those documents kept in the HR case system? 13. investigation is concluded?
14 A. It depends. 14 A. Documents such as the employee's IDR
aiz4i0 15 Q. What does it depend on? 113746 15 filing and the IDR response are kept in our case
16 A. If we're talking about internal 16 system.
17 dispute resolution, that's a process of in and of 17 Q. Would there be any documents that
18 itself where the leader is highly responsible and 18 would be discarded after the conclusion of the IDR
19 contains their documents and their decision. 19 process?
113423 20 If it's something that we have more 113804 20 MS. JEZIERSKI: Objection; beyond
21 involvement in, we as an employee relations 21 ‘the scope of the notice.
22 professional, we may decide to add documents in to 22 THE WITNESS: Uh, I'm not sure if I
23 the case system if we think it's relevant to the 23 understand that question.
24 situation. We will, you know, document the 24 BY MS. DENNIS:
113439 25 conversation with the employee, et cetera. t138:14 25 Q. Are there any documents that are --
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING

 

 

02/24/2020 04:45:47 PM

Page 69 to 72 of 125

18 of 45 sheets
 

 

 

JOLYNN GRAHAM REPORTING

 

73 75
1 that are part of the IDR process that would not be 1 was having a difficult time understanding what was
2 retained after the IDR process concluded? 2 being said during the call. I know that it was
3 MS. JEZIERSKI: Same objection. 3 brought up in the initial conversations with me,
4 THE WITNESS: The leader that is 4 and I know that it was brought up in the follow-up
tise32 § investigating it may keep their records; that's 14137 §& emails that he sent to us after the meeting. But
6 kind of up to them unless there's a requirement to 6 my recollection of the meeting was that he
7 doso per legal hold. But outside of that, they 7 wasn't -- he didn't get through what he wanted to,
8 may or may not retain their notes. And so I can't 8 and I was having a difficult time understanding
9 really speak to that because it's their 9 exactly what was being said. So I can't say for
3852 10 discretion. wzaiss 10 certain. But I guess, if I had to guess, I would
11. BY MS. DENNiIs: 11. say yes, he probably did say something.
12 Q@. Okay. So the leader performing the 12 Q. We can back up before we talk about
13 investigation may have the documents but you don't 13 a specific call.
14 know for sure? 14 (Deposition Exhibit No. 3
tize02 15 A. Yes. 124249 15 was marked for identification.)
16 MS. DENNIS: This is a good time to 16 BY MS. DENNIS:
17 take a break and take a slightly longer break for 17 Q. You've just been handed a document
18 lunch. We can go off the record. 18 = marked Exhibit 3; do you recognize this document?
19 (Lunch break.) 19 A. Yes.
123025 20 MS. DENNIS: Back on the record. i24255 20 Q. What is this document?
21 BY MS. DENNIS: 21 A. This is an internal dispute
22 Q. So I would like to ask you some 22 resolution filing from Yufan Zhang.
23 questions regarding Frank Zhang's report of age 23 Q. And was this the first filing for
24 ~~ discrimination to UnitedHealth. 24 the internal dispute resolution process filed by
123034 25 Do you know if Yufan Zhang ever made t2aan2 25 Mr. Zhang?
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
74 76
1. a report of age discrimination to UnitedHealth? 1 A. Yes.
2 A. The internal dispute resolution was 2 Q. And do you know what this dispute
3 the first time that I am aware that he had made a 3 resolution appeal form -- sorry, let me back up.
4 claim of age discrimination. 4 At the top of this document it's
ses 5 Q. Do you know if he made claims of age 124327 5 marked Internal Dispute Resolution Appeal Form; is
6 discrimination outside of that internal dispute 6 that correct?
7 resolution process, either before or after? 7 A. Yes.
8 A. Not outside of the process. He 8 Q. What is this form appealing?
9 made -- if f remember correctly, he submitted his 9 A. This form is appealing his
24012 10 internal dispute filing, and then after we had the zeaa4o 10 «termination.
11. formal conference call between myself, Mr. Zhang 11 Q. And what specific facts do you
12 and Mr. Drysdale, he sent me an email with another 12 understand this Internal Dispute Resolution Appeal
13 alleged comment that hadn't been brought up 13 Form to be disputing?
14 before. 14 MS. JEZIERSKI: Objection; form.
re4o36 15 But prior to that, I'm not aware of i2405 15 THE WITNESS: As I understand it,
16 any complaint that he had filed with relation to 16 Mr. Zhang, through this form, was disputing the
17 ‘that at all. 17 reasons for his termination, indicating he did not
18 Q. Okay. You said you had a formal 18 have the performance issues that were reported in
19 conference call with Frank and David Drysdale; is 19 his corrective actions that preceded his
iz4052 20 that right? 124420 20 «termination. And he provided responses to the
21 A. Yes. 21 items that were within that corrective action
22 Q. And in that call did Frank raise his 22 plan, and talked about specific projects that he
23 claim of age discrimination? 23 had performed in and why they -- he shouldn't have
24 A. Ihonestly don't know if it was 24 been held accountable for them.
24120 25 during that call, for a few reasons: One, I was 25 BY MS. DENNIS:

JOLYNN GRAHAM REPORTING

 

19 of 45 sheets

Page 73 to 76 of 125

02/24/2020 04:45:47 PM

 
 

 

 

JOLYNN GRAHAM REPORTING

 

77 79
1 @. So when Frank filed this form, who 1. grammatical errors, and make sure that it at least
2 was the first person to see it? 2 speaks to the primary issues that the employee
3 A. Well, technically it would have been 3. raised in the -- in the response --
4 whoever receives our faxes and attaches them to 4 QQ. Isee.
124529 § the cases. And then it would have been seen, izaa2s | A. -- in the dispute.
6 just -- not reviewed, but seen quickly by the 6 Q. Is there any sort of timeline or
7 person who assigns cases to us. So those would be 7 deadline to provide a response to an IDR Appeal
8 the first two people and then myself would have 8 Form?
9 been the third. 9 A. Are you speaking of the response to
124543 10 Q. Do you know who else would have seen ve4a41 10 the employee, I am assuming?
11. this particular form? 11 Q. Yes.
12 A. In this case the third level manager 12 A. Yes. The typical timeframe to
13 was first contacted, which is our process, to hear 13 receive a response after the meeting has been
14 his IDR, and so he did get a copy of this. I 14 = held, the conference call that was mentioned, is
124008 15 assume he reviewed it, but I don't know if he did. v4ss6 15 30 days.
16 Q. Did anyone else see this form? 16 Q. Okay. And so after you received the
17 A. And then David Drysdale received a 17 IDR Appeal Form, was the next step to schedule
18 copy of this form. 18 = that conference call?
19 Q. And who is David Drysdale? 19 A. The next step was for me to identify
124625 20 A. He is the vice-president of Optum 124012 20 who was going to hear his internal dispute
21 Human Capital, and he was chosen to hear 21 ~=resolution, and then to schedule the conference
22 Mr. Zhang's IDR. 22 call.
23 Q. Who chose him to hear? 23 Q. And what was the purpose of the
24 A. Idid. 24 conference call?
124642 25 Q. Did Mr. Drysdale have any personal i249:29 25 A. The purpose of the conference call
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
78 80
1. or professional connection to Mr. Zhang other than 1. is to give the employee a chance to raise any
2 working -- also working at Optum? 2 additional issues that they may have. But the
3 A. He did not. 3 primary purpose -- and so that they can verbally
4 Q. Okay. So is that everyone who would 4 communicate the concerns that have already been
124704 § have received a copy of this particular form? 124047 5 typically submitted through the IDR, but it's also
6 A. I'm just thinking to make sure. So, 6 for that person who investigates to ask questions,
7 there's a person that would have been -- oh, ‘ 7 so they understand what should be looked into and
8 there's a person that peer reviewed the internal 8 investigated.
9 dispute resolution response, and as part of that 9 Q. see. So there wouldn't have
24730 10 we supply them with the filing so they know what sz5001 10 been -- the investigation wouldn't have started
11. the response should be speaking to. That would 11. before that conference call?
12 have been somebody in employee relations on my 12 A. Correct.
13 team. 13 Q. Okay. What happens after the
14 And then our employment attorney 14 = conference call?
124742 15 also received a copy of this at the time of the 125020 15 A. After the conference cail I send the
16 response being reviewed for the same reason. 16 investigator a template for the response; I give
17 Q. And so you said peer reviewed; is 17 him a deadline to send it back to me, with it
18 that right? 18 filled out after they have investigated, so we can
19 A. Yes. 19 try to stay on track in terms of timing. So it's
124758 20 Q. And that's just to make sure it -- 125041 20 an email to the investigator with the template
21° everything is -- sorry, can you just explain that 21 = attached.
22 one more time so I'm clear. 22 Q. What does the template include?
23 A. Sure. It's just to make sure, and 23 A. The template typically includes the
24 = it's more of a glance at this, and then make sure 24 employee's name and address, the future dated, you
24813 25. that the response doesn't have any typos or 25059 25 know, assuming their date -- future date that it

JOLYNN GRAHAM REPORTING

 

 

02/24/2020 04:45:47 PM

Page 77 to 80 of 125

20 of 45 sheets
 

 

 

 

81 83
1 supposed to be returned to the employee. The 1 Q. But these colleague reviews were not
2. dates that the internal dispute resolution was 2 collected after the investigative process had
3. filed, as well as the date that we had the 3. started for this IDR; is that right?
4 meeting. And then typically I will start them out 4 A. No, they were not collected after.
zsi14 5 with bullets that indicate what the employee is -- 126432 5 I know an approximate date, if that's something
6 what are the main allegations the employee has 6 that you would like me to say.
7 alleged so that -- to make sure that the 7 Q. Sure.
8 investigator knows what direction they should be 8 A. Approximately, it was, like, June of
9 beginning the investigation in. 9 2016-ish, if I am remembering correctly, is when
125127 10 Q. Okay. seas 10 they were collected.
ii (Deposition Exhibit No. 4 11 Q. Okay. And were these reviews edited
12 was marked for identification.) 12. in any way from their original source?
13 BY MS. DENNIS: 13 A. Formatting, yes. Otherwise, no. No
14 Q. So you are being handed a document 14 content, no material information, just truly the
128204 15 marked Exhibit 4; do you recognize this document? 125509 15 format.
16 A. Yes. 16 Q. Okay. As part of this investigative
17 Q. What is this document? 17 process, did David Drysdale seek out any other
18 A. This is an email from Mr. Drysdale, 18 feedback from Mr. Zhang's colleagues?
19 and this is him requesting the colleague reviews 19 A. Not that I'm aware of, aside from
128221 20 from his review -- excuse me, Frank's review, and 128522 20 Kim Myers, who was his colleague at the time,
21 apologizing for the delay in getting this 21 because -~ on some level, because she was no
22 investigation closed out. 22 longer his manager. And they still worked
23 And then my response with the copied 23 together because she was a product owner of the
24 and pasted colleague reviews, because I wasn't 24 tools or the applications that he was responsible
125238 25 able to pull it from the original form. wss49 25 for.
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
82 84
1 MS. DENNIS: Let's mark this. 1 Q. And can you explain a little bit
2 (Deposition Exhibit No. 5 2 more about how Kim Myers was part of this
3 was marked for identification.) 3. investigative process?
4 BY MS. DENNIS: 4. A. As I understand it, David spoke with
125312 5 Q. You've been handed a document marked se03 5 Kim to get her take on or -- to get an
6 Exhibit 5; do you recognize this document? 6 understanding on Frank's performance deficiencies
7 A. Yes. 7 that were reported as they related to his previous
8 Q. What is this? 8 performance when she was his manager, and to talk
9 A. This is the copied and pasted 9 about the current performance deficiencies related
128321 10 colleague reviews from Frank's review. 128635 10 to the products that she was an owner of.
11 Q. And where did -- where were these 11 Q. And are there any documents
12 reviews copied and pasted from? 12 reflecting this communication with Kim Meyers?
13 A. From our internal review system, we 13 A. Not that I'm aware of.
14 call it MAP. 14 Q. So your understanding is that it was
i2sa44 15 Q. And so these reviews were initially i2se53 15 just -- David Drysdale just reported his
16 part of the colleague reviews requested by 16 conversation --
17 Ms. Duraimanickam? 17 A. Yes.
18 A. Yes. 18 Q. — -- and summarized --
19 Q. And all of the reviews included in 19 A. Yes.
125401 20 this document -- izst10 20 Q. Thanks.
21 A. Yes. 21 (Deposition Exhibit No. 6
22 Q. _-- were from those? Do you know the 22 was marked for identification.)
23 dates where these were -- when these were 23 BY MS. DENNIS:
24 collected? 24 Q. So you were just handed a document
i844 25 A. Idon't. 125755 25 marked Exhibit 6; do you recognize this document?
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING

 

 

21 of 45 sheets

Page 81 to 84 of 125

02/24/2020 04:45:47 PM
 

 

 

 

85 87
1 A. Yes. 1. errors caused by her. This is typical
2 Q. What is this document? 2. discrimination behavior. The same discrimination
3 A. This is an email exchange or -- an 3 occurred to the other examples stated by Sujatha.
4 email exchange between Frank and I, and then my 4 Ican explain those examples later.
zsets § forwarding it to David for his investigation. 0130 5 Is that an accurate reading of that
6 Q. And in the first full paragraph on 6 paragraph?
7 the first page of this document, you indicate that 7 A. Yes.
8 Frank has alleged that Sujatha made statements 8 Q. Okay. So do those sentences
9 comparing young developers to old developers; is 9 indicate that there was more -- his allegations of
ise47 10 that correct? 130185 10 age discrimination encompassed more than a
11 A. Yes. 11° conversation that he had with her?
12 Q. And you say, this clearly needs to 12 MS. JEZIERSKI: Objection; form.
13 be investigated. We will need to add it to the 13 THE WITNESS: My interpretation of
14 allegations listed on his IDR response; is that 14 what he was saying, is that he was pointing to
sess 15 accurate? 130213 15 discrimination as a reason for the performance
16 A. Yes. 16 discrepancies being reported. That does not to me
17 Q. So when you sent this email to David 17 | indicate that there was any indication that this
18 Drysdale, do you know if it changed how the 18 ~~ had anything to do with anything besides what was
19 investigation was being conducted? 19 being reported.
128015 20 A. Ido not think that it changed the 430229 20 So he's providing an assumption that
21. ~way the investigation was being conducted, except 21 he believes is typical for somebody to give a
22 for that it was an added allegation to 22 wrong -- provide incorrect information about
23 investigate. 23 someone if they're discriminating against them.
24 Q. And would this type of investigation 24 BY MS. DENNIS:
125931 25 -- would there be different types of evidence that 130248 25 Q. Isee. So going to the last
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
86 88
1. David would need to look for as part of the 1. paragraph on this first page of Exhibit 6 that
2 investigation? 2 begins with, during; do you see that paragraph?
3 A. It depends on what's being alleged. 3 A. Yes.
4 In Frank's case he alleged that two statements 4 Q. Okay. So that paragraph begins,
1zse4a 5 Were made that led him to believe that he was 130321 § during my last two months in Optum each time when
6 being discriminated against by his age, and 6 Sujatha met me in one-on-one meeting, Sujatha
7 therefore his age -- and so therefore those two 7 always said I had negative values to the team
8 statements were investigated. 8 without giving examples. But just saying how good
9 Q. In the part of the first page of 9 the other young teammates did. Did I read that
130008 10 this document -- or part of this email chain from 130341 10 correctly?
11. “Frank, and the paragraph that begins, at first; do 11 A. Yes.
12 you see that? 12 Q. Is it your understanding that is the
13 A. Yes. 13. only direct allegation of age discrimination that
14 Q. So do you see the sentence that 14 Frank made?
130043 15 begins, if you had chances? About three lines 13.0355 15 A. My recollection is that he made an
16 down in this paragraph (indicating). 16 allegation that she said -- that she said it
17 A. Yes, I do. 17 differently, that young people don't give as good
18 Q. So this sentence reads, if you had 18 of -- I'm trying to think of it verbatim and it's
19 chances to review my explanation about these five 19 not going to come to me, but I'm sure I have it,
130105 20 examples at first, which I sent to HR along with 130414 20 I'm sure it's in one of these documents. But old
21 my dispute form, you should see that Sujatha said, 21 people don't have as much values as young people,
22 on purpose, something not good for me, and hide 22 is my recollection of his allegation.
23 the real situations and background stories which 23 And then there was a -- I thought,
24 ‘tell what were the real root causes about the 24 if 1 remember correctly, that there was a second
130120 25 issues, especially Sujatha always ignored the 13.0420 25 comment that he alleged that she had made about
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING

 

 

02/24/2020 04:45:47 PM

Page 85 to 88 of 125

22 of 45 sheets
 

89

91

 

 

JOLYNN GRAHAM REPORTING

 

1 age, so it wasn't actually -- and in this 1 at the time, I'm sure that I looked at it. But my
2  staternent it doesn't seem to me like he is saying 2 understanding now, three years later, would be
3  sheis saying anything about age, but that she's 3 that it's Mary Zuelke.
4 talking about how good the other teammates did 4 Q. And as part of this investigation,
i3o4s0 5 that were young. 130788 were either Brady or Mary spoken with as part of
6 Q@. Isee. Was it your understanding 6 the investigation?
7 that Frank was making allegations of age 7 A. Not to my knowledge. But I do know
8 discrimination beyond statements made by Ms. 8 that they -- at least Mary supplied Exhibit 5, a
9 Duraimanickam in their one-on-one meetings? 9 colleague review. If I'm -- if I remember
s30s14 10 MS. JEZIERSKI: Objection; form. 130825 10 correctly, I could be mixing that up. Maybe --
11 MS. DENNIS: Sorry, I can rephrase. 1i there's a lot of names here. No, right here,
12 BY MS. DENNIS: 12. okay. Yeah.
13 Q. Aside from the comments that you 13 Q. Do you see what page on Exhibit 5
14 identified that Frank alleged Sujatha had made -- 14 that -- that Mary's review appears on?
130530 15 let me just start over. s30845 15 A. It's the page labeled
16 My understanding is -- is it correct 16 UHG-Zhang000921. It starts on that page and
17 that Frank reported a few instances of Sujatha and 17 continues to Zhang000922.
18 one-on-one meetings making comments that were 18 Q. On the page marked UHG-Zhang00092,
19 discriminatory based on age? 19 Exhibit 5, do you see the last full paragraph on
13:05:57 20 A. Iwould say two. 130930 20 that page?
21 Q. Okay. Is it your understanding that 21 A. The paragraph at the bottom of the
22 he was making any allegations of age 22 page?
23 discrimination beyond one-on-one meetings that he 23 Q. Yes.
24 had held with Sujatha? 24 A. Yes, I do.
130611 25 A. I know that Frank was saying he felt is:0039 25 Q. Okay. Do you see the sentence three
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
90 92
1. that this was all -- all of this was drummed up as 1 lines down on that paragraph that begins with,
2 aresult of her not wanting somebody of his age to 2 with the group?
3 beonthe team. I know that was his conjecture. 3 A. Yes.
4 Q@. Going back to this last paragraph, 4 Q. That sentence reads, with the group
130633 § do you see about three lines up from the bottom, 131000 § becoming much bigger and the makeup of members is
6 the beginning, if you have chances? 6 much younger, the collaboration of team members
7 A. Yes, I do see that. 7 seems to be in a fashion that is not comfortable
8 Q. Okay. So this sentence reads, if 8 to Frank. Is that an accurate reading of that
9 you have chances to talk to my teammates, Brady or 9 sentence?
130657 10 Mary on Kim's team, you should know I am most t3to10 10 A. Yes.
11. experienced and technical developer in my team; is 11 Q. As part of the investigation into
12. that an accurate reading of that sentence? 12 Frank's claim of age discrimination, was that --
13 A. Yes. 13 was that part of Mary's colleague review referred
14 Q. As part of this investigation, was 14 to?
130713 15 -- well, let me back up. tato30 15 MS. JEZIERSKI: Objection; form.
16 Do you know who Brady is as referred 16 THE WITNESS: Referred to where?
17 to in this sentence? 17 MS. DENNIS: Sorry, I can rephrase
18 A. I think that Brady is a member of 18 that.
19 the team, that he's one of the developers. 19 BY MS. DENNIS:
13.0730 20 Q. Okay. Is that Brady Grimm? 131040 20 Q. As part of the investigation, was
21 A. Yes, that's my understanding of who 21 ‘this particular part of Mary's colleague review
22 ~=Brady is. 22 looked into in any way?
23 Q. And do you know who Mary is as 23 A. Not to my knowledge. But Mr.
24 ~=referred to in that sentence? 24 Drysdale was responsible for the investigation, so
130742 25 A. That is Mary Zuelke perhaps. I know 131102 25 I can only speak to what I know. But not to my

JOLYNN GRAHAM REPORTING

 

 

23 of 45 sheets

Page 89 to 92 of 125

02/24/2020 04:45:47 PM
 

 

 

JOLYNN GRAHAM REPORTING

 

93 95
1 knowledge. 1 the investigation, speak to anyone else besides
2 Q. Just to clarify, I am still asking 2 Kim Myers?
3 you questions as a representative of UnitedHealth. 3 A. Yes, he spoke with Sujatha.
4 A. Thank you. 4 Q. And what did he speak to Sujatha
wiz 5 Q. Could you turn, on the same exhibit, a3iss1 5 about?
6 to the page marked UHG-Zhang000917. Do you see 6 A. My understanding is he spoke to
7 the top of the page, the name Jennifer Viveros? 7 Sujatha about the allegations and comments made
8 A. Yes, 8 about age, and he spoke to Sujatha about the
9 Q. So what follows from that name, a 9 overall termination decision and why she made the
131213 10 colleague review prepared by Jennifer Viveros 131608 10 decision to terminate. And talked about the
11° Aguilar regarding Frank Zhang? 11. specific items that were mentioned -- sorry, let
12 A. Yes. 12 me just take a step back, I'm thinking at the same
13 Q. So do you see what's marked number 3 13 time.
14 underneath the name Jennifer Viveros Aguilar? 14 So he spoke with her about the
i3i315 15 Sorry, let me be more clear because there's a 131633 15 age-related comments that Mr. Zhang alleged. And
16 couple of these. 16 he spoke with her about the review that she gave
17 So there is a heading that is labeled 17 him about the corrective actions that she gave
18 number 3, what could he or she have done better; 18 him, and about the ultimate decision to terminate.
19 do you see that? 19 Q. Is that everything?
13:1330 20 A. Yes, 13:16:55 20 A. Yes.
21 Q. Okay. I will just read this out 21 Q. Okay.
22 loud so we have it on the record. Underneath that 22 (Deposition Exhibit No. 7
23 it reads, Frank could work on his communication 23 was marked for identification.)
24 — skills, and not been afraid to ask questions when 24 BY MS. DENNIS:
131352 25 something is not fully understood. Over the past sai747 25 Q. You were just handed a document
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
94 96
1) =months we had many changes in the team and have 1) marked Exhibit 7; do you recognize this document?
2 noticed Frank has struggled with this. For 2 A. Yes.
3 example, when developing the admin tool, we went 3 Q. What is this document?
4 over a couple phases and he was reporting to be on 4 A. This is an email exchange between
131413 5 track to completing, but then during testing ai7s7 5 David and I regarding the status of the internal
6 encounter he had not fully understood the task. 6 dispute resolution response.
7 In my opinion it was a communication issue on all 7 Q. And in the email from David Drysdale
8 sides since we went through many iterations of the 8 to you, sent January 24, 2017 at 1:51 p.m., does
9 design of the tool but I think Frank should have 9 that reflect a conversation Mr. Drysdale had with
131432 10 stopped at the point of confusion and asked before 131820 10 Kim Myers?
11.) continuing; is that an accurate reading? 11 A. Yes.
12 A. Yes. 12 Q. And what does that indicate about
13 Q. As part of the investigation into 13 that conversation?
14 “Frank's claims of age discrimination, was Jennifer 14 A. That she was the final person he was
13:1452 15 Aguilar's colleague review taken into account? 31839 15 looking to speak with before making a
16 A. Yes. 16 determination of whether or not he should deem the
17 Q. Was the particular statement she 17 termination warranted.
18 made regarding in her opinion it was a 18 Q. So besides this email, is there
19 communication issue on all sides since we went 19 anything that records his conversation with Kim
131611 20 through many iterations of the design of the, tool 131858 20 Myers?
21 was that specifically investigated? 21 A. He may have taken notes. I do not
22 MS, JEZIERSKI: Objection; form. 22 have access to those notes or know if he did take
23 THE WITNESS: Not to my knowledge. 23 notes, I just know that he spoke with her and
24 BY MS. DENNIS: 24 there's nothing formal that I'm aware of.
wai531 25 Q. So did David Drysdale, as part of t015 25 Q. And so between the conference call

JOLYNN GRAHAM REPORTING

 

 

02/24/2020 04:45:47 PM

Page 93 to 96 of 125

24 of 45 sheets
 

 

 

JOLYNN GRAHAM REPORTING

 

97 99
1 that you held with Frank and David Drysdale, and 1 substantiate the claims that she made two comments
2 -- sorry, let me strike that. 2 that are in the paragraph related to age.
3 (Deposition Exhibit No. 8 3 BY MS, DENNIS:
4 was marked for identification.) 4 Q. Does this letter indicate that Mr.
132022 5& BY MS. DENNIS: 1aaa44 5 Drysdale spoke to anyone else in an attempt to
6 Q. You were just handed a document 6 substantiate this claim?
7 marked Exhibit 8; do you recognize this document? 7 A. No.
8 A. Yes. 8 Q. Can you look at the paragraph right
9 Q. What is this document? 9 above that that begins, with respect to your
132032 10 A. The first page -- actually this is 432403 10 contention; do you see that?
11 the employee's response for his -- to his IDR. 11 A. Yes.
12 Q. You said it's the employee's 12 Q. The last sentence of that paragraph
13 response to his IDR? 13 reads, I found that your final CAP was an
14 A. Response to the employee. 14 = objective reflection of your performance; is that
s32049 15 Q. Okay, sorry. And was this the last 3218 15 an accurate reading?
16 document that Mr. Zhang received as part of the 16 A. Yes.
17 IDR process? 17 Q. Based on -- strike that.
18 A. Yes, I believe so. 18 Was this finding that Mr. Zhang's
19 Q. So this would be the final closing 19 final CAP was an objective reflection of his
32109 20 out step of this process? 132487 20 performance based on any evidence that was not
21 A. Yes. 21 collected from -- sorry, I will go back on that
22 Q. Okay. And does this letter reflect 22 too.
23 everything that UnitedHealth relied on to reach 23 Does this paragraph indicate what
24 its conclusion that his termination, Mr. Zhang's 24 evidence Mr. Drysdale relied upon to reach his
32131 25 termination, should stand? 132822 25 conclusion that his -- that Mr. Zhang's final CAP
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
98 100
1 A. Yes. 1 was an objective reflection of Mr. Zhang's
2 Q. Can you turn to the second page of 2 performance?
3 this letter. Do you see the second full paragraph 3 A. I'm sorry, would you be able to
4 from the bottom that begins, with respect to your 4 repeat the question.
ws22t8 5 claim? 132542 5 MS. DENNIS: Sure. Can you read
6 A. Yes. 6 that back.
7 Q. T'll read that out loud. With 7 (The requested portion was read by
8 respect to your claim that Ms. Duraimanickam made 8 the court reporter.)
9 acomment that young people made more 9 THE WITNESS: Yes.
132228 10 contributions and old people were not worthy of 10 BY MS. DENNIS:
11° what company pays for and that, quote, “old people 11 Q. And what evidence was that?
12 have less values than young," end quote, people, I 12 A. Feedback from his former supervisor,
13 was unable to substantiate your claim. I spoke 13 peers, and the client, as well as -- or I
14 with Ms. Duraimanickam who denied making any 14 shouldn't say as well as, those items, so he
132245 15 statements related to age. Is that a correct 32631 15 indicates that he reviewed information from his
16 reading? 16 supervisor, peers and the client.
17 A. Yes. 17 Q. And as far as feedback from peers as
18 Q. So does that paragraph indicate that 18 referred to here, is that reflecting only the
19 that was -- that Mr. Drysdale’s conversation with 19 colleague feedback that was reflected in
132305 20 Ms. Duraimanickam was the only basis for him 132659 20 =Exhibit 6?
21 finding that he was unable to substantiate 21 A. That's my understanding.
22 Mr. Zhang's claim? 22 Q. Okay. And as far as feedback from
23 MS. JEZIERSKI: Objection; form. 23 ‘the client, does that only refer to the
24 THE WITNESS: My understanding of 24 conversation that Mr. Drysdale had with Kim Myers
132328 25 what he's saying here, is that he was unabie to 32718 25 as a part of this investigation?

JOLYNN GRAHAM REPORTING

 

 

25 of 45 sheets

Page 97 to 100 of 125

02/24/2020 04:45:47 PM
 

 

 

JOLYNN GRAHAM REPORTING

 

101 103
1 A. I would venture to say that some of 1. documents taken into consideration include any
2 the information was from Kim, as well as the 2 documents that were not -- sorry, let me back up.
3 information that was provided in the peer feedback 3 So those documents included
4 about his work product, as a result -- or as part 4 performance reviews created by Ms. Duraimanickam;
ges 8 of -- and how it impacted the client too. 133103 6 is that correct?
6 So to me it says that he reviewed -- 6 A. They did include that, yes.
7 or that there was feedback from his previous 7 Q. And those documents taken into
8 supervisor, peers and the client, but the peers 8 consideration included colleague reviews put
9 also in the colleague feedback provided 9 together by Mr. Zhang's colleagues; is that
132803 10 information about the impact to the client as 133117 10 correct?
11 well, so it could have been -- 11 A. Yes.
12 Q. And who is the client? 12 Q. And what another documents besides
13 A. My understanding of the client is 13 those were taken into consideration?
14 Kim Myers. 14 A. His corrective actions, his initial
q32014 15 Q. And in this document when Mr. 133129 15 corrective action, and his final corrective
16 Drysdale refers to the client, that's referring to 16 action.
17 Kim Myers; is that your understanding? 17 Q. And were those documents prepared by
18 A. Actually Kim Myers is the owner of 18 Ms. Duraimanickam?
19 the product, that impacts the client. So I guess 19 A. To my knowledge, yes, they were.
132833 20 I don't know who her end-user is, because I’m not is3136 20 Q. Were there any other documents taken
21 within the technology department. But the client 21 into consideration as part of this investigation?
22 would have been the end-user of Kim Myers' 22 A. Not to my knowledge. Oh, his
23 products. 23 internal dispute resolution filing and all the
24 Q. Okay. And in this paragraph, ‘your 24 subsequent emails, too.
132851 25 former supervisor’ refers to Ms. Duraimanickam; is 133208 25 Q. So would it be correct to say that
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
102 104
1 that correct? 1. the specific documents related to a particular
2 A. Yes. 2 work task were not reviewed? Sorry, that was kind
3 Q. So, the first paragraph of this 3. of a vague way of saying that.
4 page, it's not a full paragraph, but, do you see 4 So is it safe to say that Mr.
32010 5 the last sentence that begins, I found that the 133242 5 Drysdale did not look at particular task-related
6 termination -- 6 documents that were disputed in Mr. Zhang's IDR
7 A. Yes. 7 ~~ letter?
8 Q. So that sentence reads, I found that 8 MS. JEZIERSKI: Objection; form.
9 the termination of your employment was appropriate 9 THE WITNESS: Yes. Mr. Drysdale,
132033 10 based on a thorough assessment of your 133307 10 first of all, isn't responsible for Mr. Zhang's
Ti performance; is that a correct reading? 11° work product, so he would have a difficult time
12 A. Yes. 12 having any access or ability to interpret those
13 Q. So when Mr. Drysdale refers to a 13 tasks, especially when they are heavily technology
14 thorough assessment of Frank's performance, is it 14 -- technological. And also part of the internal
132053 15 your understanding that that did not include 133331 15 dispute resolution process, part of the
16 looking at -- sorry, let me back up. 16 interviewer's responsibility, is to look over what
17 When Mr. Drysdale refers to a 17 was assessed when making that initial decision to
18 thorough assessment of Frank's performance, what 18 terminate, to see if those items warranted
19 do you understand that to refer to? 19 termination, not to look at the specific tasks
133015 20 A. I understand that to be referring to 133343 20 that the individual brought forward as part of
21 David's review of all of the documents that were 21 ‘their disagreement.
22 taken into consideration when determining his 22 Q. Okay. So what happened after
23 termination -- determining that termination would 23 Mr. Zhang was sent this letter?
24_ be the decision based on his performance. 24 MS. JEZIERSKI: Objection; form.
133036 25 Q. And those documents -- did those 133407 25 BY MS. DENNIS:

JOLYNN GRAHAM REPORTING

 

02/24/2020 04:45:47 PM

Page 101 to 104 of 125

26 of 45 sheets

 
 

 

 

JOLYNN GRAHAM REPORTING

 

105 107
1 Q. After this letter was sent to 1 statements, creation of reports, and any resulting
2 Mr. Zhang, was there any remaining procedures left 2 actions taken by Respondent.
3 to follow up within the IDR procedural framework? 3 And earlier today you said that you
4 A. David would have sent me a copy of 4 were prepared to testify about this topic; is that
aa 5 the signed response. I would have attached it to | 134722 5 right?
6 the case. I would have added any final notes into 6 A. Yes.
7 the case, and I would have closed the case in our 7 Q. Okay. Is it your understanding that
8 internal HR system. 8 this topic does not include any investigation
9 Those would be the process steps 9 taken as a result of Mr. Zhang's EEOC claim?
133443 10 that follow the employee receiving, or being sent 13:47:50 10 MS. JEZIERSKI: Objection; form.
1i the internal dispute resolution response. 11 THE WITNESS: Can I ask a clarifying
12 Q. Were you aware that Mr. Zhang filed 12 question?
13 a complaint with the EEOC? 13 MS. DENNIS: Sure.
14 MS. JEZIERSKI: Objection; form. 14 THE WITNESS: Is number 7 about his
133608 15 And outside the scope of the notice. 134806 15 EEOC claim, or is it about his allegations of age
16 MS. DENNIS: You can answer if you 16 discrimination, because I'm not --
17 understand the question. 17 MS. DENNIS: I think his age
18 THE WITNESS: Yes, I was aware that 18 discrimination claims were a part of his EEOC
19 he filed a claim with the EEOC. 19 claim.
wasa2 20 BY MS. DENNIS: 13:48:22 20 THE WITNESS: I would not be
21 Q. Did you have any role in responding 21 prepared to speak about his EEOC claim as that's
22 to the EEOC charge? 22 not something I was involved in, except for that I
23 MS. JEZIERSKI: Objection; form. 23 have knowledge of it.
24 THE WITNESS: No. 24 BY MS. DENNIS:
t3a848 25 MS. DENNIS: Can we go off the 134834 25 Q. Okay. And who would have knowledge
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
106 108
1 record for a few minutes. Why don't we take a 1 of Mr. Zhang's EEOC claim?
2 quick break. 2 A. Our attorney.
3 (Short break.) 3 Q. You mean --
4 BYMS. DENNIS: 4 A. Jen Service.
134547 5 Q. Before we went off the record I had 134860 5 Q. Can you spell that name.
6 asked if you were aware of the claim Mr. Zhang had 6 A. J-E-N-N-I-F-E-R. S-E-R-V-I-C-E,
7 filed with the EEOC, and your counsel objected to 7 Q. Would anyone besides an attorney
8 that topic being outside of the 30(b)(6) topics. 8 have knowledge about Mr. Zhang's EEOC claim, to
9 Is it your understanding that -- 9 your knowledge?
i415 10 actually, could you find Exhibit 1 in front of you ss4ota 10 MS. JEZIERSKI: Objection; form.
11 -- or do you have -- 11 THE WITNESS: Not to my knowledge.
12 A. Oh, the first one? 12 (Deposition Exhibit No, 9
13 Q. Yep. 13 was marked for identification.)
14 A. Got it. 14 BY MS. DENNIS:
is4655 15 Q. Can you turn to page 7 of this 134955 15 Q. You're being handed a document
16 document. 16 marked Exhibit 9. Do you recognize this document?
17 A. Yes. 17 You can take a moment to look at it to see what
18 Q. Do you see the paragraph marked with 18 this is.
19 the number 7? 19 A. Yes, I do.
13:47:07 20 A. Yes. iso13 20 Q. What is this document?
21 Q. And that paragraph reads, 21 A. This is his Demand for Arbitration.
22 Respondent's investigation and/or assessment of 22 Q. When was the first time you saw this
23 Claimant's age discrimination claims, including 23 document?
24 communication with Claimant's former co-workers 24 A. About a week and a half ago.
34718 25 and supervisors, collection and recording of 135038 25 Q. Are you familiar with the content of

JOLYNN GRAHAM REPORTING

 

 

27 of 45 sheets

Page 105 to 108 of 125

02/24/2020 04:45:47 PM
 

 

 

JOLYNN GRAHAM REPORTING

 

109 111
1 this document? 1. Drysdale engaged as part of the IDR process?
2 A. Yes. 2 MS. JEZIERSKI: Objection; form.
3 Q. And you understand that this 3 THE WITNESS: I don't believe there
4 document reflects Mr. Zhang's claims of age 4 was an investigation, per se, outside of the IDR
isi05 5 discrimination? 138622 5 -- actually, I don't know anything about the EEOC
6 A. Yes. 6 claim. I'm sure there was something going on
7 Q. Can you turn to page 8 of this 7 there. But in terms of my knowledge, the internal
8 document. Do you see the paragraph numbered 34? 8 dispute resolution process was the investigation.
9 A. Yes. 9 BY MS. DENNIS:
i38128 10 Q. Did UnitedHealth do any 1357.00 10 Q. Okay. Can you look at page 9 of
17. investigation or research to verify or deny the Ti Exhibit 9, and look at paragraphs 37, 38 and 39,
12 specific factual allegations reflected in this 12 and just let me know when you've had an
13 paragraph? 13 opportunity to read through those.
14 A. CanI refer to the internal dispute 14 A. Okay.
135228 15 resolution form? 135623 15 Q. SoTunderstand you aren't able to
16 Q. Sure, 16 testify as to if there was an investigation done
17 A. The response. 17 related to EEOC claim. But aside from that, and
18 Q. Is that marked Exhibit 8? 18 the investigation undertaken by Mr. Drysdale as
19 A. Yes, Exhibit 8. Thank you. I just 19 part of the IDR process, do you know if there was
38316 20 wanted to review the paragraph regarding his -- 135853 20 any investigation to verify or deny any of the
21 Mr. Drysdale's response to his allegation about 21 factual allegations in these paragraphs?
22 the termination being warranted. 22 MS. JEZIERSKI: Objection; form.
23 Q. So with regard to paragraph 34 of 23 THE WITNESS: There's -- to my
24 Exhibit 9, was there any investigation aside from 24 knowledge, again outside of the EEOC claim, like
135383 25 what was reflected in Exhibit 8 to verify or deny 136011 25 you stated, and outside of the IDR process, there
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
110 112
1 the factual allegations of this paragraph? 1. would not be an investigation because there were
2 A. If this project that's being 2 no claims made -- there were no claims made
3 referred to in number 34, which is very vague and 3 outside of those processes.
4 difficult for me to understand which project this 4 BY MS. DENNIS:
asses 5 might be talking about, especially, you know, i028 5 Q. Okay. Could you turn to page 10 of
6 having little IT knowledge. But if this is 6 this Deposition Exhibit 9. Do you see the
7 addressed in his corrective action, likely in the 7 paragraph numbered 43 on that page?
8 progress update section of his elevated corrective 8 A. Yes.
9 action, which we haven't taken a look at yet here, 9 Q. Can you just read through that and
135434 10 but then, yes, it was reviewed. 140001 10 let me know when you've had an opportunity to do
11 I can only speak to my assumption ii so.
12 that this item was addressed in either the initial 12 A. Was it just paragraph 43?
13. or the final level corrective actions, which would 13 Q. Just paragraph 43.
14 have been reviewed by Mr. Drysdale. 14 A. Okay.
assas1 15 Q. Do you see the paragraph marked 36 140024 15 Q. So aside from any potential
16 on page 8 of Exhibit 9? 16 investigation as part of the EEOC claim, and
17 A. Yes. 17 outside of the IDR investigation, did UnitedHealth
18 Q. You can take a couple of minutes to 18 undergo any investigation to verify or deny any of
19 just read through that. I don't think we need to 19 the facts in paragraph 43?
138816 20 read it out loud. Just let me know when you've 140043 20 MS. JEZIERSKI: Objection; form.
21 had an opportunity to do that. 21 THE WITNESS: Not outside of the IDR
22 A. Okay. 22 process that I'm aware of.
23 Q. Do you know if there was any 23 BY MS. DENNIS:
24 investigation to verify or deny the facts in 24 Q. And I just have that same question
135607 25 paragraph 36, aside from the investigation Mr. 140104 25 for paragraphs 46 and 47.

JOLYNN GRAHAM REPORTING

 

 

02/24/2020 04:45:47 PM

Page 109 to 112 of 125

28 of 45 sheets
 

113

115

 

 

JOLYNN GRAHAM REPORTING

 

1 A. I'm unaware of any investigation 1 MS. JEZIERSKI: Objection; form.
2 outside of, again, my knowledge of the EEOC claim, 2 THE WITNESS: Yeah. Yes.
3 and the internal dispute resolution process, which 3 BY MS. DENNIS:
4 would have been the official investigation into 4 Q. So would it be fair to say in the
oo § his termination. 140500 § last eight years you've seen kind of in the
6 (Deposition Exhibit No. 10 6 ballpark about 15 age discrimination claims?
7 was marked for identification.) 7 A. I did not, in the first -- I didn't
8 BY MS. DENNIS: 8 start investigating age discrimination claims
9 Q. You were just handed a document 9 until April 2014. So I would not have had
140243 10 marked Exhibit 10; do you recognize this document? 140524 10 exposure in UnitedHealth Group in that capacity.
11 A. Yes. 11 So just maybe like 10 to 12 specifically related
12 Q. What is this document? 12 to age.
13 A. This is a list of employees that 13 GQ. Okay. Have any of the age
14 were on the team that Mr. Zhang was on, in 14 ~~ discrimination claims you've dealt with since 2014
140286 15 addition to their hire dates and their birth dates 140549 15 been substantiated?
16 as well as their titles. 16 MS. JEZIERSKI: Objection; form.
17 Q. And where would this document have 17 THE WITNESS: I don't recall. We
78 been produced? 18 work about 1,000 cases a year, so I'm not --
19 MS. JEZIERSKI: Objection; beyond 19 between 500 and 1,000 cases a year, so I can only
i40305 20 the scope of the 30(b)(6) notice. 140519 20 guess. I -- I can't give a straight answer.
21 MS. DENNIS: You can answer if you 21 BY MS. DENNIS:
22 know the answer to the question. 22 Q. So what would you guess?
23 THE WITNESS: I don't know the 23 MS. JEZIERSKI: Objection; form.
24 answer. 24 THE WITNESS: I would guess that the
140315 25 BY MS. DENNIS: 14:06:33 25 majority of them were not substantiated, but that
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
114 116
1 Q. Do you recognize the format of this 1. there may have been substantiation to some claims
2 document? 2 within the allegations. But I really don't know.
3 MS. JEZIERSKI: Same objection. 3. BY MS. DENNIS:
4 THE WITNESS: It looks like an Excel 4 Q. Are there other types of
140337 5 document. i4os84 § discrimination claims that you deal with more
6 MS. DENNIS: I don't have any more 6 commonly?
7 questions about that document. 7 A. Yes.
8 BY MS. DENNIS: 8 Q. What are those?
9 Q. I would like to shift gears and ask 9 A. More common allegations of
140345 10 you questions in your personal capacity rather 140701 10 discrimination would be discrimination based on
Wi than in your capacity as the representative for 11. race and based on medical condition.
12 UnitedHealth. 12 Q. With regard to the claims you deal
13 A. Okay. 13. with related to race discrimination, about how
14 Q. How long have you worked at 14 many of those per year would you, roughly, say
140407 15 UnitedHealth? 140721 15 that you see?
16 A. Eight and a half years I believe. 16 MS. JEZIERSKI: Objection; form.
17 Q. And can you approximate, like, over 17 THE WITNESS: With the exception of
18 the last year, how many claims of age 18 the last year, maybe -- maybe five, six a year
19 discrimination you've been involved with in a 19 each -- that's probably overestimating. Maybe
140432 20 professional capacity? 140742 20 four a year. In the last year my primary
21 A. Inthe last year? 21 responsibilities have been focused on other
22 Q. Yes. 22 activities not related to that particular case
23 A. Um, maybe two. 23 type.
24 Q. Is that pretty typical as far as, 24 BY MS. DENNIS:
140445 25 like, how often they come up in a year? 140757 25 Q. Since 2014, have any of the

JOLYNN GRAHAM REPORTING

 

 

29 of 45 sheets

Page 113 to 116 of 125

02/24/2020 04:45:47 PM

 
 

 

 

 

117 119
1 complaints of race discrimination you've had 1. discrimination?
2 involvement with, have any of those been 2 A. We have had managers disciplined for
3 substantiated? 3 events that have occurred that were alleged to be
4 MS. JEZIERSKI: Objection; form. 4 race discrimination.
10814 | 5 THE WITNESS: Not to my knowledge. tatata 5 Q. And what -- how were these managers
6 BY MS. DENNIS: 6 disciplined?
7 Q. Have you ever been involved in an 7 MS. JEZIERSKI: Objection; form.
8 IDR process where the manager accused of 8 THE WITNESS: Typically it would be
9 discrimination has faced disciplinary action? 9 termination depending on the egregiousness of
14:08:51 10 A. I'm going to have to think about t4i232 10 whatever was substantiated.
11 this, because the distinction of the IDR process 11. BY MS. DENNIS:
12 is what I'm having to try to make sure that that's 12 Q. So there have been managers who have
13 -- my memories are of that particular type of 13 been terminated as a result of allegations of race
14. investigation. 14 discrimination?
140903 15 Q. Well, I can expand the question just 141247 15 A. Allegations of a particular event.
16 sol'mclear. So there's the HRdirect process and 16 So there's not -- again with -- you know, trying
17 the IDR process; is that right? 17 to understand the motive for somebody's behavior
18 A. Yes. 18 isn't necessarily what somebody would be
19 Q. And those are done through different 19 terminated for. It would be somebody's specific
140918 20 procedures; is that right? s41304 20 action. And there have been managers terminated,
21 A. Yes. 21 you know, a few, very rarely.
22 Q. And in either HRdirect -- well, you 22 But managers who have -- we have
23 can just answer them separately in a -- have you 23 substantiated incidents that are considered
24 ever, at any case you've worked on involving race 24 inappropriate behavior or a violation of our
140041 25 discrimination -- let me start at the beginning of 141319 25 policies, as it relates to any type of racial
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
118 120
1 that. 1 comments or actions, have been terminated.
2 Are you aware of any supervisor that 2 Q. Are you familiar with a program
3 has had a claim of race discrimination 3 called the technology development program?
4 substantiated with regard to -- sorry, that was 4 A. Iam familiar with the terminology,
141012 § also not a very clear way of describing that. wai349 5 yes.
6 Since 2014, in your experience with 6 Q. What do you understand the
7 the IDR process, has an employee's claim of racial 7 technology development program to mean?
8 discrimination ever been substantiated? 8 A. My outside view of the TDP program
9 A. No. 9 is that there are employees fresh out of school
14:10:38 10 Q. Since 2014, in your experience in 41407 10 that go through some sort of program. I'm not
11. the HRdirect process, has an employee's claim of 11 sure of the details of how that works, if they,
12 race discrimination ever been substantiated? 12. like, go into several jobs or -- it's some sort of
13 A. Claim, I'm going to say no. And can 13 track in the organization to, I believe -- if my
14 I give a caveat? 14 understanding is correct, I think they're in
1atto7 15 Q. Sure. 41425 15 different types of technical roles at different
16 A. Okay. No. But discrimination is 16 times. But I can't be sure.
17 ‘typically a motive versus an act, so if there is a 17 Q. Has -- in any investigation you've
18 -- you know, if an employee alleges a slew of 18 participated in in the last -- well, since 2014,
19 examples of things that have occurred, and things 19 has any investigation you've participated in
141128 20 within those allegations have been substantiated, 141489 20 involved the technology development program in any
21 ‘let's say they're based on race, we have 21 way?
22 substantiated items within complaints that have 22 MS. JEZIERSKI: Objection; form.
23 alleged discrimination. 23 THE WITNESS: Yes, I think -- I'm
24 Q. Have any managers been disciplined 24 pretty sure that there's one case that I can think
tati49 25 as the result of an allegation of race 14:15:30 25 of, but --
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING

 

 

02/24/2020 04:45:47 PM

Page 117 to 120 of 125

30 of 45 sheets
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

121 123
1 BY MS. DENNIS: 1 I, TANYA HUGHES, do hereby certify that I
2 Q@. Can you tell me about that case and 2 have read the foregoing deposition and found the
3 how it involves the technology development 3 same to be true and correct except as follows,
4 program? 4 (noting the page and line number of the change or
tats: & MS. JEZIERSKI: Objection to the 5 addition as desired and the reason why):
6 extent it calls for attorney-client privileged 6
7 communication. So don't talk about any 7 DEPOSITION ERRATA SHEET
8 communications with attorneys. 8 PageNo._ Line No.__—s—s Change To:
9 THE WITNESS: I'm trying really hard 9
141600 10 to remember, and it was a long time ago, so just 10 Reason for change:
11 give mea second here to try to recall the details 11 Page No. Line No... Change To:
12° of that. 12
13 The investigation, as I recall, was 13 Reason for change:
14 = involving two leaders within the TDP program that 14 PageNo._—iLine No.___—s Change To:
141624 15 were over the program itself, and their 15
16 interaction with staff that were a part of the 16 Reason for change:
17 program develop -- or the recruitment of people 17 Page No.__iLine No.______—sChange To:
18 within the program. It wasn't about people that 18
19 are actually in the TDP program. 19 Reason for change:
141644 20 Q. Isee. So it was an issue related 20 Page No.___Line No.___ Change To:
21 ‘to recruitment rather than -- 21
22 A. Correct. 22 Reason for change:
23 QQ. -- kind of the program itself? 23 PageNo. Line No.___——sChange To:
24 Do you know if people who are 24
141708 25 participants in the TDP are subject to different 25 Reason for change:
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING
122 124
1 policies compared to non-TDP, UnitedHealth 1 Page No. __Line No.___Change To:
2 employees? 2
3 A. To my -- I mean with relation to 3 Reason for change:
4 standard company policies, no, they would not be 4
i723 § subject to different company policies. 5 Page No..__Line No.___Change To:
6 In terms of job expectations and 6
7 Reason for change:
7% things like that, I imagine there probably are in 8 Page No._Line No..__ Change To:
8 the initial stages of that program. I really 9
9 don’t know. But there could be different 10 Reason for change:
41739 10 expectations based on how the program is designed. 11 Page No._Line No.____ Change To:
11 Q. Okay. 42
12 MS. DENNIS: Could we go off the 13 Reason for change:
13 record. 14 Page No.__Line No.___—s Change To:
14 (Short break.) 15
142636 15 MS. DENNIS: I'm done. I have no 16 Reason for change:
16 further questions. 17
17 MS. JEZIERSKI: No questions, and 18
18 we'll read and sign. 19 TANYA HUGHES
19 20 Please send Original Errata sheet to:
20 21 Kaitlyn Dennis, Esquire
Gustafson Gluek PLLC
21 22 120 South 6th Street
22 Suite 2600
23 23 Minneapolis, Minnesota 55402
24 24
25 25
JOLYNN GRAHAM REPORTING JOLYNN GRAHAM REPORTING

 

 

 

 

 

 

 

 

 

 

 

 

 

 

31 of 45 sheets

Page 121 to 124 of 125

02/24/2020 04:45:47 PM

 
 

=_

STATE OF MINNESOTA:
: CERTIFICATE
COUNTY OF HENNEPIN:

BE IT KNOWN, that I, Jolynn Graham, took the
foregoing deposition of TANYA HUGHES;

That the witness, before testifying, was by me
first duly sworn to testify the whole truth and
nothing but the truth relative to said cause;

That the testimony of said witness was recorded
in shorthand by me and was reduced to typewriting
under my direction;

oOo BOB N DO eo FF WO NY

That the foregoing deposition is a true record
of the testimony given by said witness;

12 That the reading and signing of the
foregoing deposition by the said witness WAS NOT
13 WAIVED by the witness and respective counsel;

That Iam not related to any of the parties
15 hereto, nor an employee of them, nor interested in
the outcome of the action;

17 That the cost of the original has been charged
to the party who noticed the deposition, and that

18 all parties who ordered copies have been charged
at the same rate for such copies;

19
20 WITNESS MY HAND AND SEAL this 24th DAY of
FEBRUARY, 2020.
21
22
Jolynn Graham, RPR

23 Notary Public

24

25

 

 

JOLYNN GRAHAM REPORTING

 

02/24/2020 04:45:47 PM Page 125 to 125 of 125 32 of 45 sheets
 

 

"your [1] - 101:24

000922 (1) - 91:17

01-19-0007 -0069 (1) -
1:6

1 [5] - 3:2, 8:6, 8:17,
10:17, 106:10

1,000 (2) - 115:18,
115:19

1-800 [1] - 27:5

10 [9] - 3:11, 18:23,
19:25, 20:19, 21:18,
112:5, 113:6,
4713:10, 115:11

100 [1] - 50:5

14 (5) - 1:18, 20:2,
20:5, 20:24, 21:18

12 [2] - 20:2, 115:11

120 [4] - 1:16, 2:5,
2:10, 124:22

13 je] - 20:24, 21:2,
21:7, 21:13, 21:16,
22:3

144,000 [1] - 23:16

1574] - 115:6

175,000 [1] - 23:17

1964 [1] - 24:24

1:51 [1] - 96:8

2 [3] - 3:3, 8:6, 11:9

2002 [1] - 7:7

2014 [7] - 8:5, 115:9,
115:14, 116:25,
118:6, 118:10,
120:18

2016 [2] - 23:15, 53:3

2016-ish [1] - 83:9

2017 [1] - 96:8

2020 [2] - 1:18, 125:20

24 [1] - 96:8

24th [1] - 125:20

2600 [3] - 1:16, 2:5,
124:22

28 [2] - 30:1, 30:3

29 [2] - 30:7, 30:20

3 [6] - 3:4, 12:5, 75:14,
75:18, 93:13, 93:18

30 [1] - 79:15

30(b)(6 [5] - 23:20,
31:6, 68:6, 106:8,
113:20

34 [4] - 19:3, 109:8,
109:23, 110:3

36 [2] - 110:15, 110:25

37 (1) - 111:11

38 [1] - 1114:11

39 [2] - 19:3, 111:11

417) - 2:16, 3:5, 9:9,
9:22, 13:5, 81:11,
81:15

400 [1] - 2:11

43 [5] - 20:10, 112:7,

 

412:12, 112:13,
112:19

46 [3] - 20:25, 21:11,
112:25

A7 [3] - 20:25, 21:11,
112:25

5 [7] - 3:6, 14:5, 82:2,
82:6, 91:8, 91:13,
91:19

500 [i] - 115:19

55402 |3] - 2:6, 2:11,
124:23

5th [4] - 9:22

6 [9] - 3:7, 9:11, 9:13,
14:24, 84:21, 84:25,
88:1, 100:20

6th [5] - 1:16, 2:5,
2:10, 22:25, 124:22

7 [12] - 3:8, 9:16, 14:5,
15:21, 19:21, 20:19,
21:18, 95:22, 96:1,
106:15, 106:19,
107:14

70 [2] - 29:4, 29:9

8 [14] - 3:9, 9:16,
16:25, 18:23, 19:21,
20:19, 21:18, 97:3,
97:7, 109:7, 109:18,
109:19, 109:25,
110:16

9 [10] - 3:10, 10:5,
18:9, 108:12,
108:16, 109:24,
110:16, 111:10,
111:11, 112:6

9:09 [1] - 1:17

9:32 [1] - 4:3

a.m 2} - 1:17, 4:3

ability [3] - 6:23, 70:9,
104:12

able [6] - 34:1, 61:11,
63:14, 81:25, 100:3,
1411:15

absences [1] - 65:19

absolutely [1] - 39:15

access (6] - 50:6,
69:20, 69:22, 71:3,
96:22, 104:12

account [1] - 94:15

accountable [1] -
76:24

accuracy [1] - 46:23

accurate [7] - 43:11,
85:15, 87:5, 90:12,
92:8, 94:11, 99:15

accusation [2] -
39:22, 47:7

accusations [1] -
35:10

accused [23] - 35:21,

 

37:9, 37:20, 38:2,
38:10, 38:16, 38:20,
38:22, 39:1, 39:4,
39:5, 39:8, 39:9,
39:13, 40:9, 44:1,
45:6, 46:13, 51:7,
51:22, 52:8, 117:8
achieve [1] - 39:16
Act [yj - 24:23
act [2] - 46:3, 118:17
Action [2] - 52:2, 59:8
action (45) - 16:1,
16:15, 17:14, 17:17,
21:25, 32:21, 33:9,
33:18, 46:2, 46:4,
46:7, 47:11, 47:21,
51:7, 59:9, 59:19,
60:5, 60:9, 60:10,
60:15, 60:23, 61:2,
61:18, 61:25, 62:10,
62:12, 63:1, 63:2,
63:15, 63:17, 63:19,
64:8, 64:11, 65:12,
66:5, 66:20, 71:2,
76:21, 103:15,
103:16, 110:7,
110:9, 117:9,
119:20, 125:15
actions [7] - 17:5,
76:19, 95:17,
103:14, 107:2,
110:13, 120:1
activities [1] - 116:22
actual [4] - 11:10,
54:21, 58:21, 60:12
add [3] - 29:13, 70:22,
85:13
added [3] - 70:7,
85:22, 105:6
addition [4] - 24:16,
32:5, 113:15, 123:5
additional [5] - 19:23,
20:21, 21:1, 44:1,
80:2
address [4] - 26:15,
59:15, 65:16, 80:24
addressed [3] - 55:18,
110:7, 110:12
addressing [1] - 11:11
admin [1] - 94:3
administration [1] -
30:22
admits [1] - 41:23
admitted (1) - 45:7
advising [1] - 53:11
affect [2] - 6:23, 53:25
affirmatively [1] -
61:22
afraid [1] - 93:24
age [100] - 11:12, 13:8,

 

14:25, 15:22, 24:11,
24:16, 24:19, 24:21,
25:4, 25:7, 25:20,
26:15, 26:18, 26:25,
31:3, 31:14, 32:22,
33:20, 34:11, 38:18,
38:20, 38:21, 38:23,
39:19, 40:21, 40:25,
41:3, 41:6, 41:15,
42:2, 42:7, 42:22,
43:2, 43:12, 43:13,
43:16, 43:17, 43:20,
43:21, 43:23, 43:24,
44:9, 44:14, 44:22,
45:8, 45:10, 45:16,
45:24, 46:2, 46:8,
46:13, 47:12, 48:12,
49:7, 49:9, 49:13,
50:10, 50:12, 50:21,
51:2, 51:6, 54:22,
52:5, 52:8, 52:12,
53:11, 68:23, 69:11,
71:5, 72:7, 73:23,
74:1, 74:4, 74:5,
74:23, 86:6, 86:7,
87:10, 88:13, 89:1,
89:3, 89:7, 89:19,
89:22, 90:2, 92:12,
94:14, 95:8, 95:15,
98:15, 99:2, 106:23,
107:15, 107:17,
109:4, 114:18,
115:6, 115:8,
115:12, 115:13

age-related [1] - 95:15

ago [2] - 108:24,
121:10

Aguilar (2} - 93:11,
93:14

Aguilar's [1] - 94:15

allegation [10] - 42:18,
43:1, 44:9, 51:11,
85:22, 88:13, 88:16,
88:22, 109:21,
118:25

allegations [28] - 19:2,
20:9, 21:11, 26:18,
33:4, 35:14, 36:15,
38:3, 43:12, 48:4,
50:16, 68:24, 81:6,
85:14, 87:9, 89:7,
89:22, 95:7, 107:15,
409:12, 110:1,
111:21, 116:2,
116:9, 118:20,
119:13, 119:15

alleged [13] - 34:9,
43:24, 49:9, 74:13,
81:7, 85:8, 86:3,
86:4, 88:25, 89:14,

 

95:15, 118:23, 119:3
allegedly [1] - 39:9
alleges [1] - 118:18
alleging [2] - 44:3,

49:13
AMERICAN [1] - 1:2
analyst [2] - 7:24, 30:4
analysts [3] - 29:23,

29:25, 30:10
analytic [1] - 53:17
AND [1] - 125:20
anonymous [5] -

25:18, 26:14, 27:17,

27:23, 28:4
anonymously [2] -

27:20, 38:8
answer [17] - 5:13,

§:22, 6:2, 6:8, 6:9,

10:7, 19:20, 19:24,

36:4, 52:22, 68:7,

105:16, 113:21,

113:22, 113:24,

115:20, 117:23
answering [2] - 5:19,

29:16
anti [2] - 25:7, 53:11
anti-age [2] - 25:7,

53:11
antidiscrimination [4]

~ 26:1, 31:17, 31:22,

53:2
apologizing [1] -

81:21
appeal [1] - 76:3
Appeal [4 - 76:5,

76:12, 79:7, 79:17
appealing [2] - 76:8,

76:9
APPEARANCES 1] -

2:1
applicable [1] - 14:7
applicants [1] - 13:10
applications [1] -

83:24
applied [1] - 15:1
appropriate [10] -

33:2, 34:22, 35:2,

35:13, 37:8, 47:2,

47:3, 47:23, 102:9
approximate [4] -

10:18, 23:14, 83:5,

114:17
approximation [1] -

9:23
April [2] - 8:5, 115:9
arbitration [2] - 4:24,

9:3
ARBITRATION [1] -

1:2
Arbitration [5] - 1:5,

 

33 of 45 sheets

Page i to 1 of 13

02/24/2020 04:45:47 PM

 

 

 
 

 

19:4, 20:11, 21:12,
108:21

area [2] - 30:10, 64:23

areas [1] - 27:7

aside [6] - 83:19,
89:13, 109:24,
410:25, 111:17,
112:15

assessed [1] - 104:17

assessment [3] -
15:22, 17:1, 55:8,
55:24, 102:10,
102:14, 102:18,
106:22

assignment [1] -
47:20

assignments [1] -
15:2

assigns [1] - 77:7

assist [3] - 55:23,
59:1, 60:10

associated [7] -
16:12, 17:15, 17:18,
19:15, 21:20, 21:23,
46:7

associating [1] - 46:1

ASSOCIATION (1) -
1:2

assume [3] - 6:3,
29:16, 77:15

assuming [2] - 79:10,
80:25

assumption [2] -
87:20, 110:11

attached (2) - 80:21,
105:5

attaches [1] - 77:4

attempt [1] - 99:5

attendance [3] - 65:2,
65:17, 65:18

attest [1] - 32:16

attestation [3] - 32:6,
32:9, 32:11

aitorney [6] - 6:6,
13:1, 78:14, 108:2,
108:7, 121:6

attorney-client [1] -
121:6

attorneys [9] - 13:3,
14:2, 14:22, 15:19,
16:22, 18:3, 22:2,
23:5, 121:8

available [7] - 27:6,
48:20, 48:21, 48:23,
49:15, 54:20, 64:20

avoid [2] - 5:19, 18:19

aware [24] - 26:17,
27:2, 38:17, 39:18,
42:16, 45:18, 49:1,
50:4, 54:11, 63:16,

 

68:13, 68:15, 68:25,
69:13, 74:3, 74:15,
83:19, 84:13, 96:24,
105:12, 105:18,
106:6, 112:22, 118:2

bachelor's [1] - 7:3

background [2] - 7:2,
86:23

backup [3] - 49:24,
50:4, 50:7

ballpark [1] - 115:6

based [16] - 13:8,
25:3, 31:24, 32:10,
42:19, 45:8, 55:8,
89:19, 99:17, 99:20,
102:10, 102:24,
116:10, 116:11,
418:21, 122:10

basic [2] - 5:7, 29:23

basis [2] - 32:17,
98:20

bathroom [1] - 6:13

BE (1) - 125:3

becoming [1] - 92:5

begin [2] - 27:14,
28:11

beginning [5] - 5:13,
41:17, 81:9, 90:6,
117:25

begins [9] - 24:6,
86:11, 86:15, 88:2,
88:4, 92:1, 98:4,
99:9, 102:5

begun [1] - 28:1

Behalf [2] - 2:2, 2:8

behalf [6] - 4:13, 4:15,
4:16, 24:8, 37:10,
37:21

behavior [7] - 59:14,
62:17, 62:24, 63:12,
87:2, 119:17, 119:24

behavioral (1] - 59:16

believes [1] - 87:21

below [2] - 30:1, 30:3

benefits [1] - 27:9

best [2] - 5:12, 6:1

better [4] - 42:24,
43:8, 58:4, 93:18

between [16] - 1:5,
16:13, 19:17, 28:3,
33:25, 41:20, 42:13,
58:1, 64:7, 70:2,
70:4, 74:11, 85:4,
96:4, 96:25, 115:19

beyond (gj - 42:20,
43:2, 52:15, 68:5,
72:20, 89:8, 89:23,
113:19

bigger [1] - 92:5

birth [1] - 113:15

 

bit [3] - 54:5, 69:17,
84:1

bottom (3) - 90:5,
91:21, 98:4

Brady [6] - 90:9,
90:16, 90:18, 90:20,
90:22, 91:5

break [12] - 6:11, 6:13,
6:17, 10:13, 51:14,
51:16, 73:17, 73:19,
106:2, 106:3, 122:14

bringing [2] - 48:12,
48:23

brings [1] - 49:7

brought [6] - 33:19,
35:20, 74:13, 75:3,
75:4, 104:20

bullets [1] - 81:5

business [3] - 7:4,
55:15

but.. [1] - 29:14

BY [57] - 4:19, 8:8,
8:24, 10:15, 11:8,
22:15, 23:13, 23:25,
31:11, 36:11, 37:18,
41:12, 43:10, 44:18,
45:19, 46:21, 49:2,
49:19, 51:1, 51:19,
52:17, 68:10, 68:20,
72:24, 73:11, 73:21,
75:16, 76:25, 81:13,
82:4, 84:23, 87:24,
89:12, 92:19, 94:24,
95:24, 97:5, 99:3,
100:10, 104:25,
105:20, 106:4,
107:24, 108:14,
114:9, 112:4,
112:23, 113:8,
113:25, 114:8,
115:3, 115:21,
116:3, 116:24,
117:6, 119:11, 121:1

candidates [1] - 13:14

CAP [3] - 99:13, 99:19,
99:25

capacity [9] - 8:13,
18:15, 18:17, 24:3,
24:5, 114:10,
114:11, 114:20,
115:10

Capital [2] - 33:2,
77:21

capital [1] - 34:1

careers [1] - 15:13

Carol [1] - 1:10

case [35] - 7:16, 13:20,
16:16, 16:17, 16:18,
17:19, 27:13, 27:25,
28:8, 30:5, 30:9,

 

30:15, 30:19, 32:19,
36:20, 45:20, 50:13,
66:9, 67:11, 69:15,
69:18, 70:6, 70:13,
70:23, 71:7, 72:15,
77:12, 86:4, 105-6,
105:7, 116:22,
117:24, 120:24,
121:2
Case [2] - 1:6, 1:10
cases [13] - 29:23,
29:25, 30:3, 30:6,
30:20, 30:21, 47:3,
68:16, 77:5, 77:7,
115:18, 115:19
category [1] - 35:25
caused [1] - 87:1
causes [1] - 86:24
caveat [1] - 118:14
certain [5] - 24:18,
34:24, 48:19, 48:20,
75:10
certainty [1] - 50:5
CERTIFICATE (1) -
125:1
certifications [1] -
7:12
certify (4] - 123:1
cetera [1] - 70:25
chain [1] - 86:10
chance [1] - 80:1
chances [4] - 86:15,
86:19, 90:6, 90:9
change [15] - 8:3,
46:11, 53:8, 123:4,
123:10, 123:13,
123:16, 123:19,
123:22, 123:25,
124:3, 124:7,
124:10, 124:13,
124:16
changed [3] - 53:2,
85:18, 85:20
changes [4] - 53:5,
§3:9, 53:24, 94:1
charge [1] - 105:22
charged [2] - 125:17,
125:18
choice [1] - 33:10
choose [2] - 61:3,
63:20
chose [1] - 77:23
chosen [4] - 77:21
circumstance [4] -
36:24, 37:19, 63:13,
67:9
circumstances [7] -
36:13, 37:2, 47:14,
47:24, 67:5, 68:11,
68:14

 

Civil [1] - 24:23
claim [56] - 27:11,
32:22, 33:20, 34:7,
34:10, 34:25, 35:19,
35:20, 39:10, 39:19,
40:7, 41:6, 41:15,
41:22, 41:24, 42:1,
42:4, 42:22, 43:23,
43:25, 45:24, 46:8,
48:13, 48:16, 48:24,
49:7, 51:2, 51:23,
52:12, 71:5, 72:7,
74:4, 74:23, 92:12,
98:5, 98:8, 98:13,
98:22, 99:6, 105:19,
106:6, 107:9,
107:15, 107:19,
107:21, 108:1,
108:8, 111:6,
111:17, 111:24,
112:16, 113:2,
118:3, 118:7,
118:11, 118:13
Claimant [4 - 2:2,
4:10, 4:13, 13:11
Claimant's [8] - 15:22,
15:24, 17:1, 19:3,
20:10, 21:12,
106:23, 106:24
claiming [1] - 47:11
claims [25] - 4:24,
16:23, 34:17, 35:18,
35:23, 43:16, 43:20,
43:22, 50:9, 52:5,
74:5, 94:14, 99:1,
{06:23, 107:18,
109:4, 112:2,
114:18, 115:6,
115:8, 115:14,
116:1, 116:5, 116:12
clarify [3] - 12:22,
49:3, 93:2
clarifying [1] - 107:11
clarity [2] - 4:25, 29:15
clear [11] - 5:14, 5:22,
5:23, 18:18, 23:23,
24:6, 24:7, 78:22,
93:15, 117:16, 118:5
clearly [1] - 85:12
client [12] - 100:13,
100:16, 100:23,
101:5, 104:8,
101:10, 101:12,
101:13, 101:16,
107:19, 101:21,
121:6
closed [2] - 81:22,
105:7
closing [1] - 97:19
co [t] - 106:24

 

02/24/2020 04:45:47 PM

Page 2 to 2 of 13

34 of 45 sheets

 

 

 
 

 

co-workers [1] -
106:24

code [4] - 32:5, 32:8,
32:12, 65:3 .

collaboration (1) -
92:6

colleague [31] - 16:12,
17:15, 19:14, 21:22,
47.4, 55:6, 55:23,
55:25, 56:6, 56:11,
56:18, 57:10, 57:24,
58:1, 58:9, 58:15,
58:21, 81:19, 81:24,
82:10, 82:16, 83:1,
83:20, 91:9, 92:13,
92:21, 93:10, 94:15,
100:19, 101:9, 103:8

colleagues [6] -
56:19, 57:15, 57:19,
§9:5, 83:18, 103:9

colleagues’ [1] - 58:18

collect [4] - 38:22,
38:23, 55:23, 55:25

collected [5] - 82:24,
83:2, 83:4, 83:10,
99:21

collecting [2] - 12:6,
55:6

collection [3] - 15:25,
17:4, 106:25

combined [1] - 11:17

comfortable [1] - 92:7

commenced [1] - 4:2

commencing [1] -
1:17

comment [3] - 74:13,
88:25, 98:9

comments [14] - 61:3,
61:5, 61:6, 61:7,
61:12, 61:18, 63:15,
63:19, 89:13, 89:18,
95:7, 95:15, 99:1,
12071

common [23] - 12:14,
12:16, 14:16, 16:11,
17:14, 19:12, 19:13,
21:19, 21:24, 55:2,
55:10, 56:8, 56:12,
57:6, 57:13, 57:17,
57:21, 58:11, 58:15,
63:22, 64:13, 64:14,
116:9

commonly [2] - 55:16,
116:6

communicate [2] -
66:23, 80:4

communication [8] -
15:23, 17:2, 84:12,
93:23, 94:7, 94:19,
106:24, 121:7

 

communications [1] -
121:8

company [8] - 15:9,
26:15, 31:13, 54:18,
68:14, 98:11, 122:4,
122:5

company's [1] - 15:14

company-wide [1] -
26:15

compared [2] - 48:13,
422:1

comparing [1] - 85:9

complainant [5 -
40:16, 41:1, 41:17,
41:18, 46:7

complaining [1] -
69:25

complaint [3] - 32:25,
35:5, 35:11, 40:14,
47:12, 71:9, 74:16,
105:13

Complaint's [1] - 17:3

complaints [12) -
11:12, 13:6, 28:18,
28:21, 30:23, 68:22,
69:3, 69:6, 69:10,
69:14, 117:1, 118:22

complete [2] - 55:21,
56:5

completed [2] - 32:15,
54:21

completing (2] - 64:3,
94:5

complex [2] - 29:25,
30:6

compliance jg] -
25:18, 26:21, 27:21,
28:6, 28:8, 30:11,
53:19, 53:20

computer [6] - 32:10,
49:10, 49:15, 49:21,
49:23, 50:1

computer-based [1] -
32:10

concern [5] - 28:7,
33:3, 34:23, 59:12,
62:11

concerns [9] - 13:6,
25:14, 25:15, 25:19,
28:19, 55:17, 66:10,
80:4

concluded [3) - 70:12,
72:13, 73:2

concludes [1] - 50:11

conclusion {3] -
72:18, 97:24, 99:25

condition [2] - 25:5,
116:14

conduct [5] - 32:6,
32:12, 59:16, 65:3,

 

65:4

conducted [3] - 54:1,
85:19, 85:21

conducting [1] - 12:6

conference [11] -
74:11, 74:19, 79:14,
79:18, 79:21, 79:24,
79:25, 80:11, 80:14,
80:15, 96:25

confidential [1] -
69:23

confirm [1] - 10:1

confusion [2] - 18:19,
94:10

conjecture [1] - 90:3

connection [1] - 78:1

consider [5] - 28:7,
41:22, 41:24, 55:12,
65:22

consideration [6] -
55:8, 102:22, 103:1,
103:8, 103:13,
103:21

considered [4] - 55:2,
62:15, 62:20, 119:23

consultants [1] - 30:2

contact [4] - 27:7,
32:24, 66:7, 66:9

contacted [1] - 77:13

contacting [1] - 70:4

contained [4] - 49:25,
71:16, 72:1, 72:5

contains [1] - 70:19

content [5] - 18:23,
20:5, 21:7, 83:14,
108:25

contention [1] - 99:10

context [2] - 32:9,
44:3

continue [1] - 63:7

continues [1] - 91:17

continuing [2] - 9:16,
94:11

contribute [1] - 34:10

contributions [1] -
98:10

conversation [17] -
41:20, 42:13, 42:15,
42:19, 42:24, 43:3,
43:13, 61:12, 67:2,
70:25, 84:16, 87:11,
96:9, 96:13, 96:19,
98:19, 100:24

conversations [4] -
39:7, 59:2, 70:2,
75:3

copied [3] - 81:23,
82:9, 82:12

copies p] - 125:18,
125:18

 

copy [5] - 77:14,
77:18, 78:5, 78:15,
105:4

corporate [1] - 11:10

corporation [1] - 9:7

correct [21] - 12:3,
18:10, 22:13, 23:21,
51:24, 59:4, 63:10,
64:21, 76:6, 80:12,
85:10, 89:16, 98:15,
102:1, 102:11,
103:5, 103:10,
103:25, 120:14,
121:22, 123:3

Corrective [2] - 52:1,
59:8

corrective [35] -
16:15, 17:13, 17:17,
21:25, 59:9, 59:19,
60:4, 60:9, 60:15,
60:23, 61:2, 61:17,
61:25, 62:10, 62:12,
63:1, 63:2, 63:15,
63:17, 63:18, 64:8,
64:11, 65:12, 66:5,
71:2, 76:19, 76:21,
95:17, 103:14,
103:15, 110:7,
110:8, 110:13

correctly [5] - 74:9,
83:9, 88:10, 88:24,
91:10

correspondence [2] -
16:13, 70:4

cost [1] - 125:17

counsel [5] - 18:8,
30:25, 52:21, 106:7,
125:13

COUNTY [1] - 125:2

couple [3] - 93:16,
94:4, 110:18

course [2] - 32:20,
50:25

court [4] - 5:10, 45:5,
46:19, 100:8

covered [1] - 31:8

coworkers [2] - 15:24,
17:3

create [1] - 60:12

created [2] - 72:11,
103:4

creation (3) - 15:25,
17:4, 107:1

credentials [1] - 7:12

criteria [2] - 57:20,
66:4

current [11] - 7:14,
13:9, 14:8, 30:14,
48:12, 48:22, 49:6,
50:8, 50:25, 51:3,

 

84:9

daily [1] - 12:1

Daniel [2] - 2:4, 4:12

database [2] - 13:21,
69:19

date [5] - 9:21, 80:25,
81:3, 83:5

dated [1] - 80:24

dates [4] - 81:2, 82:23,
113:15

David [14] - 74:19,
77:17, 77:19, 83:17,
84:4, 84:15, 85:5,
85:17, 86:1, 94:25,
96:5, 96:7, 97:1,
105:4

David's [1] - 102:24

DAY [1] - 125:20

days ([t) - 79:15

deadline [2] - 79:7,
80:17

deal [2] - 116:5,
116:12

dealt (1) - 115:14

decide [2] - 67:25,
70:22

decision [12] - 34:3,
47:23, 66:24, 67:16,
67:22, 70:19, 95:9,
95:10, 95:18,
102:24, 104:17

decisions [2] - 64:4,
64:5

deem [1] - 96:16

defendant [1] - 6:20

deficiencies [3] -
55:4, 84:6, 84:9

definitely [6] - 37:24,
38:1, 43:15, 43:19,
45:9, 46:5

definitively (2) -
44:14, 45:16

degree [3] - 7:3, 7:6,
7:8

delay [1] - 81:21

Demand [4] - 19:4,
20:10, 21:12, 108:21

denied [1] - 98:14

denies [1] - 41:21

Dennis [4] - 2:3, 2:16,
4:9, 124:21

DENNIS [93 - 4:9,
4:19, 8:8, 8:24, 10:6,
10:11, 10:14, 10:15,
11:6, 11:8, 22:12,
22:15, 23:8, 23:11,
23:13, 23:22, 23:25,
31:8, 31:11, 36:4,
36:11, 37:13, 37:17,
37:18, 41:11, 41:12,

 

35 of 45 sheets

Page 3 to 3 of 13

02/24/2020 04:45:47 PM

 
 

 

43:7, 43:10, 44:18,
45:2, 45:12, 45:19,
46:16, 46:21, 49:2,
49:19, 54:1, 51:15,
51:17, 51:19, 52:16,
52:17, 68:7, 68:10,
68:20, 72:24, 73:11,
73:16, 73:20, 73:21,
75:16, 76:25, 81:13,
82:1, 82:4, 84:23,
87:24, 89:11, 89:12,
92:17, 92:19, 94:24,
95:24, 97:5, 99:3,
100:5, 100:10,
104:25, 105:16,
105:20, 105:25,
106:4, 107:13,
107:17, 107:24,
108:14, 111:9,
112:4, 112:23,
413:8, 113:21,
113:25, 114:6,
114:8, 115:3,
115:21, 116:3,
116:24, 117:6,
119:11, 121:1,
122:12, 122:15

deny [8] - 19:1, 20:8,
21:10, 109:11,
109:25, 110:24,
111:20, 112:18

department [5] -
28:25, 29:3, 53:17,
53:19, 101:21

dependent [2] - 41:16,
42:12

deposed [1] - 5:4

deposes [1] - 4:6

DEPOSITION [3] -
4:12, 2:15, 123:7

deposition [14] - 1:13,
4:2, 9:3, 9:6, 10:17,
22:17, 23:20, 24:2,
52:22, 123:2, 125:4,
125:10, 125:12,
425:17

Deposition [11] - 1:15,
8:6, 75:14, 81:11,
82:2, 84:21, 95:22,
97:3, 108:12, 112:6,
113:6

describe [3] - 7:1,
31:20, 34:19

describing [1] - 118:5

design [2] - 94:9,
94:20

designate [1] - 18:13

designed [1] - 122:10

desired [1] - 123:5

details [3] - 38:1,

 

120:11, 121:11
determination jg -
33:13, 47:21, 96:16
determine [5] - 34:24,
40:24, 44:22, 45:24,
58:3
determined [1] - 67:14
determining [2] -
102:22, 102:23
develop [1] - 121:17
developer [1] - 90:11
developers [3] - 85:9,
90:19
developing [1] - 94:3
development [4] -
120:3, 120:7,
120:20, 121:3
dictated [1] - 55:14
difference [2] - 17:23,
28:3
different [13] - 21:5,
48:12, 57:23, 67:16,
71:3, 71:12, 85:25,
117:19, 120:15,
121:25, 122:5, 122:9
differently [1] - 88:17
difficult (6) - 5:20,
48:5, 75:1, 75:8,
04:11, 110:4
direct [2] - 37:7, 88:13
direction [2] - 81:8,
125:8
directly [2] - 47:16,
48:1
disagreement [1] -
104:21
discarded [1] - 72:18
disciplinary [3] - 14:6,
51:7, 117:9
disciplined [3] -
118:24, 119:2, 119:6
disclosed [1] - 39:1
discovered [3] -
18:25, 20:7, 21:8
discrepancies [1] -
87:16
discretion [4] - 56:14,
62:18, 66:19, 73:10
discretionary [1] -
57:4
discriminated [3] -
41:19, 50:9, 86:6
discriminating [2] -
45:7, 87:23
discrimination [112] -
41:12, 13:7, 15:1,
15:23, 24:11, 24:15,
25:7, 25:14, 25:21,
26:5, 26:13, 26:16,
26:19, 27:1, 30:23,

 

31:3, 31:14, 32:3,
32:12, 32:22, 33:20,
34:7, 34:11, 37:20,
38:18, 38:20, 38:21,
38:23, 39:11, 39:19,
40:21, 40:25, 41:3,
41:7, 41:15, 42:2,
42:7, 42:18, 42:22,
43:2, 43:12, 43:14,
43:16, 43:18, 43:20,
43:21, 43:23, 43:24,
44:9, 44:15, 44:22,
45:11, 45:16, 45:25,
46:2, 46:8, 46:13,
47:12, 48:13, 49:7,
49:9, 49:13, 50:12,
50:21, 51:3, 51:6,
51:22, 52:5, 52:8,
52:12, 53:11, 68:23,
69:11, 74:5, 72:7,
73:24, 74:1, 74:4,
74:6, 74:23, 87:2,
87:10, 87:15, 88:13,
89:8, 89:23, 92:12,
94:14, 106:23,
107:16, 107:18,
109:5, 114:19,
115:6, 115:8,
115:14, 116:5,
116:10, 116:13,
41731, 117:9,
417:25, 118:3,
118:8, 118:12,
118:16, 118:23,
119:1, 119:4, 119:14

discriminatory [1] -
89:19

discuss [5] - 27:12,
33:3, 34:22, 35:13,
66:10

discussed [2] - 52:7,
63:22

discusses [1] - 32:7

discussion [3] - 13:7,
23:10, 33:6

disparate [1] - 13:8

Dispute [2 - 76:5,
76:12

dispute [54] - 16:9,
16:14, 16:16, 16:17,
17:16, 17:18, 19:14,
19:16, 19:18, 21:20,
21:21, 21:23, 28:22,
33:8, 33:10, 33:24,
34:12, 40:13, 47:17,
48:7, 50:13, 60:15,
60:19, 60:24, 61:1,
61:4, 61:13, 67:11,
67:12, 67:13, 67:24,
70:17, 71:9, 71:10,

 

71:14, 71:25, 74:2,
74:6, 74:10, 75:21,
75:24, 76:2, 78:9,
79:5, 79:20, 81:2,
86:21, 96:6, 103:23,
04:15, 105:11,
409:14, 111:8, 113:3

disputed {2} - 61:17,
104:6

disputing [7] - 33:13,
33:18, 47:22, 60:22,
61:15, 76:13, 76:16

distinction [1] -
117:11

diversity [1] - 15:2

division [1] - 24:6

document [55] - 8:19,
9:1, 9:3, 9:10, 9:19,
11:17, 18:23, 27:13,
59:12, 59:15, 60:8,
65:21, 70:24, 71:1,
71:21, 75:17, 75:18,
75:20, 76:4, 81:14,
81:15, 81:17, 82:5,
82:6, 82:20, 84:24,
84:25, 85:2, 85:7,
86:10, 95:25, 96:1,
96:3, 97:6, 97:7,
97:9, 97:16, 101:15,
106:16, 108:15,
108:16, 108:20,
108:23, 109:1,
109:4, 109:8, 113:9,
113:10, 113:12,
113:17, 114:2,
114:5, 114:7

documentation [1] -
70:2

documented [6] -
27:24, 60:1, 62:12,
62:22, 69:24, 71:17

documents [67] - 5:1,
10:22, 10:25, 14:15,
11:18, 16:10, 17:20,
17:24, 18:24, 19:15,
19:20, 19:23, 20:6,
20:18, 20:22, 21:1,
21:7, 21:15, 21:17,
21:21, 22:5, 40:18,
40:20, 40:22, 40:24,
41:3, 41:4, 48:19,
48:21, 49:14, 49:25,
50:7, 54:10, 54:12,
54:21, 60:2, 60:4,
60:6, 60:11, 66:14,
69:1, 69:4, 69:10,
70:11, 70:13, 70:19,
70:22, 71:11, 71:20,
72:11, 72:14, 72:17,
72:25, 73:13, 84:11,

 

88:20, 102:27,
102:25, 103:1,
103:2, 103:3, 103:7,
103:12, 103:17,
103:20, 104:1, 104:6

done [11] - 36:18, ©
39:9, 55:14, 55:16,
56:1, 56:3, 56:14,
93:18, 111:16,
117:19, 122:15

down (4 - 5:10, 5:14,
86:16, 92:1

downsizing [1] -
30:21

drive [1] - 50:3

drummed [1] - 90:1

Drysdale [25] - 74:12,
74:19, 77:17, 77:19,
77:25, 81:18, 83:17,
84:15, 85:18, 92:24,
94:25, 96:7, 96:9,
97:1, 99:5, 99:24,
100:24, 101:16,
402:13, 102:17,
104:5, 104:9,
410:14, 111:4,
111:18

Drysdale's [2] - 98:19,
109:21

due [1] - 50:10

duly (2) - 4:5, 125:5

Duraimanickam [15] -
1:8, 2:8, 13:12, 14:9,
68:23, 69:3, 69:12,
82:17, 89:9, 98:8,
98:14, 98:20,
101:25, 103:4,
103:18

during [12] - 10:13,
10:19, 13:12, 23:15,
24:1, 59:1, 67:12,
74:25, 75:2, 88:2,
88:5, 94:5

ease [1] - 29:15

edited [1] - 83:11

educational [1] - 7:2

EEOC (15) - 105:13,
105:19, 105:22,
106:7, 107:9,
107:15, 107:18,
107:21, 108:1,
108:8, 111:5,
114:17, 111:24,
112:16, 113:2

egregious [5] - 51:11,
§2:1, 62:10, 62:22,
62:23

egregiousness [1] -
119:9

eight [2] - 114:16,

 

 

02/24/2020 04:45:47 PM

Page 4 to 4 of 13

36 of 45 sheets
 

 

115:5

ejther [13] - 17:25,
27:19, 31:9, 34:6,
35:18, 42:25, 48:16,
58:11, 62:21, 74:7,
91:5, 110:12, 117:22

electronic [1] - 31:24

elevated [3] - 62:4,
62:14, 110:8

email [14] - 16:13,
27:19, 63:18, 70:4,
74:12, 80:20, 81:18,
85:3, 85:4, 85:17,
86:10, 96:4, 96:7,
96:18

emails [4] - 19:16,
21:19, 75:5, 103:24

employed (3) - 10:18,
23:15, 49:22

employee [125] - 7:16,
7:24, 12:18, 14:5,
15:1, 27:8, 27:9,
27:10, 27:11, 28:14,
28:15, 28:16, 28:17,
28:21, 28:25, 29:3,
29:12, 29:22, 29:24,
30:2, 30:3, 30:4,
30:5, 30:10, 30:11,
30:15, 30:19, 30:23,
32:19, 32:21, 32:25,
33:1, 33:10, 33:13,
33:18, 33:25, 34:8,
34:21, 35:12, 36:7,
41:1, 47:11, 47:15,
47:21, 48:1, 48:10,
48:12, 48:13, 48:22,
48:23, 49:4, 49:7,
49:8, 49:12, 49:22,
50:8, 50:14, 50:21,
50:25, 51:3, 53:13,
53:18, 53:23, 54:8,
54:13, 54:17, 55:5,
56:22, 57:16, 58:17,
60:7, 60:14, 60:22,
61:2, 61:10, 61:14,
61:16, 61:21, 63:7,
63:10, 63:14, 63:17,
63:25, 64:6, 64:18,
64:20, 65:23, 66:4,
66:8, 66:12, 66:13,
66:14, 66:15, 66:16,
66:17, 66:21, 66:24,
67:1, 67:3, 67:6,
67:10, 67:25, 68:2,
69:24, 70:1, 70:3,
70:6, 70:21, 70:25,
71:8, 71:13, 77:15,
72:3, 78:12, 79:2,
79:10, 80:1, 81:1,
81:5, 81:6, 97:14,

 

105:10, 118:18,
125:15

Employee [1] - 69:21

employee's [17] -
33:16, 35:10, 35:23,
45:23, 49:25, 56:18,
56:20, 66:25, 68:3,
71:24, 72:4, 72:14,
80:24, 97:11, 97:12,
118:7, 118:11

employees [27] - 11:5,
13:10, 14:7, 25:2,
25:12, 25:13, 26:3,
26:9, 26:12, 26:13,
27:6, 28:17, 28:19,
29:5, 29:19, 30:1,
30:7, 30:20, 30:25,
32:6, 54:22, 65:14,
66:9, 113:13, 120:9,
{22:2

employment [5] -
25:15, 25:20, 66:25,
78:14, 102:9

Employment [1] -
15:14

enacted [1] - 24:22

encompassed [1] -
87:10

encounter [1] - 94:6

end [4] - 32:14, 98:12,
101:20, 101:22

end-user [2] - 101:20,
101:22

enforce [3] - 25:6,
25:9, 25:16

enforced [1] - 25:23

enforcing [2] - 26:1,
26:4

engaged [2] - 52:9,
4111:1

ensure [2] - 25:2,
66:15

entail [1] - 54:25

enter [5] - 61:2, 61:5,
61:6, 65:24, 67:3

entirety [1] - 29:9

Equal [1] - 15:14

equally [1] - 26:8

ERRATA [1] - 123:7

Errata [1] - 124:20

error [4] - 45:13

errors [2] - 79:1, 87:1

especially [4] - 39:9,
86:25, 104:13, 110:5

Esquire [4] - 2:3, 2:4,
2:9, 124:21

essence [1] - 58:5

essentially [1] - 64:23

estimate [1] - 22:21

et [1] - 70:25

 

ethics [7] - 25:19,
26:14, 26:22, 27:17,
27:21, 27:23, 28:6

ethnicity [1] - 25:4

evaluated [1] - 58:17

evaluation [1] - 55:6

event [1] - 119:15

events [1] - 119:3

evidence [9] - 41:5,
41:13, 41:18, 44:13,
44:20, 85:25, 99:20,
99:24, 100:11

exactly [4] - 75:9

examination [1] - 2:16

EXAMINATION [1] -
4:18

example [5 - 41:18,
47:22, 49:3, 65:17,
94:3

examples [7] - 37:24,
60:10, 86:20, 87:3,
87:4, 88:8, 118:19

Excel [2] - 11:4, 114:4

except [3] - 85:21,
107:22, 123:3

exception [1] - 116:17

exchange [3] - 85:3,
85:4, 96:4

excluding [1] - 68:24

excuse [1] - 81:20

exhibit [1] - 93:5

Exhibit [41] - 3:2, 3:3,
3:4, 3:5, 3:6, 3:7,
3:8, 3:9, 3:10, 3:11,
8:6, 8:17, 75:14,
75:18, 81:11, 84:15,
82:2, 82:6, 84:21,
84:25, 88:1, 91:8,
91:13, 91:19, 95:22,
96:1, 97:3, 97:7,
100:20, 106:10,
108:12, 108:16,
109:18, 109:19,
109:24, 109:25,
110:16, 111:11,
112:6, 113:6, 113:10

EXHIBITS [1] - 3:1

expand [1] - 117:15

expectations [3] -
32:1, 122:6, 122:10

experience [2] -
118:6, 118:10

experienced [1] -
90:11

experiences [1] -
68:16

explain [5] - 60:21,
62:2, 78:21, 84:1,
87:4

explanation [1] -

 

86:19

exposure [1] - 115:10

extensive [1] - 64:2

extent [4] - 121:6

extremely [1] - 62:22

faced [1] - 117:9

facilitating [2] - 28:20,
28:22

facilitation [1] - 33:5

facts [3] - 76:11,
410:24, 112:19

factual [6] - 19:2,
20:9, 21:10, 109:12,
110:4, 111:21

fair [5] - 6:4, 6:17,
18:20, 24:8, 115:4

fall [4] - 64:3

Falls [1] - 7:10

familiar [4] - 11:23,
108:25, 120:2, 120:4

far [3] - 100:17,
100:22, 114:24

fashion [1] - 92:7

faxes [1] - 77:4

FEBRUARY [i] -
125:20

February [2] - 1:18,
22:25

federal [1] - 53:20

feedback [30] - 38:8,
47:4, 55:7, 55:23,
56:1, 56:11, 56:18,
56:20, 56:23, 56:24,
57:1, 57:10, 57:16,
57:20, 57:25, 58:2,
58:15, 58:18, 58:24,
59:6, 63:15, 83:18,
100:12, 100:17,
100:19, 100:22,
101:3, 101:7, 101:9

felt [1] - 89:25

few [6] - 29:13, 53:25,
74:25, 89:17, 106:1,
119:21

figure [2] - 42:21, 43:7

file [2] - 32:25, 33:10

filed [12] - 33:9, 63:3,
63:4, 69:6, 69:14,
74:16, 75:24, 77:1,
81:3, 105:12,
105:19, 106:7

filing [12] - 16:15,
17:16, 19:16, 21:21,
71:25, 72:4, 72:15,
74:10, 75:22, 75:23,
78:10, 103:23

filled [1] - 80:18

final [16] - 51:12, 52:4,
62:5, 62:19, 62:25,
63:2, 63:6, 67:20,

 

96:14, 97:19, 99:13,
99:19, 99:25,
103:15, 105:6,
110:13

financial [1] - 64:4

findings [1] - 50:15

fine [4] - 6:14, 9:23,
9:24, 65:10

finish [4 - 5:12, 6:15,
6:16, 35:7

first [26] - 4:5, 9:18,
23:21, 24:1, 57:25,
61:1, 62:9, 74:3,
75:23, 77:2, 77:8,
77:13, 85:6, 85:7,
86:9, 86:11, 86:20,
88:1, 97:10, 102:3,
104:10, 106:12,
408:22, 115:7, 125:5

five [2] - 86:19, 116:18

focus [1] --7:4

focused [1] - 116:24

follow [3] - 75:4,
105:3, 105:10

follow-up [4] - 75:4

following (2) - 1:13,
64:5

follows [5] - 4:3, 4:6,
34:16, 93:9, 123:3

foregoing [4] - 123:2,
125:4, 125:10,
125:12

Form [6] - 52:2, 59:8,
76:5, 76:13, 79:8,
79:17

form [49] - 31:6, 36:3,
37:12, 41:8, 43:5,
44:16, 48:25, 49:17,
50:23, 57:12, 57:17,
60:12, 61:14, 61:17,
71:23, 76:3, 76:8,
76:9, 76:14, 76:16,
17:1, 77:11, 77:16,
77:18, 78:5, 81:25,
86:21, 87:12, 89:10,
92:15, 94:22, 98:23,
104:8, 104:24,
105:14, 105:23,
407:10, 108:10,
109:15, 111:2,
111:22, 112:20,
115:1, 115:16,
115:23, 116:16,
117:4, 119:7, 120:22

formal [6] - 13:5,
68:21, 69:2, 74:11,
74:18, 96:24

format [4 - 57:17,
58:8, 83:15, 114:1

formatting [1] - 83:13

 

37 of 45 sheets

Page 5 to 5 of 13

02/24/2020 04:45:47 PM

 
 

 

former [8] - 13:9, 14:8,
15:24, 17:3, 27:6,
100:12, 101:25,
106:24

forward [2] - 35:20,
104:20

forwarding [1] - 85:5

four [eg] - 52:4, 52:11,
58:6, 68:1, 68:17,
116:20

framework [2] - 61:25,
105:3

Frank [21] - 5:1, 5:2,
68:24, 73:23, 74:19,
74:22, 77:1, 85:4,
85:8, 86:11, 88:14,
89:7, 89:14, 89:17,
89:25, 92:8, 93:11,
93:23, 94:2, 94:9,
97:1

Frank's jg] - 81:20,
82:10, 84:6, 86:4,
92:12, 94:14,
102:14, 102:18

fresh [1] - 120:9

front [1] - 106:10

full [4] - 85:6, 91:19,
98:3, 102:4

fully [2] - 93:25, 94:6

future [2] - 80:24,
80:25

gather [1] - 37:4

gears [3] - 54:4,
64:16, 114:9

gender [1] - 25:4

general [4] - 24:73,
34:19, 54:23, 58:19

generally [8] - 27:4,
27:16, 31:20, 41:5,
44:10, 63:9, 64:17,
71:6

geographic [1] - 29:6

given [4] - 55:3, 58:22,
58:23, 125:10

glance [1] - 78:24

Gluek [4] - 2:4, 4:10,
4:13, 124:21

governing [1] - 65:14

governs (1] - 59:18

grade j3] - 30:1, 30:7,
30:20

graduated [1] - 7:7

Graham [3] - 1:14,
125:3, 125:22

grammatical [1} - 79:1

graphic (1) - 53:6

grievances [1] - 13:6

Grimm [1] - 90:20

ground [1] - 5:7

group [2] - 92:2, 92:4

 

Group [8] - 1:8, 2:8,
9:6, 26:3, 29:10,
31:12, 60:3, 115:10

Group's [1] - 26:4

guess [9] - 9:4, 48:6,
63:5, 75:10, 101:19,
115:20, 115:22,
115:24

guidance [2] - 33:5,
60:9

Gustafson [4] - 2:4,
4:10, 4:12, 124:21

half [2] - 108:24,
114:16

HAND [1] - 125:20

handbook [5] - 54:13,
54:17, 64:18, 64:20,
64:24

handed [gj - 75:17,
81:14, 82:5, 84:24,
95:25, 97:6, 108:15,
113:9

handle [4] ~ 29:23,
29:25, 30:3, 30:6

harassmeni [4] - 13:8,
30:23, 65:6, 65:7

hard [3] - 5:20, 50:3,
121:9

heading [3] - 9:11,
9:13, 93:17

health [1] - 25:5

hear [4] - 77:13,
77:21, 77:23, 79:20

heavily [1] - 104:13

heightened (1) - 69:22

held [7] - 7:19, 7:25,
67:2, 76:24, 79:14,
89:24, 97:1

help [5] - 5:23, 30:3,
33:23, 34:10, 60:11

HENNEPIN [1] - 125:2

hereby [1] - 123:1

hereto [1] - 125:15

hide [1] - 86:22

highly [3] - 41:16,
42:12, 70:18

hire [1] - 113:15

history [2] - 66:17,
70:10

hmm [2] - 5:19, 22:14

hold [1] - 73:7

honestly [1] - 74:24

hours [1] - 22:23

HR [19] - 28:7, 53:16,
69:15, 69:18, 70:13,
71:7, 72:2, 72:5,
86:20, 105:8

HRdirect [13] - 25:13,
26:12, 26:20, 27:3,
27:8, 27:24, 32:24,

 

66:8, 69:6, 69:21,
117:16, 117:22,
118:11
Hughes [1] - 4:16
HUGHES je - 1:14,
4:2, 4:4, 123:1,
124:19, 125:4
Human [2] - 33:2,
77:21
human [2] - 7:4, 34:1
hypothetical [1] -
44:25
identical [2] - 20:3,
20:24
identification {9} - 8:7,
75:15, 81:12, 82:3,
84:22, 95:23, 97:4,
108:13, 113:7
identified [3] - 21:2,
22:6, 89:14
identify [3] - 57:25,
59:5, 79:19
identifying [1] - 59:3
identity [1] - 58:23
IDR (33) - 61:9, 61:17,
61:18, 71:19, 72:8,
72:12, 72:14, 72:15,
72:18, 73:1, 73:2,
77:14, 77:22, 79:7,
79:17, 80:5, 83:3,
85:14, 97:11, 97:13,
97:17, 104:6, 105:3,
117:1, 111:4,
411:19, 111:25,
112:17, 112:21,
117:8, 117:11,
117:17, 118:7
ignored [1] - 86:25
imagine [1] - 122:7
immediately (2) -
63:3, 63:5
impact [1} - 101:10
impacted [1] - 101:5
impacts [1] - 101:19
inappropriate [4] -
42:6, 59:13, 62:23,
119:24
Inc [2] - 1:8, 2:8
incidents [1] - 119:23
include [5] - 80:22,
102:15, 103:1,
103:6, 107:8
included [4] - 64:25,
82:19, 103:3, 103:8
includes [1] - 80:23
including (7) - 13:11,
15:23, 17:2, 25:20,
32:2, 32:12, 106:23
incorrect [1] - 87:22
independently [1] -

 

46:23
INDEX [1] - 2:15
indicate [9] - 41:2,
81:5, 85:7, 87:9,
87:17, 96:12, 98:18,
99:4, 99:23
indicated [3] - 18:8,
41:19, 66:4
indicates [1] - 100:15
indicating [5] - 44:4,
50:15, 61:14, 66:11,
76:17
indicating) [1] - 86:16
indication [1] - 87:17
individual [22] - 24:16,
35:22, 37:9, 38:2,
38:10, 38:16, 38:22,
39:2, 39:4, 39:5,
39:9, 39:13, 40:10,
41:21, 41:23, 44:2,
45:7, 47:20, 57:2,
67:18, 104:20
individual's [3] - 39:8,
42:9, 57:3
individuals (4) -
34:24, 42:14, 47:9,
47:10
informal [3] - 13:6,
68:22, 69:3
informally (1) - 56:1
information [22] -
34:10, 37:4, 37:8,
38:4, 38:22, 38:24,
39:1, 39:18, 39:24,
44:5, 45:15, 55:10,
57:3, 58:20, 59:3,
60:4, 83:14, 87:22,
100:15, 101:2,
101:3, 101:10
informing [1] - 58:11
initial [3] - 62:3, 62:8,
72:4, 75:3, 103:14,
104:17, 110:12,
122:8
initiate [2] - 60:24,
66:6
initiated [1] - 64:19
initiatives [1] - 14:25
instances [1] - 89:17
instead [1] - 29:17
instruct [1] - 10:7
interact [1] - 57:1
interaction [1] -
421:16
interested [2] - 22:20,
125:15
interim [12) - 16:11,
17:14, 19:13, 21:19,
21:24, 55:12, 55:13,
55:21, 57:7, 58:12,

 

58:16, 63:23

internal (53) - 13:1,
16:9, 16:14, 16:16,
16:17, 17:16, 17:18,
19:14, 19:16, 19:17,
21:20, 21:21, 21:23,
28:22, 33:8, 33:10,
33:24, 34:12, 40:13,
47:17, 48:7, 50:13,
60:19, 60:24, 61:4,
61:13, 67:11, 67:12,
67:13, 67:23, 67:24,
70:16, 71:9, 71:10,
71:14, 71:25, 74:2,
74:6, 74:10, 75:21,
75:24, 78:8, 79:20,
81:2, 82:13, 96:5,
103:23, 104:14,
105:8, 105:11,
109:14, 111:7, 113:3

Internal [2] - 76:5,
76:12

internally [2] - 29:27,
69:5

international (2) -
29:12, 29:17

internationally [1] -
23:17

internet [1] - 15:9

interpret [1] - 104:12

interpretation [1] -
87:13

intersect [1] - 53:21

interviewer's [1] -
104:16

intranet [9 - 12:18,
53:7, 54:18, 60:7,
64:20, 64:23, 64:24,
65:1, 65:22

investigate [4] - 33:4,
35:17, 46:3, 85:23

investigated [7] -
44:11, 48:17, 80:8,
80:18, 85:13, 86:8,
94:21

investigates [1] - 80:6

investigating [3] -
11:11, 28:20, 34:16,
40:7, 43:25, 72:6,
73:5, 115:8

investigation [6s] -
16:22, 17:1, 18:25,
20:7, 21:9, 27:15,
27:25, 34:7, 34:12,
34:14, 39:7, 39:21,
40:8, 42:20, 44:14,
45:17, 45:23, 46:11,
48:2, 48:22, 49:6,
49:16, 50:11, 70:12,
71:5, 72:13, 73:13,

 

02/24/2020 04:45:47 PM

Page 6 to 6 of 13

38 of 45 sheets

 

 
 

 

80:10, 81:9, 81:22,
85:5, 85:19, 85:21,
85:24, 86:2, 90:14,
91:4, 91:6, 92:11,
92:20, 92:24, 94:13,
95:1, 100:25,
103:21, 106:22,
107:8, 109:11,
109:24, 110:24,
110:25, 111:4,
111:8, 111:16,
111:18, 111:20,
112:1, 112:16,
112:17, 112:18,
413:1, 113:4,
117:14, 120:17,
120:19, 121:13

investigations [2] -
28:20, 54:1

investigative [3] -
40:18, 41:7, 41:14,
42:10, 48:11, 83:2,
83:16, 84:3

investigator [13] -
34:5, 43:3, 44:7,
44:21, 46:22, 47:13,
47:14, 47:19, 47:25,
48:8, 80:16, 80:20,
81:8

involuntary [1] - 65:25

involve [3] - 43:12,
43:17, 43:21

involved [12] - 33:17,
34:2, 35:4, 35:9,
39:21, 42:9, 42:23,
53:12, 107:22,
114:19, 117:7,
420:20

involvement [2] -
70:21, 117:2

involves [2] - 55:5,
121:3

involving [3] - 43:13,
117:24, 121:14

issue [9] - 27:12, 28:8,
59:16, 62:16, 63:8,
94:7, 94:19, 121:20

issued [2] - 63:6,
66:14

issues [5] - 62:21,
76:18, 79:2, 80:2,
86:25

IT [2] - 110:6, 125:3

item [1] - 110:12

items [9] - 9:12, 24:17,
72:1, 76:21, 95:11,
100:14, 104:18,
118:22

iterations [2] - 94:8,
94:20

 

itself [5] - 24:20,
60:13, 70:18,
121:15, 121:23

J-E-N-N-I-F-E-R [1] -
108:6

January [1] - 96:8

Jen [1] - 108:4

Jennifer [5] - 13:2,
93:7, 93:10, 93:14,
94:14

Jezierski [4] - 2:9,
2:20, 4:14, 22:11

JEZIERSKI [50) - 4:14,
8:20, 10:4, 10:8,
10:12, 22:14, 23:19,
23:24, 31:5, 36:3,
37:12, 41:8, 43:5,
44:16, 48:25, 49:17,
60:23, 51:13, 52:14,
68:4, 68:12, 71:23,
72:20, 73:3, 76:14,
87:12, 89:10, 92:15,
94:22, 98:23, 104:8,
104:24, 105:14,
105:23, 107:10,
108:10, 111:2,
111:22, 112:20,
413:19, 114:3,
115:1, 115:16,
115:23, 116:16,
117:4, 119:7,
120:22, 121:5,
122:17

job [5] - 8:3, 13:10,
17:1, 30:14, 122:6

jobs [1] - 120:12

Johnson [1] - 2:10

Jolynn jg] - 1:14,
125:3, 125:22

jump [1] - 9:25

June [1] - 83:8

Just-In [1] - 31:24

Kaitlyn [3] - 2:3, 4:9,
124:21

kdennis@
gustafsongluek.
com [1] - 2:6

keep [3] - 65:8, 65:9,
73:5

kept [6] - 24:7, 39:4,
70:13, 71:11, 72:12,
72:15

Kim [13] - 83:20, 84:2,
84:5, 84:12, 95:2,
96:10, 96:19,
100:24, 101:2,
01:14, 101:17,
101:18, 101:22

Kim's [1] - 90:10

kind [16] - 5:6, 22:21,

 

29:14, 29:20, 43:17,
48:5, 54:23, 62:10,
64:5, 66:10, 66:15,
69:21, 73:6, 104:2,
115:5, 121:23

knowledge [13] - 50:6,
55:9, 91:7, 92:23,
93:1, 94:23, 103:19,
103:22, 107:23,
107:25, 108:8,
108:9, 108:11,
110:6, 111:7,
111:24, 113:2, 117:5

known [1] - 42:17

KNOWN (1) - 125:3

knows [1] - 81:8

labeled [2] - 91:15,
93:17

large [2] - 36:19,
56:25

last [19] - 18:22, 52:4,
52:11, 53:25, 68:4,
68:17, 87:25, 88:5,
90:4, 91:19, 97:15,
99:12, 102:5,
114:18, 114:21,
115:5, 116:18,
116:20, 120:18

laws [1] - 53:20

lawsuits [1] - 6:20

lead [3] - 51:10, 51:24,
51:25

leader [33] - 26:23,
34:22, 34:23, 35:2,
35:4, 35:8, 35:13,
35:14, 35:17, 35:21,
35:24, 36:17, 36:25,
37:3, 37:5, 37:6,
37:7, 38:6, 40:7,
40:17, 40:23, 42:11,
42:20, 43:25, 45:22,
67:22, 70:18, 71:4,
72:6, 73:4, 73:12

leaders [1] - 121:14

leadership [3] - 30:8,
32:2, 33:3

learned [1] - 31:23

least [4] - 36:8, 45:13,
79:1, 91:8

led [1] - 86:5

left (1) - 105:2

legal [1] - 73:7

less [4] - 51:11, 52:1,
62:10, 98:12

letter (6) - 97:22, 98:3,
99:4, 104:7, 104:23,
105:1

level [16] - 26:23, 33:2,
33:12, 33:14, 62:3,
62:4, 62:5, 62:6,

 

62:8, 62:19, 62:20,
62:25, 63:6, 77:12,
83:21, 110:13

levels [1] - 61:24

Lewis [1] - 2:10

likely [1] - 110:7

line (10) - 6:16, 25:19,
26:14, 26:22, 27:4,
27:17, 27:21, 27:23,
28:6, 123:4

lines [3] - 86:15, 90:5,
92:1

list [1] - 113:13

listed [4] - 14:5, 52:15,
68:6, 85:14

locate [1] - 33:21

location [1] - 36:22

look [20] - 8:16, 8:17,
40:17, 40:21, 44:5,
44:20, 44:21, 45:9,
47:15, 47:25, 70:9,
86:1, 99:8, 104:5,
104:16, 104:19,
108:17, 110:9,
111:10, 141:11

looked [3] - 80:7,
91:1, 92:22

looking [2] - 96:15,
102:16

looks [1] - 114:4

loud [4] - 11:7, 93:22,
98:7, 110:20

lunch [14] - 73:18

Lunch [1] - 73:19

main [2] - 30:17, 81:6

majority [2] - 53:22,
115:25

makeup [1] - 92:5

manage [2] - 30:4,
30:9

management [3] - 7:4,
14:9, 26:23

Manager [1] - 1:10

manager [33] - 7:16,
30:16, 32:20, 33:12,
33:15, 33:17, 33:25,
34:2, 55:6, 55:7,
55:21, 55:23, 56:2,
56:15, 56:17, 56:19,
58:25, 59:5, 60:10,
61:7, 62:7, 66:7,
66:10, 66:11, 66:23,
68:3, 69:25, 70:3,
70:6, 77:12, 83:22,
84:8, 117:8

manager's [5] - 33:16,
61:11, 62:18, 66:19

managers [23] - 25:11,
26:11, 28:18, 30:6,
30:9, 30:19, 30:25,

 

34:3, 31:14, 34:21,
31:25, 47:6, 54:22,
56:21, 56:23, 60:8,
64:2, 118:24, 119:2,
119:5, 119:12,
119:20, 119:22

MAP [1] - 82:14

mark [1] - 82:4

MARKED [1; - 3:4

marked [25] - 8:7,
8:17, 75:15, 75:18,
76:5, 84:12, 81:15,
82:3, 82:5, 84:22,
84:25, 91:18, 93:6,
93:13, 95:23, 96:1,
97:4, 97:7, 106:18,
108:13, 108:16,
109:18, 110:15,
113:7, 113:10

Mary [6] - 90:10,
90:23, 90:25, 91:3,
91:5, 91:8

Mary's [3] - 91:14,
92:13, 92:21

material [3] - 53:5,
53:7, 83:14

matter [1] - 32:7

Matter [1] - 1:5

mean jg] - 28:13,
33:14, 35:2, 35:6,
51:8, 69:20, 108:3,
120:7, 122:3

meaning [1] - 55:14

means [1] - 63:5

meant [1] - 9:11

measures [1] - 26:15

medical [1] - 116:11

medication [1] - 6:22

meet [4] - 12:22,
13:25, 22:11, 22:20

meeting [5] - 75:5,
75:6, 79:13, 81:4,
88:6

meetings [3] - 89:9,
89:18, 89:23

member [2] - 34:1,
90:18

members [3] - 14:7,
92:5, 92:6

memories [1] - 117:13

memory [2] - 6:23,
11:24

mention [1] - 72:1

mentioned [3] - 40:15,
79:14, 95:11

merit [2] - 25:3, 45:25

met [4] - 12:24, 23:1,
66:4, 88:6

Meyers [1] - 84:12

might [7] - 6:7, 9:22,

 

39 of 45 sheets

Page 7 to 7 of 13

02/24/2020 04:45:47 PM

 

 

 
 

 

42:6, 51:12, 53:21,
65:19, 110:5

Minneapolis [4] -
1:16, 2:6, 2:11,
124:23

MINNESOTA 11] -
125:1

Minnesota [4] - 1:17,
2:6, 2:11, 124:23

minute [2] - 8:17,
44:24

minutes [2] - 106:1,
110:18

minutiae [1] - 48:9

mixing [1] - 91:10

moment [3] - 23:9,
63:22, 108:17

months [2] - 88:5,
94:1

most 3] - 57:2, 62:20,
90:10

motive [2] - 118:17,
119:17

MR [1] - 4:12

MS [143] - 4:9, 4:14,
4:19, 8:8, 8:20, 8:24,
10:4, 10:6, 10:8,
10:11, 10:12, 10:14,
10:15, 11:6, 11:8,
22:12, 22:14, 22:15,
23:8, 23:11, 23:13,
23:19, 23:22, 23:24,
23:25, 31:5, 31:8,
31:11, 36:3, 36:4,
36:11, 37:12, 37:13,
37:17, 37:18, 41:8,
41:11, 41:12, 43:5,
43:7, 43:10, 44:16,
44:18, 45:2, 45:12,
45:19, 46:16, 46:21,
48:25, 49:2, 49:17,
49:19, 50:23, 51:1,
51:13, 51:15, 51:17,
51:19, 52:14, 52:16,
52:17, 68:4, 68:7,
68:10, 68:12, 68:20,
71:23, 72:20, 72:24,
73:3, 73:11, 73:16,
73:20, 73:21, 75:16,
76:14, 76:25, 81:13,
82:1, 82:4, 84:23,
87:12, 87:24, 89:10,
89:11, 89:12, 92:15,
92:17, 92:19, 94:22,
94:24, 95:24, 97:5,
98:23, 99:3, 100:5,
100:10, 104:8,
104:24, 104:25,
105:14, 105:16,
105:20, 105:23,

 

105:25, 106:4,
107:10, 107:13,
107:17, 107:24,
408:10, 108:14,
111:2, 111:9,
411:22, 112:4,
412:20, 112:23,
413:8, 113:19,
113:21, 113:25,
114:3, 114:6, 114:8,
115:1, 115:3,
115:16, 115:21,
115:23, 116:3,
116:16, 116:24,
117:4, 117:6, 119:7,
119:11, 120:22,
121:1, 121:5,
122:12, 122:15,
122:17

multiple [4] - 24:16

MY [1] - 125:20

Myers [9] - 83:20,
84:2, 95:2, 96:10,
96:20, 100:24,
101:14, 101:17,
101:18

Myers’ [1] - 101:22

name [6] - 4:21, 80:24,
93:7, 93:9, 93:14,
108:5

names [2] - 56:22,
91:11

nationally [1] - 23:16

nearly [1] - 29:14

necessarily [4] - 44:6,
§8:22, 119:18

necessary [1] - 70:5

need [9] - 6:11, 6:13,
6:14, 44:24, 55:17,
71:1, 85:13, 86:1,
410:19

needs [1] - 85:12

negative [1] - 88:7

neutral [4] - 33:21,
33:25, 35:8, 35:9

next [6] - 14:4, 27:22,
35:16, 61:8, 79:17,
79:19

Nilan [1} - 2:10

No. Change [11]
- 123:8, 123:11,
123:14, 123:17,
123:20, 123:23,
124:1, 124:5, 124:8,
424:11, 124:14

No. Line [14] -
123:8, 123:11,
423:14, 123:17,
423:20, 123:23,
124:1, 124:5, 124:8,

 

124:11, 124:14

non [3] - 39:23, 65:7,
12271

non-retaliation [2] -
39:23, 65:7

non-TDP [1] - 122:1

NORDIN [1] - 4:12

Nordin [2] - 2:4, 4:12

Nos [1] - 8:6

NOT [1] - 125:12

Notary [2] - 1:14,
125:23

note [1] - 5:18

notes [11] - 16:16,
17:17, 19:15, 49:8,
69:23, 72:9, 73:8,
96:21, 96:22, 96:23,
105:6

nothing [2] - 96:24,
125:6

notice [4] - 9:6, 72:21,
105:15, 113:20

Notice [2] - 1:15, 68:6

noticed [2] - 94:2,
125:17

notifying [1] - 63:18

noting [1] - 123:4

number [15] - 10:18,
11:5, 23:14, 25:13,
26:12, 27:5, 27:19,
29:14, 32:24, 93:13,
93:18, 106:19,
107:14, 110:3, 123:4

numbered [3] - 9:12,
109:8, 112:7

oath [1] - 4:6

object [2] - 36:3, 68:5

objected [2] - 52:21,
106:7

objection [38] - 31:5,
37:12, 41:8, 43:5,
44:16, 48:25, 49:17,
50:23, 52:14, 68:12,
71:23, 72:20, 73:3,
76:14, 87:12, 89:10,
92:15, 94:22, 98:23,
104:8, 104:24,
105:14, 105:23,
107:10, 108:10,
4174:2, 1114:22,
112:20, 113:19,
114:3, 115:4,
415:16, 115:23,
116:16, 117:4,
119:7, 120:22, 121:5

objections [1] - 6:7

OBJECTIONS [1] -
2:19

objective [3] - 99:14,
99:19, 100:1

 

occurred [4] - 44:3,
87:3, 118:19, 119:3

OF [2] - 125:1, 125:2

Off-the-record [1] -
23:10

office [2] - 28:23, 29:6

official [4] - 7:17,
11:10, 54:11, 113:4

often [1] - 114:25

old [4] - 85:9, 88:20,
98:10, 98:11

on-site [1] - 36:23

once [3] - 32:15,
63:16, 70:12

one [30] - 6:15, 20:3,
28:4, 28:5, 29:5,
36:25, 37:3, 42:9,
43:2, 43:13, 44:19,
45:1, 60:11, 66:9,
74:25, 78:22, 88:6,
88:20, 89:9, 89:18,
89:23, 90:19,
106:12, 120:24

one-on-one (g] - 43:2,
43:13, 88:6, 89:9,
89:18, 89:23

open [t] - 66:8

opinion [2] - 94:7,
94:18

opportunity (4) -
63:10, 110:21,
111:13, 112:10

Opportunity [1] -
15:15

option [1] - 38:7

Optum [3] - 77:20,
78:2, 88:5

order [1] - 49:23

ordered [1] - 125:18

organization (4) - ,
26:24, 34:1, 53:15,
120:13

organizations [1] -
59:11

original [3] - 81:25,
83:12, 125:17

Original [1] - 124:20

otherwise [3] - 30:24,
42:7, 83:13

outcome [1] - 125:15

outside [14] - 52:21,
73:7, 74:6, 74:8,
105:15, 106:8,
111:4, 111:24,
111:25, 112:3,
412:17, 112:21,
113:2, 120:8

overall 11] - 95:9

overestimating [1] -
116:19

 

overview [1] - 54:24
own [5] - 11:24, 42:11,
55:9, 63:14, 68:15

owner [3] - 83:23,
84:10, 101:18

owning [1] - 53:14

p.m [1] - 96:8

Page [11] - 123:8,
123:11, 123:14,
123:17, 123:20,
123:23, 124:1,
124:5, 124:8,
124:11, 124:14

page [27] - 9:9, 9:11,
9:13, 14:5, 18:22,
18:23, 85:7, 86:9,
88:1, 91:13, 91:15,
91:16, 91:18, 91:20,
91:22, 93:6, 93:7,
97:10, 98:2, 102:4,
106:15, 109:7,
110:16, 111:10,
112:5, 112:7, 123:4

pages [1] - 9:16

paragraph [34] -
20:10, 85:6, 86:11,
86:16, 87:6, 88:1,
88:2, 88:4, 90:4,
91:19, 91:21, 92:1,
98:3, 98:18, 99:2,
99:8, 99:12, 99:23,
101:24, 102:3,
102:4, 106:18,
106:21, 109:8,
109:13, 109:20,
109:23, 110:1,
110:15, 110:25,
112:7, 112:12,
412:13, 112:19

paragraphs [9 - 19:3,
20:25, 21:11,
411:11, 111:21,
112:25

part [50] - 24:1, 35:10,
35:19, 38:25, 40:2,
40:8, 40:18, 41:20,
42:10, 46:8, 47:4,
47:6, 47:12, 48:1,
48:7, 49:15, 54:13,
55:15, 55:22, 56:7,
61:5, 73:1, 78:9,
82:16, 83:16, 84:2,
86:1, 86:9, 86:10,
90:14, 91:4, 91:5,
92:11, 92:13, 92:20,
92:21, 94:13, 94:25,
97:16, 100:25,
101:4, 103:21,
104:14, 104:15,
104:20, 107:18,

 

02/24/2020 04:45:47 PM

Page 8 to 8 of 13

40 of 45 sheets

 

 
 

 

411:1, 111:19,
412:16, 121:16

participants [1] -
121:25

participated [2] -
120:18, 120:19

particular [19] - 28:23,
33:11, 39:10, 41:2,
42:5, 47:11, 48:9,
59:18, 62:6, 68:14,
77:11, 78:5, 92:21,
94:17, 104:1, 104:5,
116:22, 117:13,
119:15

parties [3] - 53:22,
125:14, 125:18

party [4] - 33:22,
33:23, 33:25, 125:17

pass [1] - 28:8

past [1] - 93:25

pasted [3] - 81:24,
82:9, 82:12

paitern [5] - 43:1,
43:17, 43:24, 44:3,
44:4

payroll [1] - 27:9

pays [1] - 98:11

peer [3] - 78:8, 78:17,
101:3

peers [5] - 100:13,
100:16, 100:17,
101:8

people [25] - 10:18,
23:15, 25:19, 27:7,
28:24, 29:3, 29:9,
29:12, 38:5, 53:12,
53:16, 53:18, 54:20,
69:20, 77:8, 88:17,
88:21, 98:9, 98:10,
98:11, 98:12,
121:17, 121:18,
121:24

people's [1] - 56:5

per [3] - 73:7, 111:4,
116:14

percent [1] - 50:5

perform [1] - 30:24

performance [42] -
12:7, 14:6, 17:2,
45:23, 46:5, 46:6,
46:10, 46:11, 46:24,
54:5, 54:8, 54:24,
55:1, 55:4, 55:17,
56:20, 57:3, 57:8,
59:2, 59:13, 59:16,
59:23, 62:11, 62:16,
62:21, 63:12, 63:21,
63:24, 64:1, 76:18,
84:6, 84:8, 84:9,
87:15, 99:14, 99:20,

 

100:2, 102:11,
102:14, 102:18,
102:24, 103:4
performed {3 - 47:15,
48:1, 76:23
performing (4) -
45:22, 66:12, 71:4,
73:12
perhaps [2] - 55:16,
90:25
period [2] - 10:19,
13:13
person [21] - 33:17,
36:18, 37:20, 44:8,
46:12, 50:5, 51:22,
52:8, 56:5, 58:1,
58:16, 58:23, 66:13,
70:4, 77:2, 77:7,
78:7, 78:8, 80:6,
96:14
personal [9] - 8:13,
12:2, 18:17, 24:5,
31:7, 65:4, 77:25,
414:10
personnel [1] - 53:23
phases [1] - 94:4
phone [1] - 27:19
phrase [1] - 43:8
Placella [1] - 1:10
plaintiff [1] - 6:19
plan [14] - 17:14, 59:9,
60:10, 60:16, 60:23,
61:18, 61:25, 63:1,
63:2, 63:15, 64:11,
65:12, 66:5, 76:22
plans [4] - 16:15,
17:17, 21:25, 59:19
PLLC [2] - 2:4, 124:21
point [3] - 47:19, 63:1,
94:10
pointed [1] - 44:9
pointing [1] - 87:14
policies [15] - 14:6,
26:2, 31:22, 32:3,
32:4, 32:11, 64:18,
64:25, 65:8, 65:13,
65:16, 119:25,
122:1, 122:4, 122:5
policy [42] - 12:5,
15:1, 24:10, 24:14,
24:18, 24:20, 24:22,
25:1, 25:7, 25:10,
25:17, 25:22, 26:5,
29:23, 31:4, 39:24,
53:2, 53:5, 53:7,
53:8, 53:11, 53:13,
53:14, 54:7, 54:9,
54:11, 59:14, 59:18,
59:20, 62:17, 62:23,
64:23, 65:2, 65:3,

 

65:4, 65:5, 65:6,
65:7, 65:18, 65:23
Policy [1] - 15:15
population [1] - 36:20
portion [3] - 45:4,
46:18, 100:7
position [3] - 7:14,
35:9, 67:7
positions [1] - 7:19
possibility [1] - 38:2
possible [2] - 53:5,
64:6
possibly [6] - 27:8,
27:14, 28:1, 41:2,
51:10, 51:25
posting [1] - 53:18
poteniial [2] - 13:10,
412:15
practice [1] - 43:17
practices [2] - 11:11,
14:25
preceded [1] - 76:19
prepare [36] - 10:23,
41:16, 11:19, 11:21,
12:10, 12:13, 12:19,
12:23, 13:16, 13:23,
13:25, 14:12, 14:18,
14:22, 15:5, 15:19,
16:5, 16:22, 17:9,
17:21, 17:24, 18:5,
19:7, 19:8, 19:20,
49:24, 20:14, 20:18,
21:2, 21:16, 22:2,
22:6, 22:8, 22:16,
23:2, 23:5
prepared [13] - 10:1,
10:8, 10:19, 11:13,
12:7, 13:13, 14:10,
15:3, 16:2, 17:6,
18:9, 19:4, 20:11,
21:13, 93:10,
103:17, 107:4,
107:21
present [1] - 57:21
presently [1] - 29:2
president (1) - 77:20
pretty [2] - 114:24,
120:24
prevent [1] - 39:13
previous [6] - 17:21,
47:5, 47:6, 49:14,
84:7, 101:7
previously (2] - 62:22,
66:14
primarily (2) - 25:25,
65:24
primary [3] - 79:2,
80:3, 116:20
privileged [1] - 121:6
proactive [2] - 55:3,

 

55:13

procedural [1] - 105:3

procedure [15] -
34:15, 36:1, 54:10,
54:12, 54:24, 55:4,
§9:21, 59:22, 59:23,
60:1, 60:14, 60:18,
60:20, 66:6

procedures [6] -
11:10, 12:6, 14:7,
65:13, 105:2, 117:20

process [6g] - 12:15,
12:17, 14:17, 28:11,
33:7, 33:8, 33:11,
33:24, 34:13, 38:25,
39:12, 40:3, 40:14,
40:19, 41:7, 41:14,
42:10, 44:25, 47:18,
48:8, 48:11, 55:19,
55:20, 55:22, 56:8,
60:5, 60:25, 61:4,
61:5, 61:9, 64:19,
62:13, 64:2, 64:6,
66:3, 67:14, 70:17,
71:14, 71:19, 72:8,
72:12, 72:19, 73:1,
73:2, 74:7, 74:8,
75:24, 77:13, 83:2,
83:17, 84:3, 97:17,
97:20, 104:15,
105:9, 111:1, 111:8,
111:19, 111:25,
112:22, 113:3,
117:8, 117:11,
117:16, 117:17,
118:7, 118:11

processes [2] - 32:24,
412:3

produce [1] - 55:10

produced [1] - 113:18

product [4] - 83:23,
101:4, 101:19,
104:14

products [2] - 84:10,
101:23

professional (4) -
7:12, 70:22, 78:1,
114:20

program [15] - 120:2,
4120:3, 120:7, 120:8,
120:10, 120:20,
121:4, 121:14,
121:15, 121:17,
421:18, 121:19,
121:23, 122:8,
122:10

programs [1] - 14:25

progress [1] - 110:8

progressive [1] - 62:6

prohibited [2] - 24:17,

 

40:1

project [2] - 110:2,
110:4

projects [2] - 48:9,
76:22

proper [1] - 55:24

provide [23] - 25:11,
25:12, 30:24, 33:4,
36:7, 36:25, 37:8,
37:10, 37:21, 38:4,
39:14, 49:8, 56:19,
56:22, 57:15, 57:20,
63:14, 63:19, 66:18,
66:22, 71:15, 79:7,
87:22

provided [15] - 31:2,
31:13, 31:21, 34:9,
38:12, 39:18, 39:24,
58:17, 58:19, 58:20,
59:3, 59:6, 76:20,
101:3, 1014:9

providing [3] - 38:7,
55:7, 87:20

proving [1] - 67:11

Public [2] - 1:15,
125:23

pull [4] - 81:25

purpose [jj - 24:13,
79:23, 79:25, 80:3,
86:22

purposes [1] - 58:10

pursuant (1) - 1:15

put [2] - 49:9, 103:8

questioning [1] - 6:17

questions [24] - 4:23,
5:8, 5:9, 5:19, 6:7,
9:25, 18:15, 18:17,
18:18, 19:24, 24:3,
24:5, 29:24, 33:5,
57:24, 58:7, 73:23,
80:6, 93:3, 93:24,
114:7, 114:10,
422:16, 122:17

quick [2] - 35:1, 106:2

quickly [1] - 77:6

quiz [1] - 32:13

quote [3] - 58:5,
98:11, 98:12

race [11] - 25:4,
116:11, 116:13,
117:1, 117:24,
118:3, 118:12,
118:21, 118:25,
119:4, 119:13

racial [2] - 118:7,
119:25

raise [2] - 74:22, 80:1

raised [1] - 79:3

random (1] - 44:7

rarely (1) - 119:21

 

41 of 45 sheets

Page 9 to 9 of 13

02/24/2020 04:45:47 PM

 

 
10

 

 

rate [1] - 125:18

rather [3] - 19:13,
114:10, 121:21

RE [1] - 1:6

reach [11] - 27:11,
32:25, 33:1, 33:12,
33:21, 34:21, 36:2,
44:7, 61:22, 97:23,
99:24

reaches [1] - 35:13

reaching [2] - 36:17,
56:10

reactive [1] - 55:13

read [16] - 14:4, 45:2,
45:4, 46:16, 46:18,
88:9, 93:21, 98:7,
100:5, 100:7,
110:19, 110:20,
411:13, 112:9,
122:18, 123:2

reading [9] - 87:5,
90:12, 92:8, 94:11,
98:16, 99:15,
102:11, 125:12

reads [17] - 10:17,
41:9, 12:5, 13:5,
14:24, 15:21, 16:25,
18:23, 20:5, 21:7,
86:18, 90:8, 92:4,
93:23, 99:13, 102:8,
106:21

real [2] - 86:23, 86:24

realize [1] - 11:6

really [4] - 73:9, 116:2,
121:9, 122:8

reason [9] - 24:25,
39:3, 39:6, 63:24,
78:16, 87:15, 123:5,
124:3

Reason [10] - 123:10,
123:13, 123:16,
123:19, 123:22,
123:25, 124:7,
124:10, 124:13,
124:16

reasons [3] - 62:15,
74:25, 76:17

recalled [1] - 11:25

receive [3] - 32:16,
50:14, 79:13

received [5] - 77:17,
78:5, 78:15, 79:16,
97:16

receives [1] - 77:4

receiving [1] - 105:10

recognize [10] - 8:18,
75:18, 81:15, 82:6,
84:25, 96:1, 97:7,
108:16, 113:10,
114:1

 

recognized [1] - 8:24
recollection [4] - 12:3,
75:6, 88:15, 88:22
recommendation [4] -
66:18, 66:22, 67:17,

67:19

record [19] - 4:21,
5:14, 5:21, 5:23,
6:12, 10:4, 23:9,
23:10, 23:12, 23:19,
51:18, 51:21, 73:18,
73:20, 93:22, 106:1,
106:5, 122:13,
425:10

recorded [1] - 125:7

recording [3] - 15:25,
17:4, 106:25

records [3] - 70:9,
73:5, 96:19

recruitment [4] - 15:2,
27:9, 121:17, 121:21

reduced [1] - 125:8

refer [9] - 5:1, 11:18,
20:21, 21:15, 59:10,
69:2, 100:23,
402:19, 109:14

REFERENCE (1 -
2:15

referred [12] - 4:25,
17:24, 19:20, 19:24,
20:18, 54:13, 90:16,
90:24, 92:13, 92:16,
100:18, 110:3

referring [2] - 101:16,
102:20

refers [4] - 101:16,
101:25, 102:13,
102:17

reflect [3] - 69:10,
96:9, 97:22

reflected [10] - 19:3,
20:10, 21:11, 54:15,
54:19, 71:7, 100:19,
109:12, 109:25

reflecting [2] - 84:12,
400:18

reflection [3] - 99:14,
99:19, 100:1

reflects [1] - 109:4

refreshed [1] - 11:24

regard [3] - 109:23,
116:12, 118:4

regarding [9] - 13:11,
38:18, 68:22, 69:11,
73:23, 93:11, 94:18,
96:5, 109:20

regardless (3) - 34:13,
55:3, 61:5

regular [1] - 71:8

regularly [1] - 57:4

 

reinstate [2] - 67:18,
67:25
reinstated [2] - 67:7,
68:2
reinstatements [1] -
68:19
related [30] - 4:23,
14:25, 16:16, 19:17,
19:25, 25:14, 25:15,
25:20, 30:7, 39:21,
40:20, 40:25, 41:3,
46:4, 54:8, 68:23,
71:11, 84:7, 84:9,
95:15, 98:15, 99:2,
104:1, 104:5,
111:17, 115:11,
116:13, 116:22,
121:20, 125:14
relates [3] - 39:10,
39:19, 119:25
relation [4] - 28:18,
30:5, 74:16, 122:3
relations [37] - 7:16,
7:24, 27:10, 28:14,
28:15, 28:16, 28:25,
29:3, 29:12, 29:19,
29:22, 29:24, 30:2,
30:4, 30:10, 30:11,
30:15, 30:19, 32:19,
32:25, 34:21, 35:12,
§3:14, 53:19, 53:23,
61:14, 66:8, 66:13,
66:21, 67:1, 67:3,
69:21, 70:4, 70:6,
70:21, 78:12
relationship (1) - 58:1
relative [1] - 125:6
relevant [4] - 10:19,
13:12, 70:5, 70:23
relied [7) - 12:2,
18:24, 20:6, 21:8,
22:6, 97:23, 99:24
religion [1] - 25:4
rely (4) - 20:17, 36:25,
44:21, 45:23
remain [1] - 50:22
remaining [1] - 105:2
remember [5] - 11:2,
74:9, 88:24, 91:9,
121:10
remembering [1] -
83:9
remind [1] - 30:13

‘repeat [5] - 37:15,

41:10, 45:1, 46:14,
100:4
rephrase [7] - 6:2,
21:3, 34:5, 38:15,
42:21, 89:11, 92:17
report [9] - 11:1, 14:3,

 

26:13, 25:19, 26:13,
27:18, 27:20, 73:23,
74:1
reported [15] - 26:19,
26:20, 26:21, 26:22,
27:1, 27:12, 38:18,
41:17, 69:16, 76:18,
84:7, 84:15, 87:16,
87:19, 89:17
reporter [4] - 5:10,
45:5, 46:19, 100:8
reporting [1] - 94:4
reports [7] - 11:11,
13:6, 16:1, 17:5,
37:8, 69:10, 107:1
representative [6] -
8:10, 18:16, 24:3,
68:15, 93:3, 114:71
representing [1] -
4:10
repurpose [1] - 49:23
request [7] - 37:3,
56:4, 56:22, 56:23,
56:25, 58:2, 58:3
requested [4] - 45:4,
46:18, 82:16, 100:7
requesting [1] - 81:19
require [7] - 34:4,
34:6, 34:11, 38:4,
44:6, 71:19, 72:9
required [3] - 32:13,
62:5, 62:7
requirement (4 -
55:20, 56:11, 72:8,
73:6
requires [5] - 34:13,
36:1, 55:15, 61:21,
71:14
research [4] - 18:25,
20:7, 21:9, 109:11
resolution [49] -
16:10, 16:15, 16:17,
16:18, 17:16, 17:18,
19:14, 19:16, 19:18,
21:20, 21:21, 33:6,
33:8, 33:11, 33:24,
34:13, 40:14, 47:17,
48:7, 50:14, 60:19,
60:24, 61:4, 61:11,
61:14, 67:11, 67:13,
67:14, 67:24, 70:17,
71:9, 71:11, 71:14,
71:25, 74:2, 74:7,
75:22, 75:24, 76:3,
78:9, 79:21, 81:2,
96:6, 103:23,
104:15, 105:11,
109:15, 111:8, 113:3
Resolution [2] - 76:5,
76:12

 

resolutions [1] - 28:22
resources [1] - 7:5
respect [3] - 98:4,
98:8, 99:9
respective [1] -
125:13
respondent [1] -
10:18
Respondent [5] -
13:12, 14:9, 16:2,
17:6, 107:2
respondent's [3 -
11:9, 12:5, 13:9
Respondent's [4] -
14:24, 15:21, 16:25,
106:22
Respondents (3) -
19:1, 20:8, 21:9
Respondents' [3] -
19:2, 20:9, 21:10
responding [1] -
{05:21
response [25] - 50:14,
71:15, 71:16, 71:20,
72:3, 72:15, 78:9,
78:11, 78:16, 78:25,
79:3, 79:7, 79:9,
79:13, 80:16, 81:23,
85:14, 96:6, 97:11,
97:13, 97:14, 105:5,
105:11, 109:17,
109:21
responses [1] - 76:20
responsibilities (2) -
30:18, 116:21
responsibility [3] -
26:8, 47:18, 104:16
responsible [14 -
25:25, 26:4, 28:16,
28:19, 28:21, 31:25,
53:10, 53:14, 53:17,
67:23, 70:18, 83:24,
92:24, 104:10
result [12] - 25:3, 33:9,
46:2, 61:12, 52:1,
65:16, 65:19, 90:2,
101:4, 107:9,
118:25, 119:13
resulting [3] - 16:1,
17:5, 107:1
retain [1] - 73:8
retained [1] - 73:2
retaliated [1] - 40:2
retaliation [6 - 13:7,
39:13, 39:23, 39:25,
65:6, 65:7
returned [1] - 81:1
review [73] - 10:22,
10:25, 11:15, 12:14,
12:16, 12:17, 14:16,

 

 

02/24/2020 04:45:47 PM

Page 10 to 10 of 13

42 of 45 sheets

 

 
Ll

 

 

15:11, 15:16, 16:11,
17:14, 19:13, 20:25,
21:19, 41:4, 46:5,
46:10, 46:11, 46:12,
46:24, 47:4, 47:5,
47:10, 47:19, 55:2,
55:3, 55:10, 55:11,
55:12, 55:21, 56:6,
56:8, 56:12, 56:18,
57:6, 57:7, 57:17,
57:21, 58:11, 58:12,
58:21, 59:1, 59:23,
63:23, 63:24, 64:2,
64:13, 64:14, 66:13,
67:12, 69:5, 69:7,
69:23, 81:20, 82:10,
82:13, 86:19, 91:9,
91:14, 92:13, 92:24,
93:10, 94:15, 95:16,
102:21, 109:20

reviewed /28] - 9:12,
9:15, 12:14, 13:20,
14:16, 15:9, 15:14,
16:9, 16:10, 16:19,
17:13, 17:16, 17:21,
19:12, 24:17, 21:18,
71:17, 71:21, 77:6,
77:15, 78:8, 78:16,
78:17, 100:15,
101:6, 104:2,
410:10, 110:14

reviewing [1] - 35:19

reviews [36] - 12:7,
16:12, 17:15, 19:12,
19:14, 21:22, 21:24,
45:24, 46:6, 47:5,
54:5, 54:8, 54:21,
54:25, 55:1, 55:13,
56:12, 57:8, 57:13,
58:10, 58:16, 58:21,
63:22, 67:23, 81:19,
81:24, 82:10, 82:12,
82:15, 82:16, 82:19,
83:1, 83:11, 103:4,
103:8

revised [1] - 53:3

Rights [1] - 24:23

River [1] - 7:10

role [3] - 30:18, 32:19,
105:21

roles [1] - 120:15

root [1] ~ 86:24

roughly [1] - 116:14

RPR [2] - 1:14, 125:22

rule [2] - 44:14, 45:16

rules [2] - 5:7, 14:6

S-E-R-V-I-C-E [1] -
108:6

safe [1] - 104:4

sake [2] - 4:24, 5:11

 

salary [1] - 30:1

Sandra [2] - 2:9, 12:24

sandra [1] - 4:14

saw [2] - 9:18, 108:22

scenario [2] - 42:8,
52:7

schedule [2] - 79:17,
79:21

Schedule [1] - 9:10

school [1] - 120:9

scope [5] - 52:15,
68:5, 72:21, 105:15,
113:20

se[t]- 111:4

SEAL [1] - 125:20

second [6] - 33:7,
55:11, 88:24, 98:2,
98:3, 1214:11

section [2] - 15:13,
110:8

see [32] - 46:9, 48:11,
69:5, 77:2, 77:16,
79:4, 80:9, 86:12,
86:14, 86:21, 87:25,
88:2, 89:6, 90:5,
90:7, 91:13, 91:19,
91:25, 93:6, 93:13,
93:19, 98:3, 99:10,
102:4, 104:18,
106:18, 108:17,
109:8, 110:15,
112:6, 116:15,
{21:20

seek [5] - 42:11,
42:14, 43:25, 56:17,
83:17

seem [1] - 89:2

select [1] - 56:19

self [1] - 55:6

self-evaluation [1 -
55:6

send [4] - 56:4, 80:15,
80:17, 124:20

senior [4] - 7:23,
29:24, 30:4, 30:9

sense [4] - 5:2, 5:16,
5:23, 52:10

sent [9] - 74:12, 75:5,
85:17, 86:20, 96:8,
104:23, 105:1,
105:4, 105:10

sentence [13] - 58:25,
86:14, 86:18, 90:8,
90:12, 90:17, 90:24,
91:25, 92:4, 92:9,
99:12, 102:5, 102:8

sentences [1] - 87:8

separate [4] - 18:19,
30:12, 31:17, 32:23

separately [2] - 39:4,

 

117:23
series [2] - 4:22, 5:9
serious (2] - 62:16
Service [2) - 13:2,
108:4
serving [1) - 33:24
set [2] - 39:12, 39:16
several [1] - 120:12
severe [1] - 62:20
severity [1] - 51:9
shared (1] - 26:8
SHEET [1] - 123:7
sheet [1] - 124:20
shift [2] - 64:16, 114:9
Short jg) - 51:16,
106:3, 122:14
shorthand [1] - 125:8
show [1] - 69:2
sic [1] - 32:9
sides [2] - 94:8, 94:19
sign (1) - 122:18
signed [1] - 105:5
signing [1] - 125:12
similar [4] - 5:18,
39:20, 59:22, 62:15
simply [1] - 44:4
single [1] - 42:23
site [7] - 12:18, 15:10,
36:23, 54:18, 60:7,
64:21, 65:22
situation [7] - 12:1,
36:9, 42:13, 47:9,
51:10, 65:25, 70:24
situations [3] - 37:25,
86:23
six [1] - 116:18
sjezierski@
nilanjohnson.com
[1] - 2:12
skills [1] - 93:24
slew [1] - 118:18
slight [1] - 45:13
slightly [1] - 73:17
SO.. [1] - 65:20
soft [2] - 54:20, 56:5
someone [3] - 10:9,
27:23, 87:23
sometimes [1] - 43:12
sorry [40] - 8:22, 8:23,
9:10, 11:6, 11:16,
19:8, 21:3, 23:22,
26:6, 35:6, 37:1,
38:13, 38:15, 41:9,
42:20, 42:24, 43:21,
44:25, 49:5, 50:19,
52:9, 64:10, 64:12,
69:9, 70:11, 72:9,
76:3, 78:21, 89:11,
92:17, 93:15, 95:11,
97:2, 97:15, 99:21,

 

100:3, 102:16,
103:2, 104:2, 118:4

sort [4] - 59:11, 79:6,
420:10, 120:12

sounded [1] - 31:7

source [2] - 31:23,
83:12

South [4] - 1:16, 2:5,
2:10, 124:22

speaking [11] - 28:17,
28:18, 29:11, 33:1,
35:18, 38:19, 39:25,
40:6, 40:12, 78:11,
79:9

speaks [1] - 79:2

specific [20] - 19:2,
20:9, 21:10, 34:15,
35:25, 39:10, 40:18,
44:10, 44:19, 45:15,
45:20, 59:2, 75:13,
76:11, 76:22, 95:11,
104:1, 104:19,
109:12, 119:19

specifically (5) - 6:8,
15:11, 52:19, 94:21,
115:11

specifics (1) - 68:17

specify [2] - 24:18,
24:20

spell [1] - 108:5

spoken [3] - 71:17,
71:22, 91:5

spreadsheet [1] - 11:4

staff [1}- 121:16

stages [1] - 122:8

stand [1] - 97:25

standard [2 - 57:12,
122:4

standpoint [1] - 68:15

start [6] - 37:1, 64:3,
81:4, 89:15, 115:8,
117:25

started [2] - 80:10,
83:3

starts [1] - 91:16

STATE (1) - 125:1

state [3] - 4:20, 36:8,
53:20

statement [2] - 89:2,
94:17

statements [12] -
15:25, 17:4, 18:24,
20:6, 21:8, 38:17,
85:8, 86:4, 86:8,
89:8, 98:15, 107:1

States [1] - 29:17

status [1] - 96:5

stay [1] - 80:19

step [8] - 11:25, 27:22,
61:1, 61:8, 79:17,

 

79:19, 95:12, 97:20

steps [1] - 105:9

still (4) - 52:22, 63:9,
83:22, 93:2

stopped [1] - 94:10

stories [1] - 86:23

straight [1] - 115:20

Street [4] - 1:16, 2:5,
2:10, 124:22

strike [5] - 49:5, 52:5,
72:10, 97:2, 99:17

structured [1] - 29:20

struggled [1] - 94:2

subject [3] - 32:7,
121:25, 122:5

submission [1] -
13:20

submit [2] - 61:13,
61:16

submitted [6] - 47:4,
47-6, 63:17, 63:24,
74:9, 80:5

subsequent [1] -
103:24

substance [4] - 22:21,
38:11, 60:15, 60:23

substantiate [9] -
41:6, 41:15, 42:5,
45:10, 46:23, 98:13,
98:21, 99:1, 99:6

substantiated [19] -
35:23, 41:25, 42:2,
51:4, 51:5, 51:11,
§1:23, 51:24, 52:13,
115:15, 115:25,
117:3, 118:4, 118:8,
118:12, 118:20,
418:22, 119:10,
119:23

subsiantiation [1] -
116:1

successful [1] - 67:10

Suite [4] - 1:16, 2:5,
2:11, 124:22

Sujatha [16] - 1:8, 2:8,
68:22, 85:8, 86:21,
86:25, 87:3, 88:6,
89:14, 89:17, 89:24,
95:3, 95:4, 95:7,
95:8

summarized [1] -
84:18

supervision [1] - 14:8

supervisor [7] - 50:10,
50:22, 66:3, 100:12,
100:16, 101:8, 118:2

supervisor’ [1] -
101:25

supervisors [3] -
15:24, 17:3, 106:25

 

43 of 45 sheets

Page 11 to 11 of 13

02/24/2020 04:45:47 PM

 

 

 
12

 

 

supplied [1] - 91:8

supply [1] - 78:10

support [1] - 35:20

supported [1] - 42:4

supposed [1] - 81:1

switch [1] - 54:4

sworn [2] - 4:5, 125:5

system [21] - 27:13,
27:25, 56:4, 60:12,
64:9, 64:15, 67:4,
69:15, 69:18, 69:24,
70:8, 70:13, 70:23,
71:3, 71:7, 71:12,
72:2, 72:5, 72:16,
82:13, 105:8

talks [2] - 65:18, 65:23

TANYA [6] - 1:14, 4:2,
4:4, 123:1, 124:19,
125:4

Tanya [2] - 4:16, 10:5

task [3] - 94:6, 104:2,
104:5

task-related [1] -
104:5

tasks [2] - 104:13,
104:19

TDP [5] - 120:8,
421:14, 121:19,
121:25, 122:1

team [16] - 14:7,
26:21, 28:9, 28:12,
30:8, 56:24, 56:25,
78:13, 88:7, 90:3,
90:10, 90:11, 90:19,
92:6, 94:1, 113:14

teammates [3] - 88:9,
89:4, 90:9

technical [2] - 90:11,
120:15

technically (1] - 77:3

technological [1] -
104:14

technology [7] - 50:4,
101:21, 104:13,
120:3, 120:7,
120:20, 121:3

telecommuting [1] -
36:20

telephone [1] - 36:21

template (4) - 80:16,
80:20, 80:22, 80:23

terminate [4] - 66:24,
95:10, 95:18, 104:18

terminated [12] -
48:14, 48:24, 49:4,
49:13, 63:7, 63:25,
64:7, 68:3, 119:13,
4119:19, 119:20,
120:1

termination [39] -

 

33:19, 47:22, 51:10,
51:25, 63:3, 65:14,
65:17, 65:20, 65:23,
66:6, 66:20, 66:23,
67:3, 67:6, 67:15,
76:10, 76:17, 76:20,
95:9, 96:17, 97:24,
97:25, 102:6, 102:9,
102:23, 104:19,
109:22, 113:5, 119:9

terminology [1] -
120:4

terms [4] - 34:20,
80:19, 111:7, 122:6

testify [47] - 6:23,
8:13, 10:2, 10:10,
10:20, 10:23, 11:13,
11:16, 14:19, 11:22,
12:7, 12:11, 12:20,
12:23, 13:13, 13:17,
13:23, 14:1, 14:10,
14:13, 14:19, 15:3,
15:6, 16:2, 16:6,
16:22, 17:6, 17:10,
17:25, 18:5, 18:9,
18:14, 19:5, 19:8,
20:11, 20:15, 21:2,
21:13, 21:16, 22:2,
22:7, 22:8, 23:2,
23:5, 107:4, 111:16,
125:5

testifying (4) - 8:10,
10:5, 24:7, 125:5

testimony [8] - 37:10,
37:21, 38:11, 39:14,
45:4, 46:18, 125:7,
125:10

testing [1] - 94:5

THE [46] - 4:16, 8:22,
31:10, 36:6, 37:15,
41:9, 43:6, 43:9,
44:17, 45:6, 45:18,
46:20, 49:1, 49:18,
50:24, 68:9, 68:13,
71:24, 72:22, 73:4,
76:15, 87:13, 92:16,
94:23, 98:24, 100:9,
104:9, 105:18,
105:24, 107:11,
107:14, 107:20,
108:11, 111:3,
411:23, 112:21,
113:23, 114:4,
115:2, 115:17,
115:24, 116:17,
117:5, 119:8,
120:23, 121:9

themselves [5] -
37:11, 38:23, 39:22,
39:23, 58:21

 

therefore [3] - 38:25,
86:7

they've [1] - 33:19

thinking [2] - 78:6,
95:12

thinks [1] - 70:6

third [4] - 33:12,
33:14, 77:9, 77:12

thorough (3; - 102:10,
102:14, 102:18

thoroughly [1] - 48:17

three [5] - 22:23,
86:15, 90:5, 91:2,
91:25

throughout [1] - 29:9

Thursday [2] - 9:21,
22:25

timeframe [1] - 79:12

timeframes [1] - 64:7

timeline (1) - 79:6

timing [2] - 64:1,
80:19

title [2] - 7:17, 30:14

titled [1] - 9:10

titles [3] - 7:25, 8:3,
113:16

today [27] - 4:23, 5:8,
6:24, 8:9, 8:12,
10:20, 11:13, 11:22,
12:8, 13:13, 13:17,
14:10, 15:3, 16:3,
16:6, 17:7, 18:15,
19:5, 19:9, 20:12,
21:13, 21:16, 22:7,
22:9, 23:2, 23:5,
107:3

today's [1] - 22:16

together [2] - 83:23,
103:9

took [2] - 60:22, 125:3

tool [6] - 31:23, 54:20,
66:5, 94:3, 94:9,
94:20

tools [1] - 83:24

top [3] - 9:10, 76:4,
93:7

topic [45] - 9:24, 10:2,
10:20, 10:23, 11:13,
11:17, 11:19, 11:22,
11:23, 12:5, 12:8,
12:11, 12:20, 12:23,
13:5, 13:14, 13:17,
13:23, 14:1, 14:4,
14:10, 14:13, 14:19,
14:24, 15:3, 15:6,
15:21, 16:3, 16:6,
16:23, 16:25, 17:7,
17:10, 17:21, 18:6,
18:14, 18:23, 19:5,
19:9, 20:12, 20:15,

 

20:24, 23:6, 106:8,
107:4, 107:8

Topic [11] - 10:5,
10:17, 11:9, 14:5,
18:9, 19:25, 20:5,
21:2, 21:13, 21:16,
22:3

Topics [7] - 9:11,
9:13, 9:15, 19:21,
20:2, 20:19, 21:18

topics [10] - 10:17,
17:25, 22:7, 22:9,
32:12, 32:15, 52:15,
52:22, 68:5, 106:8

topument [1] - 11:16

track [4] - 57:17,
80:19, 94:5, 120:13

tracks [2] - 34:4, 34:6

trainees [2] - 13:10,
14:8

training [11] - 25:11,
25:12, 26:11, 26:12,
31:2, 31:13, 31:16,
31:18, 31:21, 31:25,
32:15

trainings [1] - 30:24

transcribe [1] - 5:21

transcription [1] -
45:13

treated [1] - 25:3

treatment [1] - 13:8

true [2] - 123:3,
125:10

truly (4y - 83:14

truth [2] - 125:5, 125:6

truthfully [1] - 6:24

try [9] - 33:21, 34:24,
35:22, 43:7, 44:24,
46:6, 80:19, 117:12,
121:11

trying [5] - 9:21, 10:9,
88:18, 119:16, 121:9

turn [7] - 9:9, 18:22,
93:5, 98:2, 106:15,
109:7, 112:5

two [13] - 28:3, 32:23,
42:13, 59:1, 70:5,
77:8, 86:4, 86:7,
88:5, 89:20, 99:1,
114:23, 121:14

type [16] - 31:20,
33:20, 34:9, 41:5,
41:13, 44:13, 44:20,
45:15, 50:6, 53:13,
55:11, 71:2, 85:24,
116:23, 117:13,
119:25

types [6] - 31:17, 48:4,
57:7, 85:25, 116:4,
120:15

 

typewriiing [1] - 125:8
typical [6] - 48:7,
55:22, 79:12, 87:1,
87:21, 114:24
typically [32] - 33:9,
36:7, 36:23, 38:19,
38:24, 39:17, 39:20,
47:18, 49:18, 49:21,
50:19, 50:22, 50:24,
51:6, 53:22, 55:5,
56:3, 58:22, 62:9,
63:1, 63:3, 63:4,
63:6, 64:1, 64:3,
66:21, 71:16, 80:5,
80:23, 81:4, 118:17,
119:8
typos [1] - 78:25
UHG [3] - 91:16,
91:18, 93:6
UHG-Zhang000917
[1] - 93:6
UHG-Zhang00092 [1]
- 91:18
UHG-Zhang000921
1] - 91:16
ultimate [1] - 95:18
um-hmm [7] - 5:19
unable [3] - 98:13,
98:21, 98:25
unaware [1] - 113:1
unclear [1] - 72:3
under jg] - 4:6, 9:11,
9:12, 14:8, 15:13,
31:9, 50:22, 125:8
undergo [1] - 112:18
underneath [2] -
93:14, 93:22
understood [4] - 6:3,
68:8, 93:25, 94:6
undertaken [1] -
111:18
undertook [3] - 19:1,
20:8, 21:9
United [1] - 29:17
UnitedHealth (48) -
4:8, 2:8, 4:15, 4:17,
7:15, 7:20, 8:1, 8:4,
8:10, 9:6, 18:13,
18:16, 23:15, 24:4,
24:10, 25:1, 25:6,
25:9, 25:16, 26:3,
26:4, 26:19, 27:1,
29:10, 31:12, 31:13,
34:16, 50:11, 50:20,
52:12, 54:6, 54:7,
59:18, 60:2, 60:3,
64:19, 65:13, 68:2,
73:24, 74:1, 93:3,
97:23, 109:10,
112:17, 114:12,

 

 

02/24/2020 04:45:47 PM

Page 12 to 12 of 13

44 of 45 sheets
 

 

414:15, 115:10,
422:

UnitedHealth's (4) -
26:1, 31:3, 53:1,
64:17

University [1] - 7:9

unless [3] - 6:7, 69:15,
73:6

unplanned [1] - 65:19

unsubstantiated [1] -
44:23

up [21] - 26:7, 39:12,
39:16, 57:11, 59:11,
59:25, 73:6, 74:13,
75:3, 75:4, 75:12,
76:3, 90:1, 90:5,
90:15, 91:10,
102:16, 103:2,
105:3, 114:25

update [1] - 110:8

updates [1] - 53:6

updating [2] - 53:10,
53:13

US [1] - 29:11

user [2] - 101:20,
101:22

utilize [1] - 27:9

utilized [1] - 59:15

vague [2] - 104:3,
110:3

validity [1] - 34:25

values [3] - 88:7,
88:21, 98:12

variety [1] - 48:3

various [5] - 27:7,
§3:12, 53:22, 61:24,
65:15

venture [1] - 101:1

verbal [14] - 5:22

verbally [1] - 80:3

verbatim [1] - 88:18

verify [8] - 19:1, 20:8,
21:10, 109:11,
109:25, 110:24,
111:20, 112:18

versus [2] - 28:7,
118:17

vice [1] - 77:20

vice-president [1] -
77:20

view [1] - 120:8

violation [4] - 59:14,
62:11, 62:17, 119:24

violations [1] - 62:23

violence [1] - 65:5

Viveros [3] - 93:7,
93:10, 93:14

wait [1] - 5:12

WAIVED [1] - 125:13

walk [3] - 6:14, 32:20,

 

66:2

warning [1] - 51:12

warranted [5] - 47:23,
67:16, 96:17,
404:18, 109:22

WAS [1] - 125:12

water [1] - 6:13

ways [4] - 25:17,
25:22, 26:25, 42:1

week [1] - 108:24

weight [2] - 46:9,
46:10

whole [14] - 125:5

wide [2] - 26:15, 48:3

wiped [1] - 49:22

Wisconsin [1] - 7:10

Wisconsin-River [1 -
7:10

witness [19] - 18:13,
31:6, 36:25, 37:3,
37:4, 37:5, 37:6,
37:10, 37:22, 38:3,
39:6, 71:6, 72:7,
425:5, 125:7,
125:10, 125:12,
125:13

WITNESS [47] - 4:16,
8:22, 31:10, 36:6,
37:15, 41:9, 43:6,
43:9, 44:17, 45:6,
45:18, 46:20, 49:1,
49:18, 50:24, 68:9,
68:13, 71:24, 72:22,
73:4, 76:15, 87:13,
92:16, 94:23, 98:24,
100:9, 104:9,
105:18, 105:24,
107:11, 107:14,
107:20, 108:11,
114:3, 111:23,
112:21, 113:23,
114:4, 115:2,
115:17, 115:24,
116:17, 117:5,
119:8, 120:23,
121:9, 125:20

witnesses [23] -
35:18, 35:25, 36:1,
36:7, 36:8, 36:10,
36:18, 36:23, 38:6,
38:12, 38:17, 38:24,
39:24, 40:7, 40:10,
40:11, 40:12, 42:3,
42:11, 42:15, 43:4,
44:1, 44:7

words [2] - 11:17,
42:9

workers [1] - 106:24

workplace [2] - 26:16,
65:5

 

works [4] - 27:4,
27:17, 69:18, 120:11

worthy [1] - 98:10

write [2] - 59:11, 60:11

write-up [1] - 59:11

writing [1] - 50:15

written [3] - 71:15,
71:20, 72:9

wrote [1] - 46:12

year [10] - 114:18,
114:21, 114:25,
115:18, 115:19,
116:14, 116:18,
116:20

yearly [3] - 32:5,
32:17, 55:3

years [3] - 52:4, 52:11,
53:25, 68:1, 68:17,
91:2, 114:16, 115:5

young [7] - 85:9, 88:9,
88:17, 88:21, 89:5,
98:9, 98:12

younger [1] - 92:6

yourself [2] - 17:24,
22:6

Yufan [6] - 1:7, 2:2,
4:10, 4:23, 73:25,
75:22

Zhang [21] - 1:7, 2:2,
4:11, 16:10, 16:14,
19:17, 73:25, 74:11,
75:22, 75:25, 76:16,
78:1, 91:17, 93:11,
95:15, 97:16,
104:23, 105:2,
105:12, 106:6,
113:14

Zhang's [21] - 4:23,
16:11, 16:14, 17:13,
19:13, 68:24, 73:23,
77:22, 83:18, 97:24,
98:22, 99:18, 99:25,
100:1, 103:9, 104:6,
104:10, 107:9,
108:1, 108:8, 109:4

Zhang000917 [1] -
93:6

Zhang00092 (1) -
91:18

Zhang000921 [1) -
91:16

Zuelke [2] - 90:25,
91:3

 

 

45 of 45 sheets

Page 13 to 13 of 13

13

02/24/2020 04:45:47 PM
